     Case 1:25-cv-00917-RJL           Document 16-4        Filed 04/08/25      Page 1 of 297




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WILMER CUTLER PICKERING HALE
 AND DORR LLP,
                                Plaintiff,
                                                                       Case No. 1:25-cv-917
                v.
                                                                       Judge Richard J. Leon

 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,


                                Defendants.


                    DECLARATION OF JOSEPH J. DEMOTT
        IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       1.      I am an attorney in the law firm of Clement & Murphy, PLLC and a member of the

Bar of this Court. I am one of the counsel of record in the above-captioned action representing

Plaintiff, Wilmer Cutler Pickering Hale and Dorr LLP. I submit this declaration in support of

Plaintiff’s Motion for Summary Judgment.

       2.      I am over the age of 18 and competent to make this declaration. I have personal

knowledge of the facts set forth in this declaration and, if called and sworn as a witness, could and

would competently testify to them.

       3.      All exhibits to this Declaration were obtained by visiting the URLs listed below

within the past four business days.

       4.      Attached hereto as Exhibit 1 is a true and correct copy of a May 17, 2017 Press

Release by the U.S. Department of Justice titled “Appointment of Special Counsel,” as

downloaded from the Department of Justice’s website at https://tinyurl.com/2um33wv9.
     Case 1:25-cv-00917-RJL         Document 16-4       Filed 04/08/25      Page 2 of 297




       5.     Attached hereto as Exhibit 2 is a true and correct copy of an April 19, 2019 post

on X by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump, as downloaded from X’s website at https://tinyurl.com/2fp9wua7.

       6.     Attached hereto as Exhibit 3 is a true and correct copy of a July 29, 2018 post on

X by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump, as downloaded from X’s website at https://tinyurl.com/yjst9zsw.

       7.     Attached hereto as Exhibit 4 is a true and correct copy of an August 20, 2018 post

on X by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump, as downloaded from X’s website at https://tinyurl.com/5n6d5atp.

       8.     Attached hereto as Exhibit 5 is a true and correct copy of a March 25, 2019 article

by the Associated Press titled “Trump claims launching Russia probe ‘treasonous’” and published

by PBS News, as downloaded from PBS News’s website at https://tinyurl.com/5b5ej795.

       9.     Attached hereto as Exhibit 6 is a true and correct copy of a September 6, 2023 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/yneuk8me.

       10.    Attached hereto as Exhibit 7 is a true and correct copy of a September 7, 2024 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/3ujuyh36.

       11.    Attached hereto as Exhibit 8 is a true and copy of a March 19, 2025 article by

Daniel Barnes titled “How Major Law Firms Are Responding To Trump’s Attacks” and published

by Politico, as downloaded from Politico’s website at https://tinyurl.com/e4nzahke.




                                               2
       Case 1:25-cv-00917-RJL            Document 16-4      Filed 04/08/25      Page 3 of 297




        12.       Attached hereto as Exhibit 9 is a true and correct copy of a February 25, 2025

Presidential Memorandum issued by President Donald J. Trump titled “Suspension of Security

Clearances and Evaluation of Government Contracts,” as downloaded from the White House’s

website at https://tinyurl.com/y83rccby.

        13.       Attached hereto as Exhibit 10 is a true and correct copy of a July 30, 2023, post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/534unn9k.

        14.       Attached hereto as Exhibit 11 is a true and correct copy of a February 25, 2025

article by Joshua Gerstein and Kyle Cheney titled “Trump Targets Washington Law Firm that

Aided Smith” and published by Politico, as downloaded from Politico’s website at

https://tinyurl.com/3yj86d6a.

        15.       Attached hereto as Exhibit 12 is a true and correct copy of a February 25, 2025

article by Kelsey Walsh titled “Trump signs executive action targeting law firm representing

former special counsel Jack Smith,” and published by ABC News, as downloaded from ABC

News’s website at https://tinyurl.com/25bxpb58.

        16.       Attached hereto as Exhibit 13 is a true and correct copy of a March 14, 2025 video

by the White House titled “President Trump Delivers Remarks at the Department of Justice,” as

downloaded from YouTube’s website at https://tinyurl.com/mwcwxwj9.

        17.       Attached hereto as Exhibit 14 is a true and correct copy of a March 6, 2025

Executive Order Number 14230 issued by President Donald J. Trump titled “Addressing Risks

from    Perkins     Coie   LLP,”    as    downloaded    from    the   White   House’s    website    at

https://tinyurl.com/3fd4mnse.




                                                   3
     Case 1:25-cv-00917-RJL        Document 16-4        Filed 04/08/25     Page 4 of 297




       18.    Attached hereto as Exhibit 15 is a true and correct copy of a March 6, 2025 White

House Fact Sheet titled “Fact Sheet: President Donald J. Trump Addresses Risks from Perkins

Coie LLP,” as downloaded from the White House’s website at https://tinyurl.com/nyfnhuj.

       19.    Attached hereto as Exhibit 16 is a true and correct copy of a May 5, 2024 post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/yc4xv5j6.

       20.    Attached hereto as Exhibit 17 is a true and correct copy of a March 6, 2025 article

by Devlin Barrett titled “Trump Ramps Up Attacks on Law Firms with Order Targeting Perkins

Coie” and published by the New York Times, as downloaded from the New York Times’s website

at https://tinyurl.com/mry4aup3.

       21.    Attached hereto as Exhibit 18 is a true and correct copy of a March 6, 2025 by

Perry Stein and Michael Birnbaum titled “Trump Expands Retribution Campaign Against Law

Firms that Aided His Foes” and published by the Washington Post, as downloaded from the

Washington Post’s website at https://tinyurl.com/bdh8mad6.

       22.    Attached hereto as Exhibit 19 is a true and correct copy of a March 11, 2025

document filed by Perkins Coie titled “Declaration of David J. Burman in Support of Motion for

Temporary Restraining Order” as downloaded from the docket for Perkins Coie LLP v. U.S.

Department of Justice, No. 25-cv-716, ECF No. 2-2 (D.D.C.).

       23.    Attached hereto as Exhibit 20 is a true and correct copy of an April 2, 2025

document filed by Perkins Coie titled “Declaration of David J. Burman in Support of Motion for

Summary Judgment,” as downloaded from the docket for Perkins Coie LLP v. U.S. Department of

Justice, No. 25-cv-716, ECF No. 39-3 (D.D.C.).




                                               4
     Case 1:25-cv-00917-RJL            Document 16-4         Filed 04/08/25    Page 5 of 297




       24.       Attached hereto as Exhibit 21 is a true and correct copy of a March 14, 2025

Executive Order Number 14237 issued by President Donald J. Trump titled “Addressing Risks

from Paul Weiss,” as downloaded from the White House’s website at https://tinyurl.com/4kbua5u7.

       25.       Attached hereto as Exhibit 22 is a true and correct copy of a February 9, 2023 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/5abmyp2s.

       26.       Attached hereto as Exhibit 23 is a true and correct copy of a March 19, 2025 filing

by Roberto Finzi and titled “Memorandum in Support of Motion to Withdraw as Counsel for

Defendant Steven Schwartz” as downloaded from the docket for United States v. Coburn, No. 19-

120, ECF No. 1012-1 (D.N.J.).

       27.       Attached hereto as Exhibit 24 is a true and correct copy of a March 20, 2025 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/3y3edyh9.

       28.       Attached hereto as Exhibit 25 is a true and correct copy of a March 21, 2025

Executive Order 14244 issued by President Donald J. Trump titled “Addressing Remedial Action

by Paul Weiss” as downloaded from the White House’s website at https://tinyurl.com/2ta2b3tz.

       29.       Attached hereto as Exhibit 26 is a true and correct copy of a March 23, 2025 article

by Lauren Edmonds titled “Read the email Paul Weiss Chairman Brad Karp sent to staff after

striking a deal with Trump: ‘Clients perceived our firm as being persona non grata’” and published

by    Business      Insider,   as    downloaded       from     Business    Insider’s   website     at

https://tinyurl.com/3k3w8phu.




                                                  5
     Case 1:25-cv-00917-RJL          Document 16-4       Filed 04/08/25      Page 6 of 297




       30.     Attached hereto as Exhibit 27 is a true and correct copy of a March 21, 2025 article

by Brett Samuels titled “Trump suggest law firms ‘want to make deals’ after rescinding Paul,

Weiss order” and published by The Hill, as downloaded from the Hill’s website at

https://tinyurl.com/5mcv9zxh.

       31.     Attached hereto as Exhibit 28 is a true and correct copy of a March 22, 2025

Presidential Memorandum issued by President Donald J. Trump titled “Preventing Abuses of the

Legal System and the Federal Court,” as downloaded from the White House’s website at

https://tinyurl.com/2xffvr6c.

       32.     Attached hereto as Exhibit 29 is a true and correct copy of a March 21, 2025 White

House Fact Sheet titled “Fact Sheet: President Donald J. Trump Prevents Abuses of the Legal

System and the Federal Courts,” as downloaded from the White House’s website at

https://tinyurl.com/48zbufb8.

       33.     Attached hereto as Exhibit 30 is a true and correct copy of a March 25, 2025

Executive Order 14246 issued by President Donald J. Trump titled “Addressing Risks from Jenner

& Block,” as downloaded from the White House’s website at https://tinyurl.com/53v3xcam.

       34.     Attached hereto as Exhibit 31 is a true and correct copy of a March 25, 2025 video

titled “Trump Signs Executive Order Taking Aim At Law Firm Jenner & Block, Slams Attorney

Andrew Weissmann” and published by Forbes, as downloaded from YouTube’s website at

https://tinyurl.com/4pr9c2za.

       35.     Attached hereto as Exhibit 32 is a true and correct copy of a September 1, 2018

post on X by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump, as downloaded from X’s website at https://tinyurl.com/m2rtfp6y.




                                                6
     Case 1:25-cv-00917-RJL         Document 16-4       Filed 04/08/25      Page 7 of 297




       36.    Attached hereto as Exhibit 33 is a true and correct copy of a March 28, 2025

declaration by Thomas J. Perrelli titled “Declaration Of Thomas J. Perrelli In Support Of Motion

For Temporary Restraining Order,” as downloaded from the docket for Jenner & Block LLP v.

U.S. Department of Justice, No. 1:25-cv-916, ECF No. 2-16 (D.D.C.).

       37.    Attached hereto as Exhibit 34 is a true and correct copy of a March 28, 2025 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/tsfbcbwu.

       38.    Attached hereto as Exhibit 35 is a true and correct copy of a March 28, 2025 article

by Daniel Barnes titled “Major law firm strikes preemptive deal with White House” and published

in Politico, as downloaded from Politico’s website at https://tinyurl.com/mvv9ubmz.

       39.    Attached hereto as Exhibit 36 is a true and correct copy of an April 1, 2025 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/tuddku4n.

       40.    Attached hereto as Exhibit 37 is a true and correct copy of an April 1, 2025 article

by Patrick Smith and Abigail Adcox titled “Willkie Believes It’s the Next Target of Trump

Executive Order” and published in Law.com, as downloaded from Law.com’s website at

https://tinyurl.com/3pywbjx8.

       41.    Attached hereto as Exhibit 38 is a true and correct copy of an April 1, 2025 article

by ALM Staff titled “Willkie Firm Leadership Addresses the Firm Following Trump Agreement”

and published by The American Lawyer, as downloaded from the American Lawyer’s website at

https://tinyurl.com/mtnwrdya.




                                               7
     Case 1:25-cv-00917-RJL           Document 16-4     Filed 04/08/25      Page 8 of 297




       42.    Attached hereto as Exhibit 39 is a true and correct copy of an April 2, 2025 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump, as downloaded from Truth Social’s website at

https://tinyurl.com/mr3cves4.

       43.    Attached hereto as Exhibit 40 is a true and correct copy of an April 2, 2025 article

by ALM Staff titled “Milbank ‘Comfortable With All These Provisions,’ Chairman Says in

Message to Firm” and published in the American Lawyer, as downloaded from the American

Lawyer’s website at https://tinyurl.com/3k6kk7v7.

       44.    Attached hereto as Exhibit 41 is a true and correct copy of a March 11, 2025 article

by Michael Birnbaum titled “Law Firms Refuse To Represent Trump Opponents In The Wake Of

His Attacks” and published in the Washington Post, as downloaded from the Washington Post’s

website at https://tinyurl.com/yn563p6x.

       45.    Attached hereto as Exhibit 42 is a true and correct copy of a March 27, 2025 article

by Katelyn Polantz titled “Law Firms Are Scared To Speak Out Amid Trump’s Attacks On Their

Livelihood”   and    published   by    CNN,    as   downloaded     from    CNN’s     website    at

https://tinyurl.com/2rd8dwem.

       46.    Attached hereto as Exhibit 43 is a true and correct copy of an April 4, 2025 article

by Justin Henry titled “Big Law Mostly Sits Out Industry Response To Trump Orders” and

published in Bloomberg Law, as downloaded from Bloomberg Law’s website at

https://tinyurl.com/ycypte4h.

       47.    Attached hereto as Exhibit 44 is a true and correct copy of a March 27, 2025

Executive Order 14250 issued by President Donald J. Trump titled “Addressing Risks from

WilmerHale,” as downloaded from the White House’s website at https://tinyurl.com/mv3kjzmz.




                                               8
     Case 1:25-cv-00917-RJL          Document 16-4        Filed 04/08/25     Page 9 of 297




       48.     Attached hereto as Exhibit 45 is a true and correct copy of a March 27, 2025 White

House Fact Sheet titled “Fact Sheet: President Donald J. Trump Addresses Risks from

WilmerHale,” as downloaded from the White House’s website at https://tinyurl.com/3t33z9zk.

       49.     On March 31, 2025, Deputy Associate Attorney General Richard P. Lawson

informed me that at approximately 2:00pm ET that day, he sent an email to all named agency

defendants regarding the temporary restraining order issued by this Court three days earlier. Mr.

Lawson forwarded me a copy of that email, which is attached hereto as Exhibit 46.

       50.     On April 1, 2025, Mr. Lawson sent me a list of federal agencies that he said were

notified at approximately 4:20pm ET that day, “in addition to the named defendants who were

notified yesterday.” A copy of that list is attached as Exhibit 47.

       51.     On April 2, 2025, at approximately 10:02am ET, I informed Mr. Lawson that there

were still several agencies and sub-agencies subject to the Executive Order that did not appear to

have been notified, including the Department of the Navy, the Air Force, the Commodity Futures

Trading Commission, the Office of the Comptroller of the Currency, the Farm Credit

Administration, the Federal Reserve, the Occupational Safety and Health Administration, the

Pension Benefit Guaranty Corporation, and the International Trade Commission.

       52.     On April 3, 2025, at approximately 12:11pm ET, Mr. Lawson informed me that he

had sent additional emails to federal agencies and provided what he said was “a complete list” of

all “agencies that have received notice” of the Court’s temporary restraining order. A copy of that

list is attached as Exhibit 48.




                                                 9
    Case 1:25-cv-00917-RJL           Document 16-4         Filed 04/08/25      Page 10 of 297




I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.

Executed on April 8, 2025, in Columbia, South Carolina.




                                                    JOSEPH J. DEMOTT
                                                    Virginia Bar No. 93981
                                                    D.D.C. Bar ID #D00561




                                                 10
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 11 of 297




              EXHIBIT 1
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 12 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 13 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 14 of 297




              EXHIBIT 2
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 15 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 16 of 297




              EXHIBIT 3
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 17 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 18 of 297




              EXHIBIT 4
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 19 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 20 of 297




              EXHIBIT 5
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 21 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 22 of 297




              EXHIBIT 6
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 23 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 24 of 297




              EXHIBIT 7
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 25 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 26 of 297




              EXHIBIT 8
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 27 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 28 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 29 of 297
Case 1:25-cv-00917-RJL             Document 16-4                     Filed 04/08/25                  Page 30 of 297
               that premise.


               "What's crucial for everyone in this industry to remember is that silence is not
               going to protect you," she said. "And it is a much, much better business
               decision if the industry as a whole rejects this type of targeting than it is to be
               silent and hope that the president doesn't pull your name out of the hat next."


              Daniel Lippman contributed
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 31 of 297




              EXHIBIT 9
          Case 1:25-cv-00917-RJL   Document 16-4     Filed 04/08/25   Page 32 of 297

                                      mnopqrsÿqtu



                                   012345267489ÿ8 74 63
             ÿÿÿÿÿÿÿ!"ÿ
                                      #$%ÿ'$()%ÿ*+,-%
                                      .%/0,102ÿ345ÿ3634


7879:;<=>7ÿ@9:ÿAB8ÿC8D:8A;:Eÿ9@ÿCA;A8
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿC8D:8A;:Eÿ9@ÿ=8@8<C8
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿ;AA9:<8EÿG8<8:;H
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿC8D:8A;:Eÿ9@ÿ8<8:GE
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿ=I:8DA9:ÿ9@ÿAB8ÿ9@@ID8ÿ9@ÿ7;<;G878<Aÿ;<=
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿJ>=G8A
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿ=I:8DA9:ÿ9@ÿ<;AI9<;HÿI<A8HHIG8<D8
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿ=I:8DA9:ÿ9@ÿAB8ÿD8<A:;HÿI<A8HHIG8<D8ÿ;G8<DE
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿAB8ÿ=I:8DA9:ÿ9@ÿAB8ÿ9@@ID8ÿ9@ÿK8:C9<<8H
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ7;<;G878<A
C>JL8DAMÿÿÿÿÿÿÿÿCNOPQROSTRÿTUÿCQVNWSXYÿDZQ[W[RVQOÿ[R\ÿ8][ZN[XSTR
TUÿGT]QWR^QRXÿDTRXW[VXO
Iÿ_QWQ`Yÿ\SWQVXÿX_Qÿ;XXTWRQYÿGQRQW[Zÿ[R\ÿ[ZZÿTX_QWÿWQZQ][RXÿ_Q[\OÿTUÿQaQVNXS]Q
\QP[WX^QRXOÿ[R\ÿ[bQRVSQOÿc[bQRVSQOdÿXTÿS^^Q\S[XQZYÿX[eQÿOXQPOÿVTROSOXQRXÿfSX_
[PPZSV[`ZQÿZ[fÿXTÿONOPQR\ÿ[RYÿ[VXS]QÿOQVNWSXYÿVZQ[W[RVQOÿ_QZ\ÿ̀YÿKQXQWÿgTOeSÿ[R\ÿ[ZZ
^Q^`QWOhÿP[WXRQWOhÿ[R\ÿQ^PZTYQQOÿTUÿDT]SRbXTRÿiÿJNWZSRbÿHHKÿf_Tÿ[OOSOXQ\ÿUTW^QW
CPQVS[ZÿDTNROQZÿL[VeÿC^SX_ÿ\NWSRbÿ_SOÿXS^Qÿ[OÿCPQVS[ZÿDTNROQZhÿPQR\SRbÿ[ÿWQ]SQfÿ[R\
\QXQW^SR[XSTRÿTUÿX_QSWÿWTZQOÿ[R\ÿWQOPTROS̀SZSXSQOhÿSUÿ[RYhÿSRÿX_QÿfQ[PTRSj[XSTRÿTUÿX_Q
kN\SVS[ZÿPWTVQOOlÿÿIÿ[ZOTÿ\SWQVXÿX_Qÿ;XXTWRQYÿGQRQW[Zÿ[R\ÿ_Q[\OÿTUÿ[bQRVSQOÿXTÿX[eQÿONV_
          Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 33 of 297
0123456ÿ06ÿ089ÿ59196608ÿ24ÿ298 35029ÿ05 ÿ95 0 9 952ÿ4ÿ435 245ÿÿ835 ÿ
 ÿ05 ÿ0 951 ÿ24ÿ29ÿ 03  ÿ92952ÿ98 3229ÿ ÿ0ÿ05ÿ1456362952ÿ32ÿ29
  9 4805 ÿ202ÿ60ÿ9ÿ3669ÿ ÿ29ÿ3891248ÿ4ÿ29ÿ 319ÿ4ÿ050 9 952
05ÿ 92
 323450!ÿ3ÿ05 ÿ4ÿ29ÿ14989ÿ435 245ÿÿ835 ÿÿ 9 986!ÿ0825986!ÿ05
9 4 996ÿ89989519ÿ35ÿ236ÿ 9 4805 ÿ420359ÿ0ÿ691832ÿ19080519ÿ84 ÿ05
0 951 ÿ542ÿ3519ÿ06ÿ05ÿ0896699ÿ4ÿ236ÿ 9 4805 !ÿ29ÿ3891248ÿ4ÿ29ÿ 319ÿ4
9864559ÿ050 9 952ÿ60ÿ8439ÿ236ÿ 9 4805 ÿ24ÿ29ÿ08483029ÿ19080519"
 805235 ÿ0 951 ÿ24ÿ95689ÿ14 30519ÿÿ
$ÿ8298ÿ38912ÿ29ÿ3891248ÿ4ÿ29ÿ 319ÿ4ÿ050 9 952ÿ05ÿ 92ÿ24ÿ3669ÿ0
  9 4805 ÿ24ÿ0ÿ0 951396ÿ24ÿ8939ÿ0ÿ%4985 952ÿ145280126ÿ32ÿ435 245ÿ
835 ÿÿÿ&4ÿ29ÿ92952ÿ98 3229ÿ ÿ03109ÿ0!ÿ906ÿ4ÿ0 951396ÿ60ÿ035
2938ÿ0 951 ÿ535 ÿ91363456ÿ32ÿ29ÿ352989626ÿ4ÿ29ÿ1323'956ÿ4ÿ29ÿ(5329ÿ)20296*
32ÿ29ÿ406ÿ05ÿ834832396ÿ4ÿ ÿ 35362802345ÿ06ÿ989669ÿ35ÿ991239ÿ0123456!
969130ÿ+91239ÿ898ÿ,-,-.ÿ4ÿ/0508ÿ01!ÿ0102ÿ3+535 ÿ29ÿ490453'02345ÿ4ÿ29
59980ÿ%4985 9526*ÿ05ÿ06ÿ906ÿ4ÿ0 951396ÿ99 ÿ08483029ÿ
&36ÿ 9 4805 ÿ36ÿ542ÿ352959ÿ24!ÿ05ÿ496ÿ542!ÿ189029ÿ05 ÿ832ÿ48ÿ95932!
66205239ÿ48ÿ841980!ÿ95481909ÿ02ÿ0ÿ48ÿ35ÿ9732ÿ ÿ05 ÿ082ÿ0 03562ÿ29ÿ(5329
)20296!ÿ326ÿ9082 9526!ÿ0 951396!ÿ48ÿ95232396!ÿ326ÿ4 31986!ÿ9 4 996!ÿ48ÿ0 9526!ÿ48ÿ05
4298ÿ98645




                                        89:;
                                   <=>?8?;@A<@?B8
                                       ?;;C9;
                                      DB8@<D@
Case 1:25-cv-00917-RJL   Document 16-4    Filed 04/08/25   Page 34 of 297

                              01213
                             4566789
                               7




                               ÿ ÿ
                         ÿÿ5ÿ!"
                           "#$%&'ÿ()ÿ*+




                                 ,-.

                              )&/0$#%
                                01
                             2%ÿ423
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 35 of 297




            EXHIBIT 10
        Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 36 of 297




      012345ÿ78ÿ9
      
567ÿ9:;;<7=ÿ>?7@AB;CÿDCA7:E7:7C@7ÿF56GHIJÿE:;KÿA67ÿLMNOÿ67P=7=ÿQRÿA67ÿS;:IAÿ
56GHÿ;EÿA67KÿP??OÿL7:PCH7=ÿNP@<ÿTKBA6OÿP:7ÿC;SÿP=KBAABCHÿA6PAÿA67ÿUP:VPVWPH;ÿ
T7@G:BARÿ5PX7IÿS7:7ÿYM5ÿL>W>5>LZÿ56PA[IÿC;AÿS6PAÿA67RÿS7:7ÿB??7HP??Rÿ?7P<BCHÿA;ÿ
A67ÿX:7IIZÿ567I7ÿHGRIÿI6;G?=ÿQ7ÿX:;I7@GA7=ÿE;:ÿUDT9MYL\95Zÿ]?I;OÿS6PA7^7:ÿ
6PXX7C7=ÿA;ÿ9:;;<7=ÿN;7[IÿL;@GK7CAI_ÿ̀ 67:7ÿP:7ÿA67ÿ;C7Iÿ67ÿI7CAÿPC=ÿIA;:7=ÿBCÿ
96BCPA;SC_ÿDIÿL7:PCH7=ÿNP@<ÿH;BCHÿA;ÿDC=B@Aÿ6BKÿE;:ÿA6BIÿPC=OÿPAÿA67ÿIPK7ÿABK7Oÿ
:7@7B^BCHÿabDa>TÿcbMUÿ9dDY]_
 !"# $%&'()#                                              *ÿ,-.ÿ/-/,.ÿ0012-ÿ34
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 37 of 297




            EXHIBIT 11
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 38 of 297
Case 1:25-cv-00917-RJL             Document 16-4                    Filed 04/08/25                   Page 39 of 297

               Trump's directive mentioned by name only one Covington lawyer representing
               Smith, Peter Koski, but says it applies equally to others at the firm "who
               assisted former Special Counsel Jack Smith during his time as Special Counsel,
               pending a review and determination of their roles and responsibilities, if any,
               in the weaponization of the judicial process."


               Trump frequently targeted Smith and his team during the special counsel's
               investigations and threatened to fire him.


               In a statement, Covington said the firm "recently agreed" to represent Smith
               when it "became apparent that he would become the subject of a government
               investigation" and suggested the relationship began around the time of the
               2024 election.                                                                                      Advertisement



               "For more than 100 years, Covington has represented clients facing
               government investigations, consistent with the best traditions of the legal
               profession," the firm's statement said. "Covington serves as defense counsel to
               Jack Smith in his personal, individual capacity. We look fmward to defending
               Mr. Smith's interests and appreciate the trust he has placed in us to do so."


              A Covington spokesperson declined to comment on whether Koski or other
               lawyers there currently have security clearances.


               The directive Trump signed Tuesday is just his latest attempt to use his return
               to the power of the presidency to punish his perceived enemies. He has
               rescinded security clearances for former intelligence community officials who
               signed a letter raising concerns - that ultimately turned out to be false - that
               Hunter Biden's hard drive bore the hallmarks of a foreign influence operation.
               Trump also pulled the clearance for attorney Mark Zaid, a prominent
              whistleblower attorney who represented the intelligence official who helped
               trigger Trump's 2020 impeachment. Trump has also pulled security details for
               figures who have criticized and publicly opposed him.

                                                   Advertisement




              Attorney General Pam Bondi has also launched a "Weaponization Working
               Group" that is assigned to examine the conduct of Smith's team, among other
               things.                                                                                 Q   MOST READ



               Trump during the Oval appearance Tuesday mocked Smith and tossed the pen
               used to sign the memo to someone with instructions to deliver it to the former
               special counsel.


               "We're going to call it the deranged Jack Smith signing, or bill," Trump told
               reporters. "The weaponization of our system by law firms, even pro bono work
               they're doing in order to clog up government, stop government. And nobody                   Trump Tells Inner Circle That
               knows about it better than me and, hopefully, that will never happen again."                Musk Will Leave Soon


                                                                                                           'This Could Get Much Uglier': The
              As a reporter began to ask Trump about the wisdom of the directive, Trump                    Fatal Flaw in Trump's Trade War
               intem.1pted. "Excuse me, I've been targeted for four years, longer than that,"
               the president said. "You don't tell me about targeting. I was the target of                 Trump's second-term honeymoon
                                                                                                           might be over
               corrupt politicians for four years and then four years after that, so don't tell me
               about targeting."                                                                           'I hope he's right': Markets
                                                                                                           tumble on tariffs - but Trump
                                                                                                           isn't flinching
               Covington counts several prominent Democrats in its ranks including former
              Attorney General Eric Holder, now a senior counsel at the firm, and former                   New chaos in White House as top
                                                                                                           NSC officials sacked
               DOJ Criminal Division chief and Clinton White House lawyer Lanny Breuer,
               who is a partner there. The firm also served as counsel to President Joe Biden's
               2020 presidential bid.

               FILED UNDER: JUSTICE DEPARTMENT, DONALD TRUMP, PAM BONDI, LEGAL, JACK SMITH
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 40 of 297




            EXHIBIT 12
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 41 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 42 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 43 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 44 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 45 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 46 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 47 of 297




            EXHIBIT 13
  Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 48 of 297




                              Exhibit 13


    March 14, 2025 remarks by President Donald J. Trump
                at the Department of Justice


                 The video is available here:
      https://www.youtube.com/watch?v=6i41Av4eYO8


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this
 exhibit is being maintained by plaintiff’s counsel and will be
        provided to the Court and defendants’ counsel.
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 49 of 297




            EXHIBIT 14
             Case 1:25-cv-00917-RJL   Document 16-4        Filed 04/08/25   Page 50 of 297

                                        The WHITE HOUSE




                                      PRESIDENTIAL ACTIONS

                              Addressing Risks from Perkins Coie LLP

                                         The White House


                                           March 6, 2025




By the authority vested in me as President by the Constitution and the laws of the United
States of America, it is hereby ordered:


Section 1. Puq~ose. The dishonest and dangerous activity of the law firm Perkins Coie
LLP ("Perkins Coie") has affected this country for decades. Notably, in 2016 while
representing failed Presidential candidate Hillary Clinton, Perkins Coie hired Fusion GPS,
which then manufactured a false "dossier" designed to steal an election. This egregious
activity is part of a pattern. Perkins Coie has worked with activist donors including
George Soros to judicially overturn popular, necessary, and democratically enacted
election laws, including those requiring voter identification. In one such case, a court
was forced to sanction Perkins Coie attorneys for an unethical lack of candor before
the court.


In addition to undermining democratic elections, the integrity of our courts, and honest
law enforcement, Perkins Coie racially discriminates against its own attorneys and staff,
and against applicants. Perkins Coie publicly announced percentage quotas in 2019 for
hiring and promotion on the basis of race and other categories prohibited by civil rights
laws. It proudly excluded applicants on the basis of race for its fellowships, and it
maintained these discriminatory practices until applicants harmed by them finally sued
to enforce change.
          Case 1:25-cv-00917-RJL    Document 16-4   Filed 04/08/25   Page 51 of 297


My Administration is committed to ending discrimination under "diversity, equity, and
inclusion" policies and ensuring that Federal benefits support the laws and policies of
the United States, including those laws and policies promoting our national security and
respecting the democratic process. Those who engage in blatant race-based and sex-
based discrimination, including quotas, but purposefully hide the nature of such
discrimination through deceiving language, have engaged in a serious violation of the
public trust. Their disrespect for the bedrock principle of equality represents good cause
to conclude that they neither have access to our Nation's secrets nor be deemed
responsible stewards of any Federal funds.


Sec. 2. SecuritY. Clearance Review. (a) The Attorney General, the Director of National
Intelligence, and all other relevant heads of executive departments and agencies
(agencies) shall immediately take steps consistent with applicable law to suspend any
active security clearances held by individuals at Perkins Coie, pending a review of
whether such clearances are consistent with the national interest.


(b) The Office of Management and Budget shall identify all Government goods,
property, material, and services, including Sensitive Compartmented Information
Facilities, provided for the benefit of Perkins Coie. The heads of all agencies providing
such material or services shall , to the extent permitted by law, expeditiously cease
such provision.


Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal contractors
whose earnings subsidize, among other things, racial discrimination, falsified documents
designed to weaponize the Government against candidates for office, and anti-
democratic election changes that invite fraud and distrust, Government contracting
agencies shall, to the extent permissible by law, requ ire Government contractors to
disclose any business they do with Perkins Coie and whether that business is related to
the subject of the Government contract.


(b) The heads of all agencies shall review all contracts with Perkins Coie or with entities
that disclose doing business with Perkins Coie under subsection (a) of this section. To
the extent permitted by law, the heads of agencies shall:
           Case 1:25-cv-00917-RJL   Document 16-4    Filed 04/08/25   Page 52 of 297


(i) take appropriate steps to terminate any contract, to the maximum extent permitted
by applicable law, including the Federal Acquisition Regulation, for which Perkins Coie
has been hired to perform any service;


(ii) otherwise align their agency funding decisions with the interests of the citizens of the
United States; with the goals and priorities of my Administration as expressed in
executive actions, especially Executive Order 14147 of January 20, 2025 (Ending the
Weaponization of the Federal Government); and as heads of agencies deem appropriate.
Within 30 days of the date of this order, all agencies shall submit to the Director of the
Office of Management and Budget an assessment of contracts with Perkins Coie or with
entities that do business with Perkins Coie effective as of the date of this order and any
actions taken with respect to those contracts in accordance with this order.


Sec. 4. Racial Discrimination. (a) The Chair of the Equal Employment Opportunity
Commission shall review the practices of representative large, influential, or industry
leading law firms for consistency with Title VII of the Civil Rights Act of 1964, including
whether large law firms: reserve certain positions, such as summer associate spots, for
individuals of preferred races; promote individuals on a discriminatory basis; permit
client access on a discriminatory basis; or provide access to events, trainings, or travel on
a discriminatory basis.


(b) The Attorney General, in coordination with the Chair of the Equal Employment
Opportunity Commission and in consultation with State Attorneys General as
appropriate, shall investigate the practices of large law firms as described in subsection
(a) of this section who do business with Federal entities for compliance with race-based
and sex-based non-discrimination laws and take any additional actions the Attorney
General deems appropriate in light of the evidence uncovered.
Sec. 5. Personnel. (a) The heads of all agencies shall, to the extent permitted by law,
provide guidance limiting official access from Federal Government buildings to
employees of Perkins Coie when such access would threaten the national security of or
otherwise be inconsistent with the interests of the United States. In addition, the heads
of all agencies shall provide guidance limiting Government employees acting in their
              Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 53 of 297
official capacity from engaging with Perkins Coie employees to ensure consistency with
the national security and other interests of the United States.


(b) Agency officials shall , to the extent permitted by law, refrain from hiring employees
of Perkins Coie, absent a waiver from the head of the agency, made in consultation with
the Director of the Office of Personnel Management, that such hire will not threaten the
national security of the United States.


Sec. 6. General Provisions. (a) Nothing in this order shall be construed to impair or
otherwise affect:


(i) the authority granted by law to an executive department or agency, or the head
thereof; or


(ii) the functions of the Director of the Office of Management and Budget relating to
budgetary, administrative, or legislative proposals.


(b) This order shall be implemented consistent with applicable law and subject to the
availability of appropriations.


(c) This order is not intended to, and does not, create any right or benefit, substantive
or procedural, enforceable at law or in equity by any party against the United States,
its departments, agencies, or entities, its officers, employees, or agents, or any
other person.
                            DONALD J. TRUMP
THE WHITE HOUSE,
March 6, 2025.




                                             NEWS
Case 1:25-cv-00917-RJL   Document 16-4          Filed 04/08/25   Page 54 of 297

                         ADMINISTRATION

                               ISSUES

                             CONTACT

                                 VISIT

                              GALLERY

                                  EOP




                              THE WHITE HOUSE

                         1600 Pennsylvania Ave NW
                          Washington, DC 20500




                                 WR.GOV
Case 1:25-cv-00917-RJL   Document 16-4     Filed 04/08/25   Page 55 of 297
                             Copyright

                               Privacy

                             Style Guide
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 56 of 297




            EXHIBIT 15
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 57 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 58 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 59 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 60 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 61 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 62 of 297




            EXHIBIT 16
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 63 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 64 of 297




            EXHIBIT 17
                Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 65 of 297




Trump Ramps Up Attacks on Law Firms
With Order Targeting Perkins Coie
The order against the firm, which did work for Democrats during the 2016
campaign, represents an escalation of efforts to punish groups the president sees
as aiding his enemies.

         By Devlin Barrett
         Reporting from Washington

March 6, 2025



President Trump signed an executive order on Thursday seeking to severely
punish the law firm Perkins Coie by stripping its lawyers of security clearances
and access to government buildings and officials - a form of payback for its legal
work for Democrats during the 2016 presidential campaign.

With the order, Perkins Coie becomes the second such firm to be targeted by the
president. Late last month, he signed a similar memorandum attacking Covington
& Burling, which has done pro bono legal work for Jack Smith, who as special
counsel pursued two separate indictments of Mr. Trump.

While the Covington memorandum sought to strip clearances and contracts from
that firm, the Perkins Coie order goes much further, seeking to also limit its
lawyers' access to federal buildings, officials and jobs in a way that could cast a
chilling effect over the entire legal profession.

The president's animosity toward Perkins Coie dates back eight years, to when two
lawyers at the firm, Marc Elias and Michael Sussmann, played roles in what
eventually became an F.B.I. investigation to determine if anyone on the 2016
Trump presidential campaign conspired with Russian agents to influence the
outcome of that election. Both lawyers left that firm years ago.
          Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 66 of 297

The executive order denounces what it calls "dishonest and dangerous activity" at
Perkins Coie, singling out its hiring of a research firm that led to the compilation of
a dossier of unsubstantiated allegations against Mr. Trump related to possible ties
between his campaign and Russia. The executive order accused the firm of
"undermining democratic elections, the integrity of our courts and honest law
enforcement."

The order instructs federal agencies to suspend any security clearances that
Perkins Coie lawyers may have. It also orders government agencies to determine if
they have any contracts with the law firm, and then cancel them.

Additionally, the order instructs the heads of all federal agencies to limit Perkins
Coie lawyers' access to federal buildings "when such access would threaten the
national security of or otherwise be inconsistent with the interests of the United
States." It also instructs federal officials to limit their interactions with employees
of the firm and seeks to prevent Perkins Coie lawyers from being hired by the
federal government.

It is not clear what immediate effect the presidential decree will have on the firm.
The president and his supporters have railed against what they call the
"weaponization" of the legal system against him, arguing that he was unfairly
targeted by prosecutors, judges and private practice lawyers for political purposes,
rather than any wrongdoing on his part.

"This is an absolute honor to sign," Mr. Trump said at the White House. "What
they've done is just terrible. It's weaponization, you could say weaponization
against a political opponent, and it should never be allowed to happen again."

The same executive order also accuses the firm of unfair hiring practices, and calls
for a far-reaching review of top law firms to see if they promote diversity, equity or
inclusion in a way that the Trump administration dislikes.

The federal review ordered by Mr. Trump will seek to determine "whether large
law firms reserve certain positions, such as summer associate spots, for
individuals of preferred races; promote individuals on a discriminatory basis;
            Case 1:25-cv-00917-RJL        Document 16-4      Filed 04/08/25    Page 67 of 297

permit client access on a discriminatory basis; or provide access to events,
trainings or travel on a discriminatory basis."

In a written statement, the law firm said the executive order "is patently unlawful,
and we intend to challenge it." It was not immediately clear how many lawyers at
the firm have security clearances.

Mr. Trump filed a lawsuit against Perkins Coie in 2022, accusing the firm, along
with his former rival Hillary Clinton and others, of participating in a left-wing
conspiracy to derail his presidential campaign. That lawsuit was quickly tossed by
a judge who said it lacked substance and legal support.

Earlier this week, the president of the American Bar Association, William R. Bay,
warned that Mr. Trump might take additional punitive measures against law firms
he does not like, and said such behavior undermines the nation's legal system.

"Lawyers must be free to represent clients and perform their ethical duty without
fear of retribution;' Mr. Bay said in a written statement. He added: "We reject the
notion that the government can punish lawyers who represent certain clients or
punish judges who rule certain ways. We cannot accept government actions that
seek to tip the scales of justice in this manner."
Luke Broadwater contributed reporting.

Devlin Barrett covers the Justice Department and the F.B.I. for The Times. More about Devlin Barrett
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 68 of 297




            EXHIBIT 18
             Case 1:25-cv-00917-RJL            Document 16-4         Filed 04/08/25       Page 69 of 297




                                                Democracy Dies in Darkness



Trump expands retribution campaign against law firms that
aided his foes
Trump hit another major law firm that worked for his political rivals with an executive order
seeking to limit its ability to work for the U.S. government.
Updated March 6, 2025


By Per[Y. Stein and Michael Birnbaum


President Donald Trump on Thursday targeted another elite law firm that has represented clients he considers his
political enemies, sending a forceful message that he is willing to 1~unish firms who work for people or groups that
oppose his administration's agenda.


In an Oval Office ceremony, the president signed an executive order hitting the large international law firm Perkins
Coie with a sweeping directive that bans the federal government from hiring it, or from using contractors who work
with it, except in limited circumstances. The order also bars Perkins Coie employees from entering federal buildings
and suspends their security clearances.


The firm represented Hillary Clinton's campaign and the Democratic National Committee during the 2016 presidential
race, and it also contracted with the research firm that produced the now-discredited 01mosition dossier that alleged
extensive contacts between Trump and Russia.


The move could have a chilling effect on law firms' willingness to take on clients and cases that run counter to the
Trump administration, challenging a fundamental tenet of the rule of law in the United States that everyone should
have access to legal representation, experts said.


"This is an absolute honor to sign," Trump said from his Oval Office desk.


A spokesman for Perkins Coie said in a statement that the executive order is "patently unlawful, and we intend to
challenge it."


A White House official said the move targeted Perkins Coie because of its track record on Trump.


"The president doesn't believe they should have the privileges afforded to companies of their stature to work and
operate with the federal government, since they have made it very clear they are vehemently against the president of
the United States, and their work proves that," a senior administration official said, speaking on the condition of
anonymity to talk frankly about the sensitive decision-making behind the order.
             Case 1:25-cv-00917-RJL             Document 16-4          Filed 04/08/25       Page 70 of 297
"If this case was retribution or anti-Democrat, anti-liberal, then we would basically pull the security clearance
clearances of every law firm on K Street, because they all hate the president," the official said. "This law firm in
particular has shown a level of bias in which their coordination with the federal government was done so in an illegal
fashion that was purposely intended on undermining the president of the United States and really locking him up."


Perkins Coie is the second law firm Trump has taken action against or decried as engaging "in the weaponization of the
judicial process."


Last week, he ordered the suspension of security clearances of some attorneys at Covington & Burling, which has
represented special counsel Jack Smith pro bono. Smith led the federal investigations of Trump for allegedly
mishandling classified materials and trying to block the 2020 election results.


Trump's orders targeting the law firms called for limiting their access to federal resources and could have the effect of
dissuading other private law firms from battling the Trump administration in court.


The American legal system relies on attorneys representing all sorts of clients, including violent criminals, and the
president's appearing to punish firms for their choice of clients could do grave damage to that system, said Mark Zaid,
a national security lawyer who often represents whistleblowers.


"By taking these actions against these major law firms, it is effectively sending a message to all the lawyers that you
best not challenge this administration, or you, your lawyers and your clients will suffer," Zaid said. "It is the most un-
American thing I've ever heard."


Other experts said the order was part of Trump's broader campaign against the legal system.


"He doesn't like judges who rule against him. He doesn't like prosecutors who prosecuted against him. He doesn't like
lawyers who've undertaken measures against him," said Thomas Carothers, the director of the Democracy, Conflict,
and Governance Program at the Carnegie Endowment for International Peace. "This is part of a broader questioning,
and in many cases, an attack on the core institutions of the rule oflaw."


But Carothers said that he did not think Trump's order would bring the U.S. legal system to a halt.


"I don't think a peer law firm will think, 'Oh, we shouldn't bring this enforcement action against this government
entity, because we can no longer challenge the U.S. government.' I think that would be overreading it.''


Perkins Coie became embroiled in what Trump and his allies have repeatedly described as the "Russia hoax" when it
contracted with a firm that conducted research about Trump's connections to Russia during the 2016 presidential
campaign. That contract resulted in the now-famous Steele dossier, a document full of unverified allegations assembled
by former British intelligence officer Christopher Steele.


But the two main attorneys involved in that work - Marc E. Elias and Michael Sussmann - are no longer employed by
Perkins Coie. Both attorneys are named in a fact sheet explaining Trump's executive order.


Elias retained Fusion GPS, the Washington firm that ultimately produced the Steele dossier.
             Case 1:25-cv-00917-RJL             Document 16-4          Filed 04/08/25        Page 71 of 297
Years later, special counsel John Durham -who was assigned to look into possible wrongdoing among federal agents
who investigated Trump's 2016 campaign - charged Sussmann with lying to a senior FBI official during that
investigation.


Sussmann was accused of bringing allegations to the FBI of a secret computer communications channel between the
Trump organization and Russia-based Alfa Bank. FBI agents investigated the data but concluded that there was
nothing suspicious about it.


In 2022, a jury found Sussmann not guilty.


Perkins Coie is one of eight big law firms involved in lawsuits against Trump, according to an American Bar Association
Journal article published last week that cited the law firm's representation of transgender service members who are
challenging the administration's ban on joining the military.


Trump also signed a separate order that could make it harder for opponents to seek injunctions against his
administration's actions by holding them accountable for legal costs if they lose. The Justice Department will ask
judges to require plaintiffs who are seeking injunctions and restraining orders against the Trump administration to
post a bond to cover court costs should they fail, raising the bar for legal challenges.


When presenting the Perkins Coie executive order to Trump to sign, White House staff secretary Will Scharf said the
firm has engaged in "unlawful DEI practices," referring to diversity, equity and inclusion programs, and accused it of
using racial quotas for hiring and promotions.


Scharf said the executive order calls for a "holistic review of unlawful DEI in some of the nation's largest law firms."


Although the Supreme Court has banned affirmative action in college admissions, and federal law prohibits workplace
discrimination on the basis of race, sex and certain other criteria, no law bans diversity and equity efforts within
private companies.


Scharf did not explain what the government's review would entail, which law firms would be examined and what
criteria the federal government would use to determine whether a law firm engaged in wrongdoing.


The Trump administration's move to penalize law firms for their DEI practices when no court has said such programs
are illegal "is extraordinary," said Walter Olson, a senior fellow at the Cato Institute, a libertarian think tank.


"There is no legal definition of excessive DEL The law itself is so unsettled," Olson said. "The administration can take
positions, but it's not as if the courts have taken a position and given them a green light and said, 'Yes, you are right."'



    CORRECTION

    An earlier version of this article misspelled the last name of a former Perkins Coie attorney. He is
    Michael Sussmann . This article has been corrected.
           Case 1:25-cv-00917-RJL                 Document 16-4             Filed 04/08/25          Page 72 of 297
What readers are saying
The comments overwhelmingly criticize the Trump administration's decision to target Perkins Coie,
viewing it as an abuse of power and a threat to the rule of law. Many commenters express concern that
this action represents authoritarian behavior, likening it to tactics used by... Show more
This summary is Al-generated. Al can make mistakes and this summary is not a replacement for reading the comments.
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 73 of 297




            EXHIBIT 19
      CaseCase
           1:25-cv-00917-RJL
               1:25-cv-00716         Document
                                     Document 2-2
                                              16-4 Filed
                                                     Filed03/11/25
                                                           04/08/25 Page
                                                                     Page1 74
                                                                           of 20
                                                                              of 297




                          UNITED ST ATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                       Plaintiff,

 v.

 U.S. DEPARTMENT OF JUSTICE, et al.,

                       Defendants.



                DECLARATION OF DAVID J. BURMAN IN SUPPORT OF
                 MOTION FOR TEMPORARY RESTRAINING ORDER

I, David J. Burman, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am a partner at Perkins Coie LLP ("Perkins Coie").            Perkins Coie is an

international law firm that conducts its U.S. operations and activities through a limited liability

partnership, Perkins Coie LLP, with seventeen offices around the country. I have been an attorney

at Perkins Coie for over 45 years, following two years clerking. I am a member in good standing

of the D.C. and Washington bars and have been admitted in many state and federal courts, and I

serve on the Advisory Committee on the Federal Rules of Civil Procedure. I am very familiar with

the firm's business and operations and was asked as a result to take a lead role in attempting to

assess and contain the damage from the March 6 Executive Order. I either have personal

knowledge of the facts set forth in this declaration or I know them from business records and my

knowledge of the firm's history and operations.

       2.      I currently chair the firm' s governance task force, and have long and intense

involvement in firm management. I led the commercial litigation practice and first served on the

firm's executive committee by the early 1990s. I then served for six years on the four-partner




                                               - 1•
     CaseCase
          1:25-cv-00917-RJL
              1:25-cv-00716           Document
                                      Document 2-2
                                               16-4 Filed
                                                      Filed03/11/25
                                                            04/08/25 Page
                                                                      Page2 75
                                                                            of 20
                                                                               of 297




management committee.         Over the years, I have chaired or served on the firm's hiring,

compensation, pro bono, technology, and strategic conflicts committees as well as two strategic

planning efforts and task forces on practice group structure, total quality management, and role of

non-lawyer professionals. I spearheaded the creation of our Intellectual Property Department and

the opening of our Chicago office, both of which have become among our most successful

initiatives. I have acted as co-lead relationship partner for three of our large institutional clients.

        3.      I submit this Declaration in Support of the Complaint and Motion for Temporary

Restraining Order filed by Perkins Coie. I am of the age of majority, and I am competent to make

this declaration.

I.      Perkins Coie LLP

        4.      Perkins Coie was founded in Seattle by a retiring U.S. District Judge and U.S.

Attorney. Since 1912, Perkins Coie has grown to become the largest law firm in the Pacific

Northwest, has opened offices throughout the United States and in Asia and in Europe, and has

more than 1,200 lawyers. The firm represents a wide range of clients, including Fortune 500

companies, small- and medium-sized businesses, families, _individuals, and charitable and public

service-oriented organizations. Perkins Coie alumni have been and are presently serving as state

and federal court judges, judicial law clerks, and high-ranking government officials, as well as

founders, CEOs, and General Counsels of some of the nation's largest and most important

companies. Perkins Coie is widely recognized as one of the leading law firms for technology and

other innovative companies, and since our founding, Perkins Coie has proudly represented a wide

range of industry leaders throughout the world.

        5.      Over our 113-year history, Perkins Coie and its lawyers have represented clients in

every state, in federal and state courts across the nation, and in tribunals throughout the world




                                                  - 2-
     CaseCase
          1:25-cv-00917-RJL
              1:25-cv-00716            Document
                                       Document 2-2
                                                16-4 Filed
                                                       Filed03/11/25
                                                             04/08/25 Page
                                                                       Page3 76
                                                                             of 20
                                                                                of 297




(including the Supreme Court of the United States), and they have helped to establish major

precedent in state and federal law. We are committed to providing excellent service to our clients,

helping them achieve their goals and standing by them in good and bad times alike.

        6.     Perkins Coie has been named as an "Am Law 50" firm on The American Lawyer

100 list for over a decade. The firm and its lawyers are regularly recognized for excellence in the

legal community by Best Lawyers®, Chambers USA, and other respected organizations, including

national and local bar associations.

       7.      Perkins Coie has approximately 2,500 employees.           Of those, nearly half are

attorneys and half are business professionals, including paralegals, patent agents, legal assistants,

and other professionals. Our employees are deeply woven into the fabric of their communities.

They are Sunday school teachers, Scouts leaders, youth sports coaches, and volunteers serving on

hundreds of boards of organizations ranging from art museums and food kitchens to major

universities, local schools, and foundations. And they include former members of the armed

forces, and current reservists in the U.S. military.

       8.      Perkins Coie's attorneys are drawn from all sides of the political spectrum, and

most of our attorneys are not politically active. There are attorneys who are liberal and attorneys

who are conservative. When Bob Bauer started our small Political Law practice, we were known

in Seattle as, if anything, a "Republican firm." Things have become more balanced, but many of

our attorneys joined the firm after government service under both Democratic and Republican

administrations, or after serving as judges or judicial law clerks to judges appointed by both

Democratic and Republican presidents. Reflecting this bipartisan ethos, in ~ecent years, four

Perkins Coie partners have been nominated and confirmed to serve as federal judges- two by

President Trump in 2019, and two by President Biden in 2021 and 2023.




                                                 - 3-
      CaseCase
           1:25-cv-00917-RJL
               1:25-cv-00716         Document
                                     Document 2-2
                                              16-4 Filed
                                                     Filed03/11/25
                                                           04/08/25 Page
                                                                     Page4 77
                                                                           of 20
                                                                              of 297



       9.      Perkins Coie is dedicated to our clients, our communities, and each other. The firm

has a longstanding, firmwide commitment to pro bono service. Since 1989, the firm has provided

approximately 1.45 million hours of pro bono service to innumerable clients, including veterans,

indigent families, disabled persons, and community-based organizations of all sizes, including the

League of Women Voters and other non-partisan organizations, in matters championing human,

civil, and electoral rights, housing, education, food, benefits, and economic justice. We have

frequently been honored for our efforts. Our pro bono service also extends to representing indigent

criminal defendants before federal courts by court appointment and clients on death row in states

with limited pro bono resources. In 2024, for example, Perkins Coie lawyers and business

professionals spent over 89,000 hours, valued at nearly $70 million, in pro bono service. Much of

our pro bono work involves advocating for military and veterans' rights.

        I 0.   Perkins Coie is often recognized for fostering a work environment in which all

lawyers and business professionals are judged on their merit and can reach their potential. Perkins

Coie has been named to Fortune's "l 00 Best Companies to Work For" list for over 20 consecutive

years, and our individual offices are often named to similar local lists.

II.    Interaction with the Federal Government

        11 .   As a full-service law firm that represents clients in all sectors of the economy in

transactional, litigation, and regulatory matters, Perkins Coie lawyers necessarily interact with the

federal government on behalf of their clients in innumerable ways. Those interactions are critical

to their ability to practice their profession; they are the waters the Perkins Coie attorneys swim in,

the air they breathe. If allowed to go into effect, the Order's restrictions would be devastating and

irreparable. Most of the firm's litigation practice is in federal court on behalf of their clients in

civil and criminal cases, as well as in federal agencies' in-house administrative proceedings. The




                                                 - 4-
     CaseCase
          1:25-cv-00917-RJL
              1:25-cv-00716           Document
                                      Document 2-2
                                               16-4 Filed
                                                      Filed03/11/25
                                                            04/08/25 Page
                                                                      Page5 78
                                                                            of 20
                                                                               of 297



firm has nearly a thousand cases currently pending before federal district, bankruptcy, and

appellate courts, including the Supreme Court of the United States. Its attorneys have upcoming

appearances scheduled before agencies and in courtrooms, including two upcoming arguments

before the Supreme Court. Perkins Coie represents clients who have been indicted or are the

targets of pending federal criminal investigations.

        12.    The firm has nine practice groups, and all of them intersect with the federal

government in some way and include clients with business before the federal government. The

largest practice groups by headcount are Commercial Litigation, Business, and Intellectual

Property, which together account for approximately 75% of the firm's attorneys. The smallest

practice group by headcount is Political Law, which includes 8 attorneys (and 19 others affiliated

with that practice). I understand the March 6, 2025 Executive Order and Fact Sheet at issue in this

proceeding to refer to former members of the Political Law group, albeit not by name. Although

the firm's Political Law practice has historically been much smaller than our other practice groups,

it also substantially shrank in 2021 when Marc Elias and about 50 other attorneys left Perkins Coie

to form the Elias Law Group. This practice group historically has handled a mix of paying and

some pro bono cases. It accounts for about 0.5% of the firm's revenue. Perkins Coie attorneys

work on these matters because they involve important legal rights and issues affecting our clients.

        13.     In the course of their representations, Perkins Coie lawyers frequently meet with

federal officials from countless agencies. Although it is difficult to quantify precisely, based on a

review of our current client matter list, the vast bulk of our clients have matters that require Perkins

Coie lawyers to interact with federal agencies.

        14.     For instance, a significant number of Perkins Coie clients are, or have affiliates who

are, government contractors and subcontractors-including 100% of its top 15 clients by revenue.




                                                  - 5-
     CaseCase
          1:25-cv-00917-RJL
              1:25-cv-00716         Document
                                    Document 2-2
                                             16-4 Filed
                                                    Filed03/11/25
                                                          04/08/25 Page
                                                                    Page6 79
                                                                          of 20
                                                                             of 297



The firm's Government Contracts group handles clients' bid protests and disputes surrounding

contract claims, including transactional work and litigation. Perkins Coie represents some of these

clients in connection with government contract matters. The approximately 13 attorneys in this

group currently are handling approximately 69 government contracting matters involving various

federal agencies. But there are many other firm clients that have government contracts and who

have engaged Perkins Coie to represent them in matters unrelated to their government contracts.

       15.     The firm's Intellectual Property group and its clients also depend heavily on access

to and interaction with the federal government. The approximately 236 attorneys in this group

frequently represent patent applicants, patent owners, and patent challengers before the U.S. Patent

and Trademark Office (USPTO) in patent prosecution and post-grant proceedings, including in

administrative trials before the Patent Trial and Appeal Board.         Perkins Coie is currently

representing approximately 555 clients in approximately 5,415 pending patent applications before

the USPTO. Perkins Coie is also representing approximately 20 clients in approximately 56 active

post-grant proceedings (i.e., administrative trial proceedings) before the Patent Trial and Appeal

Board (PTAB), and approximately 7 clients in approximately 11 active proceedings before the

International Trade Commission (ITC). Perkins Coie is also representing clients in trademark and

copyright matters before agencies, including approximately 66 matters before the Trademark Trial

and Appeal Board (TTAB), approximately 1,960 pending trademark matters before the USPTO,

and approximately 145 pending copyright matters before the Copyright Office. Many of those

patent and trademark clients also are known to have contracts with the federal government.

        16.    Perkins Coie has approximately 343 attorneys in its Business group. That practice

group includes subgroups directed to financial regulation, which requires them to engage with

federal financial regulatory agencies (such as the Federal Deposit Insurance Corporation, Office




                                                - 6-
     CaseCase
          1:25-cv-00917-RJL
              1:25-cv-00716         Document
                                    Document 2-2
                                             16-4 Filed
                                                    Filed03/11/25
                                                          04/08/25 Page
                                                                    Page7 80
                                                                          of 20
                                                                             of 297




of the Comptroller of the Currency, and the Board of Governors of the Federal Reserve System);

international trade, which involves interaction with and practice before the Department of

Commerce and the International Trade Commission; and tax, which involves interaction with the

Internal Revenue Service. The international trade group also has approximately 17 pending

matters before the Department of Labor and approximately 22 pending matters before U.S.

Citizenship and Immigration Services. The group's corporate and securities practice regularly

represents clients before and in connection with the Securities and Exchange Commission (SEC),

including No Action Request Letters, Securities Act registration statements subject to SEC review,

and Exchange Act filings. The Business Group also represents clients before or in connection with

the Department of Agriculture, the Food and Drug Administration, Department of Transportation,

Department of Labor, Department of Justice, Department of Homeland Security, and Department

of State.

        17.    The firm's White Collar & Investigations practice includes approximately

29 attorneys and is almost exclusively reliant on interacting with the federal government. That

practice involves representing clients in investigations and after indictments in numerous

proceedings involving many agencies of the federal government, including the Department of

Justice, Federal Bureau of Investigation (FBI), U.S. Attorney's Offices, and SEC, among others.

        18.    There are many other practice groups and subgroups at Perkins Coie that interact,

by necessity, with the federal government on behalf of our clients. These groups include, but are

not limited to, Commercial Litigation (with subgroups including Appeals, Issues & Strategy;

Construction; and Antitrust); Environment, Energy & Resources; Labor & Employment; Private

Client Services; Product Liability; and Real Estate & Land Use. In summary, much of our work

on behalf of our clients requires access to federal government buildings, which house both




                                                - 7-
     CaseCase
          1:25-cv-00917-RJL
              1:25-cv-00716          Document
                                     Document 2-2
                                              16-4 Filed
                                                     Filed03/11/25
                                                           04/08/25 Page
                                                                     Page8 81
                                                                           of 20
                                                                              of 297



courthouses and agencies. This is true of every practice group at the firm. And many of these

practice areas, such as White Collar & Investigations, are almost exclusively reliant on interacting

with the federal government. Each of our nine major practice groups relies on clients who have

done business with the federal government. Such clients or their corporate affiliates account for a

significant fraction of revenue in each practice group, as evidenced by the top 15 clients in each

practice group (84% of revenue from top 15 clients in Business from those that have or whose

corporate affiliates have government contracts; 90% for Commercial Litigation; 51 % for

Environment, Energy & Resources; 88% for Intellectual Property; 75% for Labor & Employment;

44% for Political Law; 51 % for Private Client Services; 94% for Product Liability; 32% for Real

Estate & Land Use).

        19.       At present, by way of non-exhaustive example, Perkins Coie has active civil and

criminal matters on behalf of its clients involving at least the following federal agencies, which

require them either to interact with or appear before federal government officials:

              •   Administration for Strategic Preparedness and Response
              •   Advisory Council on Historic Preservation
              •   Biomedical Advanced Research and Development Authority
              •   Board of Governors of the Federal Reserve System
              •   Bonneville Power Administration
              •   Bureau of the Census
              •   Bureau of Economic Analysis
              •   Bureau of Indian Affairs
              •   Bureau of Industry and Security
              •   Bureau of Land Management
              •   Bureau of Ocean Energy Management
              •   Bureau of Reclamation
              •   Bureau of Safety and Environmental Enforcement
              •   CHIPS Program Office
              •   Committee on Foreign Investment in the United States
              •   Commodity Futures Trading Commission
              •   Consumer Financial Protection Bureau
              •   Defense Contract Audit Agency
              •   Defense Contract Management Agency




                                                 - 8-
CaseCase
     1:25-cv-00917-RJL
         1:25-cv-00716     Document
                           Document 2-2
                                    16-4 Filed
                                           Filed03/11/25
                                                 04/08/25 Page
                                                           Page9 82
                                                                 of 20
                                                                    of 297




    •   Defense Logistics Agency
    •   Department of Agriculture
    •   Department of the Army
    •   Department of Commerce
    •   Department of Defense
    •   Department of Defense Cyber Crime Center
    •   Department of Energy (including Oak Ridge National Laboratory)
    •   Department of Health & Human Services
    •   Department of Homeland Security
    •   Department of the Interior
    •   Department of Justice (including Antitrust, CCIPS, Civil, Fraud)
    •   Department of Labor
    •   Department of State
    •   Department of Transportation
    •   Department of the Treasury
    •   Department of Veterans Affairs
    •   Directorate of Defense Trade Controls
    •   Drug Enforcement Administration
    •   Environmental Protection Agency
    •   Equal Employment Opportunity Commission
    •   Executive Office of the President (including CEQ, 0MB, and OSTP)
    •   Fannie Mae and Freddie Mac
    •   Federal Aviation Administration
    •   Federal Bureau oflnvestigation
    •   Federal Bureau of Prisons
    •   Federal Communications Commission
    •   Federal Deposit Insurance Corporation
    •   Food & Drug Administration
    •   Federal Election Commission
    •   Federal Emergency Management Agency
    •   Federal Energy Regulatory Commission
    •   Federal Highway Administration
    •   Federal Permitting Improvement Steering Council
    •   Federal Reserve Bank of San Francisco
    •   Federal Transit Administration
    •   Financial Crimes Enforcement Network
    •   Government Accountability Office
    •   Grid Deployments Office
    •   Housing and Urban Development
    •   Internal Revenue Service
    •   International Trade Administration
    •   Loan Programs Office
    •   National Institutes of Health
    •   National Labor Relations Board



                                      - 9-
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00716 Document
                            Document2-2
                                     16-4 Filed
                                             Filed
                                                 03/11/25
                                                   04/08/25 Page
                                                              Page
                                                                 1083
                                                                    of of
                                                                       20297




             •   National Marine Fisheries Service
             •   National Oceanic and Atmospheric Administration
             •   National Park Service
             •   National Renewable Energy Lab
             •   Office of Clean Energy Demonstrations
             •   Office of Federal Contract Compliance Programs
             •   Office of Foreign Assets Control
             •   Office of the Comptroller of the Currency
             •   Office of the U.S. Trade Representative
             •   Pacific States Marine Fisheries Commission
             •   Patent Trial & Appeal Board
             •   Rural Utilities Service
             •   Securities & Exchange Commission
             •   Small Business Administration
             •   Trademark Trial & Appeal Board
             •   U.S. Anny Corps of Engineers
             •   U.S. Attorney's Offices
             •   U.S. Copyright Office
             •   U.S. Citizenship and Immigration Services
             •   U.S. Customs and Border Protection
             •   U.S. Fish & Wildlife Service
             •   U.S. Forest Service
             •   U.S. Immigration and Customs Enforcement
             •   U.S. International Trade Commission
             •   U.S. Patent & Trademark Office
             •   U.S. Postal Inspection Service
             •   U.S. Secret Service

       20.       The firm's pro bono work is frequently before federal agencies or involves

interacting with federal government officials. For instance, Perkins Coie attorneys represent

veterans in obtaining benefits before the Department of Veterans Affairs and the Department of

Defense. Perkins Coie has approximately 41 open veterans matters, the majority of which are

related to seeking higher levels of benefits for veterans in connection with their service to this

country, such as application for combat-related special compensation (before the Combat-Related

Special Compensation Board); discharge upgrade petitions; and appeals to the U.S. Court of

Appeals for Veterans Claims. In the past five years, Perkins Coie has handled 90 matters related

to veterans' rights. Perkins Coie was honored with the 2023 Veterans Heroes Law Firm Award



                                               - 10-
       Case
          Case
            1:25-cv-00917-RJL
               1:25-cv-00716 Document
                              Document2-2
                                       16-4 Filed
                                               Filed
                                                   03/11/25
                                                     04/08/25 Page
                                                                Page
                                                                   1184
                                                                      of of
                                                                         20297



by the Attorney General of Washington's Office of Military and Veteran Legal Assistance

(OMVLA). That award recognizes the law firm that provided the greatest contribution to OMVLA

in any given year. The National Veterans Legal Services Program (NVLSP) also selected a Perkins

Coie attorney to receive the 2020 NVLSP Lawyers Serving Warriors Excellence Award. The

entire veterans-rights practice requires access to federal officials and buildings. Perkins Coie

attorneys also represent disaster victims in FEMA applications and appeals.            Perkins Coie

attorneys represent pro bono clients in social-security matters, including SSI and SSD. Perkins

Coie represents some nonprofits pro bono in obtaining federal tax exemptions. And Perkins Coie

represents pro bono low-income inventors with patent applications before the USPTO, and assists

organizations and small businesses in registering trademarks. Further, Perkins Coie attorneys have

represented pro bono religious organizations, including Jewish and Catholic organizations.

III.    Recent Relevant Litigation

        21.    The firm's clients prevailed in all but one of the challenges brought by the Trump

campaign seeking to overturn the results of the 2020 election, 1 and the firm's clients also prevailed

in a significant number of voting rights cases, including cases where our clients were successful

in upholding existing laws against attacks by lawyers for the other party.

        22.    On March 24, 2022, Donald Trump sued a host of defendants, including Perkins

Coie, Hillary Clinton, the Democratic National Committee, Fusion GPS, and former Perkins Coie

partners Michael Sussmann and Marc Elias in the U.S. District Court for the Southern District of

Florida alleging that the defendants "maliciously conspired to weave a false narrative" that Mr.

Trump was colluding with Russia. See 2:22-cv-14102 (S.D. Fla.). Mr. Trump asserted civil RICO



1 The case where Perkins Coie's client did not prevail involved a challenge to the deadlin~
November 9 versus November 12-to confirm the identities of first-time voters who voted by
mail in Pennsylvania.



                                                 - 11-
      Case
         Case
           1:25-cv-00917-RJL
              1:25-cv-00716 Document
                             Document2-2
                                      16-4 Filed
                                              Filed
                                                  03/11/25
                                                    04/08/25 Page
                                                               Page
                                                                  1285
                                                                     of of
                                                                        20297



claims against Perkins Coie for conspiring with the Clinton campaign and sought to recover

damages in excess of $24 million, before trebling, as well as attorney's fees and lost profits. On

September 9, 2022, the court dismissed the lawsuit with prejudice. Trump v. Clinton, 626 F. Supp.

3d 1264 (S.D. Fla. 2022).

       23.     On February 6, 2025, Perkins Coie filed a lawsuit, Shilling v. Trump, No. 2:25-cv-

421 (W.D. Wash.), on behalf of Commander Emily Shilling, Commander Blake Dremann,

Lieutenant Commander Geirid Morgan, Sergeant First Class Cathrine Schmid, Sergeant First

Class Jane Doe, Staff Sergeant Videl Leins, Matthew Medina, and the Gender Justice League

challenging an executive order by President Trump targeting transgender servicemembers.

Perkins Coie represents the plaintiffs on a pro bono basis as co-counsel, along with Lambda Legal

and the Human Rights Campaign. Perkins Coie, on behalf of its clients, filed a motion for a

preliminary injunction on February 19, 2025, asking the court to bar implementation of the

executive order until it could adjudicate the case, and the court ordered the government to

immediately notify the court before any changes were made to the status quo while the preliminary

injunction motion was being briefed.

IV.    Irreparable Harm Caused by the Order and Its Enforcement

       24.     On March 6, 2025, President Donald J. Trump signed the Executive Order 14230

titled "Addressing Risks from Perkins Coie LLP." See https://www.whitehouse.gov/presidential-

actions/2025/03/addressing-risks-from-perkins-coie-llp/ (90 Fed. Reg. 11,781) (the "Order"). The

Order was accompanied by a "Fact Sheet" issued the same day that purports to explain and support

the Order. Perkins Coie was given no opportunity to respond to the false charges in the Order and

Fact Sheet or to explain the inevitable impact.




                                                  - 12-
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00716 Document
                            Document2-2
                                     16-4 Filed
                                             Filed
                                                 03/11/25
                                                   04/08/25 Page
                                                              Page
                                                                 1386
                                                                    of of
                                                                       20297



        25.     We of course are constrained under Rule 1.6 of the Model Rules of Professional

Conduct and attorney-client privilege, but we can report general facts and facts known to the

government. The day after the Executive Order, an official of a federal agency informed a client

of Perkins Coie that, because of the Order, the client's Perkins Coie lawyers should not attend a

scheduled meeting with an office in that agency to discuss a pending matter. The client had

engaged Perkins Coie to defend that client in that enforcement action, and Perkins Coie performed

substantial work on the matter, totaling over $1 million in fees, and interacted with the agency on

this matter in the interim. The client, after expressing great reluctance and regret, said it was forced

to hire other law firms to represent it before the federal government and in related litigation.

        26.     On March 6, 2025, an attorney in the Fraud Section of the Criminal Division of the

U.S. Department of Justice, informed Perkins Coie that the Fraud Section of the Criminal Division

could not proceed with a previously set meeting relating to another Perkins Coie client, citing the

need to wait for further guidance on whether that meeting could even occur in light of the Order.

This postponement threatens the ability of that client to achieve a swift resolution of the matter.

        27.     It is inconceivable that the Order could constitutionally ban Perkins Coie's access

to federal courthouses, but because it might be interpreted to do so, the firm has already been

forced in incur additional costs in securing additional backup personnel to attend impending

hearings. Perkins Coie will continue incurring such harm if the Order's enforcement is not

enjoined because Perkins Coie attorneys have numerous upcoming appearances before federal

courts and agencies. Indeed, Perkins Coie has nearly a thousand active matters before federal

courts, and has thousands of matters before agencies that require access to federal government

buildings and officials. Continued refusals by federal officials to meet with Perkins Coie lawyers,




                                                  - 13-
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00716 Document
                            Document2-2
                                     16-4 Filed
                                             Filed
                                                 03/11/25
                                                   04/08/25 Page
                                                              Page
                                                                 1487
                                                                    of of
                                                                       20297




or to permit Perkins Coie lawyers to access federal agencies and buildings, would be devastating

to both Perkins Coie's legal practice and its clients' interests.

       28.      The Order also includes provisions that would require federal agencies to require

government contractors to disclose any relationship they have with Perkins Coie, and to tenninate

government contracts for clients as to which Perkins Coie has been hired to perform any service.

Many of Perkins Coie's largest clients (for instance, the top 15 clients, collectively representing

over $343 million in revenue in 2024, which represents almost a quarter of the firm's revenue) or

their affiliates have contracts or subcontracts with the federal government, or compete for such

contracts, and many of those companies are represented by the firm for legal matters completely

unrelated to government-contracting matters. For many of the firm 's clients, the fact that the firm

gives them legal advice is not public information. Accordingly, if enforced, the Order would seek

to require many of these clients to divulge confidential information regarding their legal

representations to the federal government, in addition to risking the termination of those clients'

contracts if Perkins Coie has been hired to perform any service related to the contract.

       29.      Due to the restrictions that the Order imposes on Perkins Coie, and the provisions

directed to the firm's federal contractor clients, several clients have already terminated, or have

communicated that they are considering terminating, their legal engagements with Perkins Coie.

We are in frequent contact with many of our clients, and since the Order, have been in contact with

at least our larger clients every day. The common message is that they want to keep using us but

are reviewing the relationship, their government contracts and other government interactions, and

will need to make decisions shortly. This is a rapidly evolving situation, which changes by the

hour. Some clients have reported very concerning messages from government officials directing

them to report business with Perkins Coie, and others are concerned about that possibility.




                                                  - 14-
Case
   Case
     1:25-cv-00917-RJL
        1:25-cv-00716 Document
                       Document2-2
                                16-4 Filed
                                        Filed
                                            03/11/25
                                              04/08/25 Page
                                                         Page
                                                            1588
                                                               of of
                                                                  20297



    a. A client informed Perkins Coie on March 6, within hours of the Order's release,

       that due to the Order, Perkins Coie cannot represent that client in any litigation or

       before the relevant federal agency.

    b. A major government contractor that has been a firm client for over 35 years

       withdrew its work from Perkins Coie in light of the Order as of March 7. Shortly

       before the Order, the client had added Perkins Coie to its preferred-provider

       program, and annual billings to the client have often been in the millions of dollars.

    c. A government contractor that has been a firm client since 2018 has also withdrawn

       all work from Perkins Coie as a result of the Order as of March 7.

    d. A group of four clients has also withdrawn all work from Perkins Coie as of March

       7 due to the need of the clients to engage with various federal agencies- including

       the DEA, DOJ, and HHS- by the nature of their business.

    e. A major government contractor that has been a firm client for over ten years

       informed the firm on March 7 that it is reconsidering its engagements with Perkins

       Coie unless something changes in terms of the Order's requirements.

    f. Another client indicated on March 7 that it is now, in view of the Order, considering

       other firms instead to represent it in connection with a DOJ investigation.

    g. Because of the uncertainty created by the Order, many clients have begun

       requesting frequent updates relating to the Order in order to assess whether Perkins

       Coie can continue to represent them.

    h. Earlier today, March 11, a longtime client of the firm that increased its work five-

       fold over the past three years told us that its CEO intends to disengage from Perkins

       Coie due to the Order.




                                        - 15-
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00716 Document
                            Document2-2
                                     16-4 Filed
                                             Filed
                                                 03/11/25
                                                   04/08/25 Page
                                                              Page
                                                                 1689
                                                                    of of
                                                                       20297



        30.    Perkins Coie has already lost significant revenue due to the loss of clients who

terminated their engagements in the few days since the Order was issued. Like any law firm or

business, Perkins Coie has debts, obligations and expenses. If the Order were to continue and thus

cause current clients to terminate their engagements, and frighten away prospective new clients, it

would put the firm's solvency and very existence at risk. For instance, if we lost our top 15

clients-each of whom is a government contractor or a corporate affiliate of one, each of whom

be believe is at risk accordingly- the revenue loss would be devastating because this group alone

represented about a quarter of our revenue in 2024. If the Order is allowed to prevent Perkins Coie

from interacting with federal agencies or entering federal buildings on behalf of its clients, it would

pose an existential risk. The firm is built around representation of clients who interact with the

federal government. We take pride in the loyalty of our partners and associates, but lawyers of

their quality have other opportunities, including the easy one of following their clients to other

firms. Exceptional lawyers are the basis for our reputation and our success. Every passing day

increases our risk.

        31.    The Order has also had a chilling effect on Perkins Coie attorneys, who are now

reconsidering how they approach certain matters that require them to appear in federal buildings.

        32.    The Order also threatens Perkins Coie attorneys' right to practice their chosen

profession. That threat is not only to revenue-generating practice, but also to the firm's pro bono

practice, which frequently requires us to appear in federal court or before federal agencies in

criminal, civil, or administrative matters. It is not even clear if TSA officers can process us at

airports.

        33.    The Order has also impacted Perkins Coie's recruiting and, potentially, retention of

our employees. Since the issuance of the Order, we have had business professional candidates




                                                 - 16-
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00716 Document
                            Document2-2
                                     16-4 Filed
                                             Filed
                                                 03/11/25
                                                   04/08/25 Page
                                                              Page
                                                                 1790
                                                                    of of
                                                                       20297



who have been extended offers question the economic health of the firm and ifthere will be layoffs.

One interviewee asked one of the firm's recruiters questions that the recruiter understood to be

precipitated by the Order. And the firm has a recruiting event within the next two weeks that is

focused on practice before a federal court of appeals, from which the firm historically has hired

clerks to practice in areas related to government contracts, international trade, and intellectual

property.

       34.     The Order also interferes with Perkins Coie's employer-employee relationships

because the restrictions are broadly written to include Perkins Coie employees.

V.     False and Disparaging Statements in the Order

       35.     The Order has also harmed Perkins Coie's reputation in the markets for clients,

lawyers, and staff through its false and disparaging characterizations of the firm and its attorneys.

       36.     The Order says many things that are not only inflammatory but also blatantly false.

Most of the allegations were known during the President's first term, and have been (and in many

cases were) adjudicated and dismissed long ago. For example, the Order accuses Perkins Coie of

working to "steal an election," of "undermining democratic elections, the integrity of our courts,

and honest law enforcement," and of "racially discriminat[ing] against its own attorneys and staff,

and against applicants," including through "percentage quotas" and "proudly exclud[ing]

applicants on the basis of race." And it accuses Perkins Coie of"earnings" that "subsidize, among

other things, racial discrimination, falsified documents designed to weaponize the Government

against candidates for office, and anti-democratic election changes that invite fraud and distrust."

Those accusations are just plain false and most have already been rebutted through the results of

prior cases. The Order also references "Fusion GPS" in connection with representation of Hillary




                                                - 17-
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00716 Document
                            Document2-2
                                     16-4 Filed
                                             Filed
                                                 03/11/25
                                                   04/08/25 Page
                                                              Page
                                                                 1891
                                                                    of of
                                                                       20297



Clinton. No attorney at Perkins Coie for at least the last three years had anything to do with the

engagement of Fusion GPS.

       37.      The Fact Sheet also lists accusations against Perkins Coie. Those descriptions are

inflammatory and baseless. Among other false statements, the Fact Sheet wrongly states:

             a. "Perkins Coie LLP pushed debWlked claims of secret Trump-Russia

                communications via Alfa Banlc, with attorney Michael Sussmann indicted for lying

                to the FBI about this scheme." A jury quickly and unanimously acquitted Mr.

                Sussmann. The Fact Sheet also omits that no one else was involved and that Mr.

                Sussmann left the firm in 2021.

             b. "Perkins Coie LLP has worked with activist donors, including George Soros, to

                judicially overturn enacted election laws, such as those requiring voter

                identification." Perkins Coie has historically represented both party-affiliated and

                non-partisan clients in litigation over election laws. Many law firms have done the

                same. None of Perkins Coie's election-related litigation was frivolous. Indeed,

                more than half of the litigation was successful after both sides had full due process.

                And much of it was defending state election procedures and actions taken by state

                officials.

             c. "A court was forced to sanction Perkins Coie attorneys for unethical lack of candor

                before the court." The Fact Sheet alludes to one minor sanction, collectively,

                $8,700, connected with a single duplicative motion to supplement the record in a

                Fifth Circuit appeal in a 2021 voting-rights case. None of the three sanctioned

                attorneys remains at Perkins Coie. It is extremely rare for any of our lawyers to be

                sanctioned, and we take such matters very seriously.




                                                  - 18-
Case
   Case
     1:25-cv-00917-RJL
        1:25-cv-00716 Document
                       Document2-2
                                16-4 Filed
                                        Filed
                                            03/11/25
                                              04/08/25 Page
                                                         Page
                                                            1992
                                                               of of
                                                                  20297



    d. "Perkins Coie LLP has been accused of racially discriminating against its own

       attorneys, staff, and applicants." Perkins Coie does have a program to encourage

       minority and other diverse students to become lawyers in technology practices, but

        it is not limited to such students and Perkins Cole has previously awarded the

       fellowship to non-diverse applicants. As the law changed, we adjusted the program

       accordingly, although an action (later voluntarily dismissed) was filed before we

       could do so. We remain proud of our efforts, which did not harm any existing

       employee, and which did not affect our regular program for hiring associates in our

       technology practices. The American Alliance for Equal Rights brought the lawsuit

       alluded to in the Order (and similar lawsuits against other law firms). The firm

       responded by making clear that all were welcome to apply to its fellowship, not just

       those from historically underrepresented groups, and the American Alliance for

       Equal Rights then dropped the suit.

    e. The Fact Sheet is also wrong that "Perkins Coie has publicly announced racial

       percentage quotas for hiring and promotions, violating civil rights laws." The Fact

       Sheet's reference to 2019 suggests that it is talking about our pledge, based on the

       National Football League's Rooney Rule, to always consider minority candidates

       for firm leadership positions. That is not a quota, and it does not favor such

       candidates over more qualified candidates.

    f. "Perkins Coie LLP hosted an FBI workspace, raising concerns about partisan

       misuse' of sensitive data during investigations targeting President Trump." The

       "FBI workspace" rumor was long ago debunked. Perkins Coie did not host an "FBI

       workspace."    Rather, like many law firms who represent clients involved in




                                       - 19-
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00716 Document
                           Document2-2
                                    16-4 Filed
                                            Filed
                                                03/11/25
                                                  04/08/25 Page
                                                             Page
                                                                2093
                                                                   of of
                                                                      20297




                national-security issues, the furn wanted to protect national security and thus was

                permitted to install, at its own expense, a single-room Secure Work Environment

                (SWE) when it moved to new offices. The FBI's only involvement was examining

                and approving the security of the space. Mr. Sussmann used that as his office.

                Perkins Coie no longer has a SWE, and the SWE was never an "FBI workspace."

             g. "Perkins Coie LLP has filed lawsuits against the Trump Administration, including

                one designed to reduce military readiness." This statement impugns Perkins Coie

                for the political and legal positions taken by some of its clients in lawful litigation.

                Specifically, this statement refers to Shilling v. Trump, a pro bona lawsuit

                representing plaintiffs challenging an executive order by President Trump affecting

                transgender servicemembers despite their love of country and equal ability to

                contribute to military readiness.

                                                 ***

       38.      I declare under penalty of perjury, on this 11th day of March, 2025, that the

foregoing is true and correct to the best of my knowledge, information and belief.




                                                      ~



                                                    -20-
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 94 of 297




            EXHIBIT 20
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page951 of
                                                                     of 297
                                                                        52




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                       Plaintffi
                                                       Case No. 1:25-cv-00716 (BAH)
 V
                                                       Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                       Defendants




                DECLARATION OF DAVID J. BURMAN IN SUPPORT OF
                      MOTION FOR SUMMARY JUDGMENT

I, David J. Burman, pursuant to 28 U.S.C. S 1746, hereby declare as follows:l

       1.      I am a partner at Perkins Coie LLP ("Perkins Coie"). Perkins Coie is an
intemational law firm that conducts its U.S. operations and activities through a limited liability

partnership, Perkins Coie LLP, with seventeen offices around the country. I have been an attorney

at Perkins Coie for over 45 years, following two years clerking. I am a member in good standing

of the D.C. and Washington bars and have been admitted in many state and federal courts, and I

serve on the Advisory Committee on the Federal Rules of Civil Procedure. I am very familiar with

the fitm's business and operations and was asked as a result to take a lead role in attempting to

assess and contain the damage from the March 6 Executive Order.           I either have personal
knowledge of the facts set forlh in this declaration or I know them from business records and my

knowledge of the firm's history and operations, and the statements herein are consistent with the



I This declaration includes the substance of my prior March 12,2025 declaration in support of
Perkins Coie's motion for temporary restraining order (with minor changes where appropriate),
along with additional information relevant for summary judgment.
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page962 of
                                                                     of 297
                                                                        52




knowledge formed while I was even more directly involved in various aspects of firm

management.

        2.      I currently chair the ftrm's governance task force, and have long and intense
involvement in firm management. I led the commercial litigation practice and first served on the

firm's executive committee by the early 1990s. I then served for six years on the four-partner

management committee. Over the years, I have chaired or served on the firm's hiring,

compensation, pro bono, technology, and strategic conflicts committees as well as two strategic

planning efforts and task forces on practice group structure, total quality management, and role of

non-lawyer professionals. I spearheaded the creation of our Intellectual Property Department and

the opening of our Chicago office, both of which have become among our most successful

initiatives. I have acted as co-lead relationship partner for three of our large institutional clients.

        3.      I submit this Declaration in Support of the Statement of Material Facts As To
Which There Is No Genuine Dispute and Motion for Summary Judgment filed by Perkins Coie. I

am of the age of majority, and I am competent to make this declaration.

A.     Perkins Coie LLP

       4.       Perkins Coie was founded in Seattle by a retiring U.S. District Judge and U.S.

Attorney. Since 1912, Perkins Coie has grown to become the largest law firm in the Pacific

Northwest, has opened offices throughout the United States and in Asia and in Europe, and has

more than 7,200 lawyers.

       5.      The firm represents a wide range of clients, including Fortune 500 companies,

small- and medium-sized businesses, families, individuals, and charitable and public service-

oriented organizations. Perkins Coie alumni have been and are presently serving as state and

federal court judges, judicial law clerks, prosecutors, public defenders, and high-ranking
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page973 of
                                                                    of 297
                                                                       52




govemment officials, as well as founders, CEOs, and General Counsels of some of thenation's

largest and most imporlant companies. Perkins Coie is widely recognized as one of the leading

law firms for technology and other innovative companies, and since our founding, Perkins Coie

has proudly represented a wide range of industry leaders throughout the world.

        6.      Over our 113-year history, Perkins Coie and its lawyers have represented clients in

most if not every state, in federal and state courts across the nation, and in tribunals throughout the

world (including the Supreme Court of the United States), and they have helped to establish major

precedent in state and federal law. The firm is frequently sought out by leading technology and

communications companies who are innovating in areas as varied as artificial intelligence,

telecommunications, and the Intemet of Things. The firm's lawyers are leaders and members of

national, state, and local bar associations around the country. Among other esteemed professional

organizations, its lawyers are members of the American Bar Association, state bar associations for

nearly every state in the country, and local bar associations in such cities and counties as Chicago,

King County, Los Angeles County, Maricopa County, New York City, San Francisco, and

Washington, D.C.

       7.      Perkins Coie has been named as an "Am Law 50" firm on The American Lawyer

l00list for over a decade. The firm and its lawyers are regularly recognized for excellence in the

legal community by Best Lawyers@, Chambers (JSA, and other respected organizatrons, including

national and local bar associations.

       8.      Perkins Coie has approximately 2,500 lawyers and business professionals. Of

those, nearly half are attorneys-including equity pafiners, non-equity partners, and associates-

and halfare business professionals, including paralegals, patent agents, legal assistants, and other

professionals. Our employees are deeply woven into the fabric of their communities. They are
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page984 of
                                                                     of 297
                                                                        52




Sunday school teachers, Scout leaders, youth sports coaches, and volunteers sering on hundreds

of boards of organizations ranging from art museums and food kitchens to major universities, local

schools, and foundations. They include former members of the armed forces, and current reservists

in the U.S. military.

        9.      Perkins Coie's attomeys are drawn from all sides of the political spectrum, and

most of our attorneys are not politically active. There are attorneys who are liberal and attorneys

who are conservative. When Bob Bauer started our small Political Law practice, we were known

in Seattle as, if anything, a "Republican firm." His practice was viewed as an interesting business

opportunity, not a cause. While partner politics have become more balanced, it was always

important that the political practice be respectful of the firm's diversity. Further, many of our

attomeys joined the firm after government service under both Democratic and Republican

administrations, or after serving as judges or judicial law clerks to judges appointed by both

Democratic and Republican presidents. Reflecting this bipartisan ethos, in the past six years, four

current or former Perkins Coie lawyers have been nominated and confirmed to serve as federal

judges-two by President Trump in2079, and two by President Biden in2021 and2023. One

former partner ran for Congress as a Republican, won, and returned to the firm for a time after he

lost re-election. Another partner was elected Washington Attorney General as a Republican.

       10.     Perkins Coie is dedicated to our clients, our communities, and each other. The firm

has a longstanding, firmwide commitment to pro bono service. Since 1989, the firm has provided

approximately 1.45 million hours of pro bono service by attomeys, paralegals, and other business

professionals to innumerable clients, including veterans, indigent families, disabled persons, and

community-based organizations of all sizes, including the League of Women Voters and other

non-partisan organizations, in matters championing human, civil, and electoral rights, housing,
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page995 of
                                                                     of 297
                                                                        52




education, food, benefits, and economic justice. We have frequently been honored for our efforts.

Our pro bono seryice also extends to representing indigent criminal defendants before federal

courts by court appointment and clients on death row in states with limited pro bono resources. In

2024, for example, Perkins Coie lawyers, paralegals, and other business professionals spent over

89,000 hours, valued at nearly $70 million, in pro bono service. Much of our pro bono work

involves advocating for military and veterans' rights.

           1   1.   Perkins Coie has received numerous awards from a wide range of organizations for

its pro bono representation, including state and local bar associations, the U.S. Patent and

Trademark Office 2023 Patent Pro Bono Achievement Certificate, the U.S. District Court for the

District of Arizona 2022 Outstanding Pro Bono Attomey of the Year Award (awarded rn2023),

and the 2023 Yeteran Heroes Law Firm Award by the Attorney General of Washington's Office

of Military and Veteran Legal Assistance.

        12.         Perkins Coie is often recognized for fostering a work environment in which all

lawyers and business professionals are judged on their merit and can reach their potential. Perkins

Coie has been namedto Fortune's "100 Best Companies to Work For" list for over 20 consecutive

years, and our individual offices are often named to similar local lists.

B.     The Firm's Diversity and Inclusion Efforts

        13.         In addition to our representation of clients in this area, Perkins Coie itself has a

longstanding and demonstrable commitment to fostering diversity and inclusion (D&I) within the

firm, the legal profession and community. The firm's commitment is summarized plainly on our

website:

                o "We are intentional and consistent in our efforls to increase the diversity of our
                    workforce and to advance the values of diversity and inclusion in the legal
    Case
     Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                        39-3 Filed
                                                Filed
                                                    04/08/25
                                                      04/02/25 Page
                                                                 Page
                                                                    100
                                                                      6 of
                                                                        of 52
                                                                           297




               profession. Diversity and inclusion are key to our culture, our values, and our

               business strategy. They are fundamental to the way we connect with and serve our

               clients.";

           .   "Perkins Coie is committed to advancing diversity and inclusion both within the

               firm and throughout our collective communities. We will continue to support and

               participate in efforts to make the legal profession more diverse and inclusive."

SeeEx.I,p.7,2.

       14.     Like the federal government, Perkins Coie formally recognizes Martin Luther King

Jr. Day and Juneteenth as firmwide holidays, reinforcing the Firm's commitment to racial equity

through institutionalized reflection, education, and service. The firm encourages attorneys and

staff to engage in volunteer activities on these days, supporting local community organizations

dedicated to advancing racial justice. Perkins Coie also observes many heritage months, including

several that have been recognized by Congress, by conducting programming aimed at fostering

awareness and appreciation of diverse cultural narratives. These include, but are not limited to,

Black History Month, Asian American and Pacific Islander Heritage Month, Women's History

Month, Pride Month, and Hispanic Heritage Month. These initiatives are complemented by firm-

wide speakers, panel discussions, and presentations open and available to all Perkins Coie

personnel designed to encourage meaningful dialogue on diversity-related topics. These programs

benefit all of the firm's personnel, and we believe they make for a more cohesive and effective

working environment.

       15.     Perkins Coie's hiring and promotion decisions are merit-based, meaning all

candidates are evaluated equally based on the same metrics: qualifications, competencies,

personality, and demonstrated excellence. The firm's hiring committee and interviewers undergo
     Case
      Case1:25-cv-00917-RJL
            1:25-cv-00716-BAH Document
                               Document16-4
                                         39-3 Filed
                                                 Filed
                                                     04/08/25
                                                       04/02/25 Page
                                                                  Page
                                                                     101
                                                                       7 of
                                                                         of 52
                                                                            297




training on best practices for inclusive hiring, mitigating implicit biases, and fostering fair

opportunities. Perkins Coie does not have "percentage quotas" as part of its hiring practices.

           16.   Perkins Coie has a Diversity & Inclusion Fellowship program that is expressly open

to all first-year law students. See Ex.2, p. 3.

           17.   Following litigation initiated by the American Alliance for Equal Rights in2023,

the firm explicitly affirmed the inclusive nature of the fellowship to ensure continued adherence

to principles of faimess and legal compliance. After the fitm's confirmation that the law student

fellowships were open to all, the American Alliance for Equal Rights voluntarily dismissed its

lawsuit.

C.      Interaction with the Federal Government

           18.   Perkins Coie is constrained by Rule 1.6 of the Model Rules of Professional Conduct

and attorney-client privilege, and thus cannot disclose client engagements without authorization.

No client has authorized Perkins Coie to disclose its engagement of the firm in connection with

this litigation, and this section therefore contains information about the Firm's practice without

revealing confi dential details.

           19. As a fuIl-service law firm that represents clients in all sectors of the economy in
transactional, litigation, and regulatory matters, Perkins Coie lawyers necessarily interact with the

federal govemment on behalf of their clients in innumerable ways. Those interactions are critical

to their ability to practice their profession; they are the waters the Perkins Coie attomeys swim in,

the air they breathe. If allowed to go into effect, the Order's restrictions would be devastating and

irreparable. Most of the firm's litigation practice is in federal court on behalf of their clients in

civil and criminal cases, as well as in federal agencies' in-house administrative proceedings. As

of March 77, 2025, the firm had nearly a thousand cases cuffently pending before federal district,
    Case
     Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                        39-3 Filed
                                                Filed
                                                    04/08/25
                                                      04/02/25 Page
                                                                 Page
                                                                    102
                                                                      8 of
                                                                        of 52
                                                                           297




bankruptcy, and appellate courts, including the Supreme Court of the United States. Its attorneys

have upcoming appearances scheduled before agencies and in courtrooms, including an upcoming

argument before the Supreme Court (another one has occurred since March 11).

       20.     Perkins Coie represents clients who have been indicted or are the targets ofpending

federal criminal investigations. Over the past five years, the firm has represented more than 80

individuals and companies who have been criminally investigated, charged, andlor prosecuted by

federal authorities at the Department of Justice. This list does not include the firm's work in federal

criminal-adjacent areas, such as clemency petitions or other post-conviction relief beyond direct

appeals, such as pardons or compassionate release.

       2I.     The firm has nine main practice groups, and all of them intersect with the federal

goverrrment in some way and include clients with business before the federal government. The

largest practice groups by headcount are Commercial Litigation, Business, and Intellectual

Property, which together account for approximately 75Yo of the firm's attorneys. The smallest

practice group by headcount is Political Law. Today, Perkins Coie's Political Law Group includes

approximately 8 attorneys, plus approximately 19 attorneys who are members of other practice

groups and also affiliated with the practice. I understand the March 6,2025 Executive Order and

Fact Sheet at issue in this proceeding to refer to former members of the Political Law Group, albeit

not by name. Although the firm's Political Law practice has historically been much smaller than

our other practice groups, it also substantially shrank in202l when Marc Elias and about 50 other

attorneys left Perkins Coie to form the Elias Law Group. This practice group historically has

handled a mix of paying and some pro bono cases, and it is often called on to advise clients

(typically corporations and business organizations) on political finance issues. It accounts for
    Case
     Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                        39-3 Filed
                                                Filed
                                                    04/08/25
                                                      04/02/25 Page
                                                                 Page
                                                                    103
                                                                      9 of
                                                                        of 52
                                                                           297




about 0.5% of the firm's revenue. Perkins Coie attomeys work on these matters because they

involve important legal rights and issues affecting our clients.

        22.     In the course of their representations, Perkins Coie lawyers frequently meet with

federal officials from countless agencies. Although it is difficult to quantiflz precisely, based on a

review of our current client matter list, the vast bulk of our clients have matters that require Perkins

Coie lawyers to interact with federal agencies.

        23.     For instance, a significant number of Perkins Coie clients are, or have affiliates who

are, government contractors and subcontractors-including 100% of its top I 5 clients by revenue.

SeeEx.3 (identifuing rsvenue from top 15 clients). I have also reviewed records from the Federal

Procurement Data System (FDPS) to confirm that each of these clients, or their affiliates, are

government contractors.

        24.     The firm's Govemment Contracts group handles clients' bid protests and disputes

surrounding contract claims, including transactional work and litigation. Perkins Coie represents

some of these clients in connection with goverrrment contract matters. As of March 11,2025, the

approximately nine attomeys in this group were handling approximately 70 govemment

contracting matters involving various federal agencies. But there are many other firm clients that

have govemment contracts and who have engaged Perkins Coie to represent them in matters

unrelated to their government contracts.

        25.     The firm's Intellectual Property group and its clients also depend heavily on access

to and interaction with the federal government. The approximately 236 attomeys in this group

frequently represent patent applicants, patent owners, and patent challengers before the U.S. Patent

and Trademark Office (USPTO) in patent prosecution and post-grant proceedings, including in

administrative trials before the Patent Trial and Appeal Board. As of March 77,2025, Perkins
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page104
                                                                 10 of
                                                                    of 297
                                                                       52




Coie was representing clients in approximately 5,415 pending patent applications before the

USPTO. Perkins Coie was also representing clients in approximately 56 active post-grant

proceedings (i.e., administrative trial proceedings) before the Patent Trial and Appeal Board

(PTAB), and clients in approximately 11 active proceedings before the Intemational Trade

Commission (ITC). Perkins Coie was also representing clients in trademark and copyright matters

before agencies, including approximately 66 matters before the Trademark Trial and Appeal Board

(TTAB), approximately 1,960 pending trademark matters before the USPTO, and approximately

145 pending copyright matters before the Copyright Office. Many of those patent and trademark

clients also are known to have contracts with the federal government.

       26.     Perkins Coie has approximately 340 attomeys in its Business group. That practice

group includes subgroups directed to financial regulation, which requires them to engage with

federal financial regulatory agencies and instrumentalities (such as the Federal Deposit Insurance

Corporation and the Office of the Comptroller of the Currency); intemationaltrade,which involves

interaction with and practice before the Department of Commerce and the Intemational Trade

Commission; and tax, which involves interaction with the Internal Revenue Service. As of March

7I,2025, the intemational trade group also had approximately 17 pending matters before the

Department of Labor and approximately 22 pending matters before U.S. Citizenship and

Immigration Services. The group's corporate and securities practice regularly represents clients

before and in connection with the Securities and Exchange Commission (SEC), including No

Action Request Letters, Securities Act registration statements subject to SEC review, and

Exchange Act filings. The Business Group also represents clients before or in connection with the

Department of Agriculture, the Food and Drug Administration, Department of Transportation,

Department of Justice, Depaftment of Homeland Security, and Department of State.
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page105
                                                                 11 of
                                                                    of 297
                                                                       52




        27   .   The firm's White Collar & Investigations practice (a subgroup of the Commercial

Litigation group) includes approximately 29 attorneys and is almost exclusively reliant on

interacting with the federal government. That practice involves representing clients in

investigations and after indictments in numerous proceedings involving many agencies of the

federal government, including the Department of Justice, Federal Bureau of Investigation (FBI),

U.S. Attomey's Offices, and SEC, among others.

        28.      There are many other practice groups and subgroups at Perkins Coie that interact,

by necessity, with the federal govemment on behalf of our clients. These groups include, but are

not limited to, Commercial Litigation (with subgroups including Appeals, Issues & Strategy;

Construction; and Antitrust); Environment, Energy & Resources; Labor & Employment; Private

Client Services; Product Liability; and Real Estate &Land Use. In summary, much of our work

on behalf of our clients requires access to federal government buildings, which house both

courthouses and agencies. This is true of every practice group at the firm. And certain of these

practice areas, such as White Collar & Investigations, are almost exclusively reliant on interacting

with the federal govefirment. Each of our nine major practice groups relies on clients who have

done business with the federal government. Such clients or their corporate affiliates account for a

significant fraction of revenue in each practice group, as evidenced by the top 15 clients in each

practice group (84% of revenue from top 15 clients in Business from those that have or whose

corporate affiliates have government contracts; 90o/o for Commercial Litigation; 88% for

Intellectual Property; 51Yo for Environment, Energy & Resourc es; 7 5Yo for Labor & Employment;

44oh for Political Law1' 5lo/o for Private Client Services; 94o/o for Product Liability; 32o/o for Pteal

Estate &Land Use). See Ex. 4 (listing revenue from top 15 clients in each practice group). I have
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page106
                                                                 12 of
                                                                    of 297
                                                                       52




also reviewed records from the FDPS that confirm the percentage of these clients, or their affiliates,

that are govefflment contractors.

       29.     As of March 77,2025, by way of non-exhaustive example, our records show that

Perkins Coie has active civil and criminal matters on behalf of its clients involving at least the

following federal agencies, which require them either to interact with or appear before federal

government officials:

           o Administration for Strategic Preparedness and Response
           o Advisory Council on Historic Preservation
           o Biomedical Advanced Research and Development Authority
           o Bonneville Power Administration
           o Bureau of the Census
           o Bureau of Economic Analysis
           o Bureau of Indian Affairs
           o Bureau of Industry and Security
           o Bureau of Land Management
           o Bureau of Ocean Energy Management
           o Bureau of Reclamation
           o Bureau of Safety and Environmental Enforcement
           o CHIPS Program Office
           o Committee on Foreign Investment in the United States
           o Commodity Futures Trading Commission
           o Consumer Financial Protection Bureau
           o Defense Contract Audit Agency
           o Defense Contract Management Agency
           o Defense Logistics Agency
           . Dspartment of Agriculture
           . Department of the Army
           o Department of Commerce
           o Department of Defense
           o Deparlment of Energy (including Oak Ridge National Laboratory)
           o Department of Health & Human Seruices
           o Deparlment of Homeland Security
           o Depaftment of the Interior
           . Department of Justice (including Antitrust, CCIPS, Civil, Fraud)
           o Department of Labor
           o Department of State
           o Department of Transportation
           o Department of Toxic Substance Controls
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page107
                                                             13 of
                                                                of 297
                                                                   52




     o Department of the Treasury
     . Department of Veterans Affairs
     o Directorate of Defense Trade Controls
     . Drug Enforcement Administration
     o Environmental Protection Agency
     o Equal Employment Opportunity Commission
     o Executive Office of the President (including CEQ, OMB, and OSTP)
     . Fannie Mae and Freddie Mac
     o Federal Aviation Administration
     . Federal Bureau of Investigation
     o Federal Bureau ofPrisons
     o FederalCommunicationsCommission
     o Federal Deposit lnsurance Corporation
     . Food & Drug Administration
     o Federal Election Commission
     o Federal Emergency Management Agency
     . Federal Energy Regulatory Commission
     . Federal Highway Administration
     . Federal Permitting Improvement Steering Council
     . Federal Transit Administration
     . Financial Crimes Enforcement Network
     o Financial Industry Regulatory Affairs (FINRA)
     o Government Accountability Office
     o Grid Deployments Office
     o Housing and Urban Development
     o Internal Revenue Service
     o International Trade Administration
     o Loan Programs Office
     o National Institutes of Health
     o National Labor Relations Board
     o National Marine Fisheries Service
     o National Oceanic and Atmospheric Administration
     o National Park Service
     o National Renewable Energy Lab
     . Office of Clean Energy Demonstrations
     . Office of Federal Contract Compliance Programs
     . Office of Foreign Assets Control
     . Office of the Comptroller of the Currency
     . Offrce of the U.S. Trade Representative
     o Pacific States Marine Fisheries Commission
     o Patent Trial & Appeal Board
     o Rural Utilities Service
     o Securities & Exchange Commission
     o Small Business Administration
   Case
    Case1:25-cv-00917-RJL
         1:25-cv-00716-BAH Document
                            Document16-4
                                     39-3 Filed
                                           Filed04/08/25
                                                 04/02/25 Page
                                                           Page108
                                                                14 of
                                                                   of 297
                                                                      52




           o Trademark Trial & Appeal Board
           o U.S. Army Corps of Engineers
           . U.S. Attorney's Offices
           o U.S. Copyright Office
           o U.S. Citizenship and Immigration Services
           . U.S. Customs and Border Protection
           . U.S. Fish & Wildlife Service
           o U.S. Forest Service
           o U.S. Immigration and Customs Enforcement
           o U.S. International Trade Commission
           o U.S. Patent & Trademark Office
           . U.S. Postal Inspection Service
           o U.S. Secret Service
       30.     The firm's pro bono work is frequently before federal agencies or involves

interacting with federal govemment officials. For instance, Perkins Coie attomeys represent

individual veterans pro bono in obtaining benefits before the Department of Veterans Affairs and

the Department of Defense. As of March 11,2025, Perkins Coie had approximately 4I open pro

bono matters for individual veterans matters, the majority of which are related to seeking higher

levels of benefits for veterans in connection with their service to this country, such as application

for combat-related special compensation (before the Combat-Related Special Compensation

Board); discharge upgrade petitions; and appeals to the U.S. Court of Appeals for Veterans Claims.

In the past five years, Perkins Coie has handled 90 matters for individual service members. Perkins

Coie was honored with the 2023 Yeterans Heroes Law Firm Award by the Attorney General of

Washington's Office of Military and Veteran Legal Assistance (OMVLA). That award recognizes

the law firrn that provided the greatest contribution to OMVLA in any given year. The National

Veterans Legal Services Program (NVLSP) also selected a Perkins Coie attorney to receive the

2020 NVLSP Lawyers Serving Warriors Excellence Award. The entire veterans-rights practice

requires access to federal officials and buildings. Perkins Coie attorneys also represent disaster

victims on a pro bono basis in FEMA applications and appeals. Perkins Coie attomeys represent
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page109
                                                                 15 of
                                                                    of 297
                                                                       52




pro bono clients in social-security matters, including SSI and SSDL Perkins Coie represents

several nonprofits pro bono for a range of matters, including obtaining federal tax exemptions,

formation, and counseling. And Perkins Coie represents pro bono low-income inventors with

patent applications before the USPTO, and assists organizations and small businesses in registering

trademarks. Further, Perkins Coie attorrreys have represented pro bono religious organizations,

including Jewish and Catholic organizations.

       31.        Much of this pro bono work is not "political." Our analysis indicates that only

about 20oh of the pro bono matters, and 35Yo of the pro bono time spent over the past year, were

attributable to cases that might be viewed as "politica\" - i.e., cases involving transgender service

members, homelessness, immigration, reproductive rights, the First or Second Amendments,

elections, discrimination, or right to die. By contrast, 80yo of Perkins Coie's pro bono matters,

and nearly two-thirds of its pro bono hours over the past year, were devoted to non-political matters

such as veterans, domestic abuse, Criminal Justice Act appointments to represent indigent

defendants, Social Security disability payments, patents and trademarks, business and non-profit

tax counseling.

       32.        Examples of the type of pro bono work that might be considered "political" include:

1) a challenge to a state law that prevented pregnant individuals from using midwives that employ

traditional healing practices for prenatal, matemal, and infant care; 2) assisting a faith-based

"crisis" pregnancy resources center in a lease dispute; and 3) assisting a deported veteran-who

had lived in the United States as a lawful permanent resident since the age of five-in returning to

the United States through humanitarian parole.
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page110
                                                                  16 of
                                                                     of 297
                                                                        52




D.     Recent Relevant Litigation

       33.     In 2020, Perkins Coie represented a number of clients opposing then-candidate

Trump's challenges to the results of the 2020 Presidential Election. The firm's clients prevailed

in all but one of the challenges brought by the Trump campaign seeking to overturn the results of

the2020 election,2 and the firm's clients also prevailed in a significant number of voting rights

cases, including cases where our clients were successful in upholding existing laws against

challenges by lawyers for the other party. The profession's ethics rules would generally not allow

us to represent candidate Trump's interests once we had been retained adverse to those interests.

       34.     On March 24, 2022, Donald Trump sued a host of defendants, including Perkins

Coie, Hillary Clinton, the Democratic National Committee, Fusion GPS, and former Perkins Coie

partners Michael Sussmann and Marc Elias in the U.S. District Court for the Southem District of

Florida alleging that the defendants "maliciously conspired to weave a false narrative" that Mr.

Trump was colluding with Russia. See2:22-cv-I4I02 (S.D. Fla.). Mr. Trump asserted civil RICO

claims against Perkins Coie for conspiring with the Clinton campaign and sought to recover

damages in excess of $24 million, before trebling, as well as attomey's fees and lost profits. On

September 9,2022, the court dismissed the lawsuit with prejudice. Trump v, Clinton, 626F. Supp.

3d 1264 (S.D. Fla. 2022).

       35.     On February 6,2025, Perkins Coie filed a lawsuit, Shillingv. Trump, No. 2:25-cv-

241 (W.D. Wash.), on behalf of Commander Emily Shilling, Commander Blake Dremann,

Lieutenant Commander Geirid Morgan, Sergeant First Class Cathrine Schmid, Sergeant First

Class Jane Doe, Staff Sergeant Videl Leins, Matthew Medina, and the Gender Justice League


2
  The case where Perkins Coie's client did not prevail involved a challenge to the deadline-
November 9 versus November l2-to confirm the identities of first-time voters who voted by mail
in Pennsylvania.
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page111
                                                                  17 of
                                                                     of 297
                                                                        52




challenging an executive order by President Trump targeting transgender servicemembers. The

lawsuit challenges the Executive Order as a violation of Plaintiffs' First Amendment, due process,

and equal protection rights. Perkins Coie represents the plaintiffs on a pro bono basis as co-

counsel, along with LarnbdaLegal and the Human Rights Campaign. On February 19,2025,

Perkins Coie, on behalf of its clients, filed a motion for a preliminary injunction asking the court

to bar implementation of the executive order until it could adjudicate the case. The court entered

a preliminary injunction on March 27,2025. Shilling, No. 2:25-cv-241, ECF Dkt. No. 103 (W.D.


Wash.). On January 28,2025, a group of plaintiffs filed an earlier parallel lawsuit challenging

Executive Order 14185. Talbott v. Trump, No. 25-cv-240,Dkt.1 (D.D.C.). Perkins Coie does not

represent those individuals and, beyond monitoring, is not otherwise involved in that litigation.

E.      Security Clearances Held by Perkins Coie Personnel

        36.     At the time of the March 6 Order, our records showed that approximately twenty-

four Perkins Coie lawyers and business professionals held security clearances. These individuals

include a dozen persons with former military or other public selice backgrounds, granted access

to sensitive information by virtue of their commitment to public selice. These individuals also

include and overlap with persons whose access to sensitive information has been granted in the

context of their fulfilling their obligations as lawyers to represent their clients.

        37.     Of the twenty-four security clearance holders, twenty-one received clearance from

the Department of Defense and the other three received clearance from the Department of Justice

and Federal Bureau of Investigation.

        38.     Nine of the security clearance holders received their clearance prior to being hired

by Perkins Coie. Two of those individuals hold clearances in connection with their duties as
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page112
                                                                  18 of
                                                                     of 297
                                                                        52




military reservists, and wholly unrelated to their work at Perkins Coie. Four of the twenty-four

individuals with security clearances are non-attorneys.

           39.   One partner received a security clearance on February 72, 2025, after President

Trump's inauguration and approximately three weeks before the Executive Order issued. The

"Adjudication History" in the Defense Information System for Security (DISS) for the partner

reflected "                                       with a determination of Favorable bv DoD CAS

on2025/02112." (emphasis in original). See Ex. 5. All of the factual conclusions recited in Section

1 of the Executive Order occurred before that partner received this security clearance.


           40.   Ten of the security clearance holders were hired at Perkins Coie after the 2016

election.

           4I.   Nineteen of the security clearance holders had no involvement in any of the matters

referenced in the Order or the Fact Sheet. Of the five that did, the security clearances they held

were unrelated to their work on those matters. No security clearance holder had any involvement

in the Fusion GPS matter. No security clearance holder has any involvement with the Shilling

matter. None of the security clearance holders is a primary member of the Political Law Group.

           42.   Perkins Coie previously (but no longer) maintained a secure area with a low

classification level, namely a secure working environment, but that secure area was closed prior

to the issuance of the Order. As described below, Perkins Coie has never maintained a Sensitive

Compartmented Information Facility (SCIF) and has no record of FBI agents working out of its

offices.

F.         Irreparable Harm Caused by the Order and Its Enforcement

           43.   On March 6,2025, President Donald J. Trump signed the Executive Order 14230

titled "Addressing Risks from Perkins Coie LLP." See https://www.whitehouse.gov/presidential-
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page113
                                                                 19 of
                                                                    of 297
                                                                       52




actions/2025103/addressine-risks-ftom-perkins-coie-llp/     (90 Fed. Reg. 11,781) (the "Order"). The

Order was accompanied by a "Fact Sheet" issued the same day that purports to explain and support

the Order. Perkins Coie was given no notice of, nor an opportunity to respond to, the false charges

in the Order and Fact Sheet or to explain their inevitable impact on the firm before they were

issued, and no effort was made to alter the Order or Fact Sheet after our TRO pleadings pointed

out many fundamental (and still unrebutted) errors. Numerous bar groups, law schools, law firms,

and lawyers have spoken out against the Executive Order's plain unconstitutionality.

        44.     We of course are constrained under Rule 1.6 of the Model Rules of Professional

Conduct and attomey-client privilege, but we can report general facts and facts known to the

government. The day after the Executive Order, an official of a federal agency informed a client

of Perkins Coie that, because of the Order, the client's Perkins Coie lawyers should not attend a

scheduled meeting with an office in that agency to discuss a pending matter. The client had

engaged Perkins Coie to defend that client in that enforcement action, and Perkins Coie performed

substantial work on the matter, totaling over $1 million in fees, and interacted with the agency on

this matter in the interim. The client, after expressing great reluctance and regret, said it was forced

to hire other law firms to represent it before the federal govefirment and in related litigation.

        45.     On March 6,2025, an attorney in the Fraud Section of the Criminal Division of the

U.S. Department of Justice, informed Perkins Coie that the Fraud Section of the Criminal Division

could not proceed with a previously set meeting relating to another Perkins Coie client, citing the

need to wait for further guidance on whether that meeting could even occur in light of the Order.

SeeEx.6.

        46.     It is inconceivable that the Order could constitutionally ban Perkins Coie's access

to federal courthouses, but because it might be interpreted to do so, the firm has already been
   Case
    Case1:25-cv-00917-RJL
         1:25-cv-00716-BAH Document
                            Document16-4
                                     39-3 Filed
                                           Filed04/08/25
                                                 04/02/25 Page
                                                           Page114
                                                                20 of
                                                                   of 297
                                                                      52




forced to incur additional costs in securing backup personnel to attend impending hearings.

Perkins Coie will continue incurring such harm if the Order's enforcement is not permanently

enjoined because Perkins Coie attorneys have numerous upcoming appearances before federal

courts and agencies. Indeed, Perkins Coie has nearly a thousand active matters before federal

courts, and has thousands of matters before agencies that require access to federal government

buildings and officials. Refusals by federal officials to meet with Perkins Coie lawyers, or to

permit Perkins Coie lawyers to access federal agencies and buildings, would be devastating to both

Perkins Coie's legal practice and its clients' interests. Even the threat of such lack of access is

surely deterring potential new clients and existing clients from retaining the firm for new matters.

       47.     Similarly, the Order also includes provisions that would require federal agencies to

require government contractors to disclose any relationship they have with Perkins Coie, and to

terminate government contracts for clients as to which Perkins Coie has been hired to perform any

service. Many of Perkins Coie's largest clients (for instance, the top 15 clients, collectively

representing over $343 million in revenue in2024, which represents almost a quarter of the firm's

revenue) or their affiliates have contracts or subcontracts with the federal government, or compete

for such contracts, and many of those companies are represented by the firm for legal matters

completely unrelated to government-contracting matters. See supra fl 23. For many of the firm's

clients, the fact that the firm gives them legal advice is not public information, and the importance

of confidentiality is a reason for attorney-client privilege and Rule 1.6. Accordingly, if enforced,

the Order would seek to require many of these clients to divulge confidential information regarding

their legal representations to the federal govemment, in addition to risking the termination of those

clients' contracts if Perkins Coie has been hired to perform any service related to the contract.
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page115
                                                                 21 of
                                                                    of 297
                                                                       52




        48.    Due to the restrictions that the Order imposes on Perkins Coie, and the provisions

directed to the firm's federal contractor clients, several clients have already terminated, or have

communicated that they are considering terminating, their legal engagements with Perkins Coie.

We are in frequent contact with many of our clients, and since the Order, have been in contact with

at least our larger clients every day. The common message is that they want to keep using us but

are reviewing the relationship, their govemment contracts and other government interactions, and

will need to make decisions shortly. This is a rapidly evolving situation, which changes by the

hour. Prior to the TRO, for example, some clients have reported very concerning messages from

goveffrment officials directing them to report business with Perkins Coie, and others are concemed

about that possibility, including:

           a. A seven-year client with seven open matters informed Perkins Coie on March 6,
                2025, within hours of the Order's release, that due to the Order, Perkins Coie cannot

               represent that client in any litigation or before the relevant federal agency.

           b. A major government contractor that has been a firm client for over 35 years
               reassigned two matters to other law firms on March 7,2025.

           c. A government contractor that has been a firm client since 2018 withdrew all work
               from Perkins Coie as a result of the Order as of March 1,2025.

           d. A coalition of four clients had also withdrawn all coalition work from Perkins Coie
               as of March 7,2025 due to the need of the clients to engage with various federal

               agencies-including the DEA, DOJ, and HHS-by the nature of their business.

           e. A major government contractor that has been a firm client since 2021with fifteen
               open matters informed the firm on March 7, 2025 that it is reconsidering its
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page116
                                                                 22 of
                                                                    of 297
                                                                       52




                 engagements with Perkins Coie unless something changes in terms of the Order's

                 requirements.

             f. Another client indicated on March 7, 2025 that it is now, in view of the Order,
                 considering other firms instead to represent it in connection with a DOJ

                 investigation.

             g. On March 77, 2025, a longtime client of the firm that had increased its work five-
                 fold over the past three years and had 30 open matters started to reconsider whether

                 to terminate every engagement with Perkins Coie.

            h. Because of the uncertainty created by the Order, and even after the entry of the
                 TRO, many clients have begun requesting frequent updates relating to the Order in

                 order to assess whether Perkins Coie can continue to represent them.

        49.      The abrupt loss of so many longstanding and significant clients across a variety of

business types and practice disciplines in a one-week period is exceptional and abnormal. The

common denominator among these clients is that each one terminated or began reconsidering its

engagements in the immediate aftermath of the Order's issuance. While the TRO stemmed some

of those consequences, a pennanent injunction is necessary to prevent them from resuming and

intensifluing.

        50.      Perkins Coie has already lost significant revenue due to the loss of clients who

terminated their engagernents in the few days since the Order was issued. And the firm has lost

out on new work frorn clients who were considering engaging the firm, but chose not to move

forward with Perkins Coie after issuance of the Executive Order. Like any law firm or business,

Perkins Coie has debts, obligations and expenses. If the Order were to continue and thus cause

current clients to terminate their engagements, and frighten away prospective new clients, it would
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page117
                                                                 23 of
                                                                    of 297
                                                                       52




put the firm's solvency and very existence at risk. For instance, if we lost our top 15 clients-each

of whom is a government contractor or a corporate affiliate of one, each of whom we believe is at

risk accordingly-the revenue loss would be devastating because this group alone represented

about a quarter of our revenue in 2024. If the Order is allowed to prevent Perkins Coie from

interacting with federal agencies or entering federal buildings on behalf of its clients, it would pose

an existential risk. The firm is built around representation of clients who interact with the federal

govefilment. We take pride in the loyalty of our partners and associates, but lawyers of their

quality have other opportunities, including the easy one of following their clients to other firms.

Exceptional lawyers are the basis for our reputation and our success.

        51.      The Orderhas also had a chilling effect on Perkins Coie attorneys, who are now

reconsidering how they approach certain matters that require them to appear in federal buildings.

        52.      The Order also threatens Perkins Coie attorneys' right to practice their chosen

profession. That threat is not only to revenue-generating practice, but also to the firm's pro bono

practice, which frequently requires us to appear in federal court or before federal agencies in

criminal, civil, or administrative matters. It is not even clear if TSA officers can process us at

airports.

        53.      The Order has also impacted Perkins Coie's recruiting and, potentially, retention of

our personnel. Since the issuance of the Order, we have had business professional candidates who

have been extended offers question the economic health of the firm and ask if there will be layoffs.

One interviewee asked one of the firm's recruiters questions that the recruiter understood to be

precipitated by the Order. The threat to the Firm's recruitment efforts poses severe consequences

for the health of the firm. Its potential for growth as a business depends on its ability to draw and

retain top talent.
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page118
                                                                 24 of
                                                                    of 297
                                                                       52




        54.    The Order increases the potential that Perkins Coie lawyers will leave the firm for

other opportunities in order to preserve their relationships with clients that have government

contracts.

        55.    The Order also interferes with Perkins Coie's employer-employee relationships

because the restrictions are broadly written to include Perkins Coie business personnel.

        56.    The firm currently faces considerable uncertainty regarding which aspects of its

D&I activities and advocacy will result in adverse consequences, even in the face of injunctive

relief. The Executive Order appears to be a command to purge all references to or support of

diversity and inclusion in the workplace. The risks and uncertainty stemming from this Order have

resulted in pausing or pulling back on certain programs and some statements in support of D&I

and the implementation of D&I initiatives. The affected conduct is lawful and consistent with

EEOC guidance at the time those actions were taken.

        57.    For example, press releases and stories more than six months old, including those

touting the firm's D&I advocacy, were already removed from the firm's website (but have been

preserved). Perkins Coie has reassessed and is reassessing other statements and references to its

pro bono and D&I advocacy on its website. The firm similarly has reassessed and is reassessing

statements and references to its D&I advocacy in various advertisements and program brochures,

including considering removal of the following: (1) the phrase "Diversity is Excellence" in an

advertisement; (2) the statement that Perkins Coie is "proud to support" an organization's

"commitment to inclusivity and empowerment of diverse communities," in a program brochure

for an event the firm is sponsoring; and (3) the phrase "Investing in diversity and inclusion is smart

business and helps drive our pursuit of excellence," in a program brochure.
     Case
      Case1:25-cv-00917-RJL
           1:25-cv-00716-BAH Document
                              Document16-4
                                       39-3 Filed
                                             Filed04/08/25
                                                   04/02/25 Page
                                                             Page119
                                                                  25 of
                                                                     of 297
                                                                        52




        58.      The Order has done more than irnpact the finn's messaging on D&I. It has chilled

Perkins Coie's diversity-related programs, not because cefiain measures are required by law, but

because of the need to protect the firm from extralegal pressure. For instance, the Order has

interfered with Perkins Coie's ability to offer fellowships to potential new hires, even though those

fellowships are open to all applicants. Perkins Coie has postponed a showing of a movie regarding

Lilly Ledbetter, sex discrimination and the Fair Pay Act. The firm is considering whether and how

it can or should respond to questions from clients and prospective clients regarding the
demographics of the firm or its lawyers. The Perkins Coie Women's Forum was concerned that

an internal event for first-time attendees to the firm's partner planning conference could be targeted


as impermissible, even though it was open to all conference attendees, because a resource group

was hosting the event, but decided to proceed with the event notwithstanding the uncertainty. And

firm personnel were even unsure whether they can have a reference to "DE&I" in their email

signature block. In short, Perkins Coie is committed to complying with the law as it evolves over

time. But Section 4 of the Executive Order is both unclear and overbroad, far broader than any

change in the law to date. Consequently, it interferes with speech, and tries to intimidate and

distort the firm's advice to clients.

G.      False and Disparaging Statements in the Order

        59.     The Order has also harmed Perkins Coie's reputation in the markets for clients,

lawyers, and staff through its false and disparaging characteizations of the firm and its attorneys,

such as its statement that Perkins Coie is "dishonest and dangerous." Such stigma threatens graye,

mutually-reinforcing consequences, as the Firm's reputation affects its ability to attract clients,

and its ability to attract clients in tum supports its reputation as a top law firm.
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page120
                                                                 26 of
                                                                    of 297
                                                                       52




       60.     The Order says many things that are not only inflammatory but also blatantly false.

Most of the allegations were known during the President's first term, and have been (and in many

cases were) adjudicated and dismissed long ago. For example, the Order accuses Perkins Coie of

working to "stsal an election," of "undermining democratic elections, the integrity of our courts,

and honest law enforcement," and of "racially discriminatfing] against its own attorneys and staff,

and against applicants," including through "percentage quotas" and "proudly exclud[ing]

applicants on the basis of race." And it accuses Perkins Coie of "earnings" that "subsidize, among

other things, racial discrimination, falsified documents designed to weaponize the Govemment

against candidates for office, and anti-democratic election changes that invite fraud and distrust."

Those accusations are just plain false and most have already been rebutted through the results of

prior cases. The Order also references "Fusion GPS" in connection with representation of Hillary

Clinton. Though Marc Elias and others at Perkins Coie represented Hillary Clinton in connection

with her presidential campaign, no attomey employed at Perkins Coie for at least the last three

years had anything to do with the engagement of Fusion GPS.

       61.     The Fact Sheet also lists accusations against Perkins Coie. Those descriptions are

inflammatory and baseless. Among other false statements, the Fact Sheet wrongly states:

           a. "Perkins Coie LLP pushed debunked claims of secret Trump-Russia
               communications via Alfa Bank, with attorney Michael Sussmann indicted for lying

               to the FBI about this scheme." A jury unanimously acquitted Mr. Sussmann. The

               Fact Sheet also omits that no one else was involved and that Mr. Sussmann left the

               firm in 2021.

           b. "Perkins Coie LLP has worked with activist donors, including George Soros, to
               judicially ovefiurn enacted election laws, such as those requiring voter
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page121
                                                             27 of
                                                                of 297
                                                                   52




        identification." Perkins Coie has historically represented both party-affiliated and

        non-partisan clients in litigation over election laws. Many law firms have done the

        same. None of Perkins Coie's election-related litigation was frivolous. Indeed,

        more than half of the litigation was successful after both sides had fulI due process.

        And much of it was defending state election procedures and actions taken by state

        officials.

     c. "A court was forced to sanction Perkins Coie attomeys for unethical lack of candor
        before the court." The Fact Sheet alludes to one minor sanction, collectively,

        $8,700, corurected with a single duplicative motion to supplement the record in a

        Fifth Circuit appeal in a 2021 voting-rights case in violation of a local rule. See

        Tex. All. .for Retired Ams. v. Hughs, No. 20-40643 (5th Cir. Jun. 30, 2021), Dkt.

        No. 127-1. None of the three sanctioned attorneys remains at Perkins Coie. It is

        extremely rare for any of our lawyers to be sanctioned, and we take such matters

        very seriously. This was not a lack of candor.

     d. 'oPerkins Coie LLP hosted an FBI workspace, raising concerns about partisan
        misuse of sensitive data during investigations targeting President Trump." The

        "FBI workspace" rumor was long ago debunked. Perkins Coie did not host an "FBI

        workspace." Rather, like many law firms who represent clients involved in

        national-security issues, the finn wanted to protect national security and thus was

        permitted to install, at its own expense, a single-room Secure Work Environment

        (SWE) when it moved to new offices. The FBI's only involvement was examining

        and approving the security of the space. Perkins Coie no longer has a SWE, and

        the SWE was never an "FBI workspace."
    Case
     Case1:25-cv-00917-RJL
          1:25-cv-00716-BAH Document
                             Document16-4
                                      39-3 Filed
                                            Filed04/08/25
                                                  04/02/25 Page
                                                            Page122
                                                                 28 of
                                                                    of 297
                                                                       52




           e. "Perkins Coie LLP has filed lawsuits against the Trump Administration, including
               one designed to reduce military readiness." This statement impugns Perkins Coie

               for the political and legal positions taken by some of its clients in lawful litigation.

               Specifically, this statement refers to Shilling v. Trump, the pro bono lawsuit

               described earlier representing plaintiffs challenging an executive order by President

               Trump affecting transgender servicemembers despite their love of country and

               equal ability to contribute to military readiness.

                                                *{<*

       62.     I declare under penalty of perjury, on this 2nd day of April, 2025, that the foregoing

is true and correct to the best of my knowledge, information and belief.




                                                       D        J. BURMAN
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page123
                                                             29 of
                                                                of 297
                                                                   52




                    EXHIBIT 1
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page124
                                                             30 of
                                                                of 297
                                                                   52
4/1/25, 1:47 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page125
                                                                                            31 of
                                                                                               of 297
                                                                                                  52




        We are intentional and consistent in our efforts to increase the diversity of our workforce and to
        advance the values of diversity and inclusion in the legal profession. Diversity and inclusion are
        key to our culture, our values, and our business strategy. They are fundamental to the way we
        connect with and serve our clients.
        As we consider the Supreme Court decision limiting the consideration of race in university
        admissions, we re-affirm our commitment to building a more diverse and inclusive workplace
        and legal profession. Our methods for fulfilling that commitment may evolve over time as the
        legal landscape changes; our commitment will remain steadfast.


        Objectives
        - Engaging firm leadership in proactive diversity and inclusion
        - Investing in the diversity pipeline
        - Developing programs to address internal and external priorities
https://perkinscoie.com/diversityinclusion                                                                   2/8
                   Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3       Filed
                                                                   Filed  04/08/25
                                                                            04/02/25  Page
                                                                                       Page126
                                                                                            32 of
                                                                                               of 297
                                                                                                  52
        - Measuring and monitoring our progress and success
4/1/25, 1:47 PM                                  Diversity & Inclusion | Perkins Coie




        Strategic Diversity & Inclusion Committee
        Established in 2006, the Strategic Diversity & Inclusion Committee (SDC) develops firmwide
        diversity strategies and policies which are used to guide the implementation of existing
        programs and the creation of new strategic diversity initiatives, with a strong focus on
        recruitment, retention, promotion and community.


        Local Diversity Committees
        We have also established Local Diversity Committees in each office that work to develop
        programming and initiatives designed to address the unique needs of their office and
        communities.


        Resource groups
        Resource groups are a key to the success of diversity and inclusion at the firm. Our resource
        groups develop educational programming, assist with business and professional development
        opportunities, maintain relationships with national minority bar associations and foster
        community. The resource groups are important sources of support, development and
        networking for our diverse lawyers. Below is a list of our resource groups.



        Our Structure
        Our commitment to diversity and inclusion is a goal shared collectively throughout the firm,
        which is why we have created a committee structure that allows all stakeholders to participate.




https://perkinscoie.com/diversityinclusion                                                                3/8
4/1/25, 1:47 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page127
                                                                                            33 of
                                                                                               of 297
                                                                                                  52




               Resource Groups

                  African American/Black Lawyers

                  Asian Pacific Islander Lawyers

                  Latinx Lawyers

                  Lawyers with Disabilities


https://perkinscoie.com/diversityinclusion                                                              4/8
4/1/25, 1:47 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page128
                                                                                            34 of
                                                                                               of 297
                                                                                                  52


                  Lesbian, Gay, Bisexual and Transgender (LGBTQ+) Lawyers

                  Native American Lawyers

                  Parents and Caregivers

                  South Asian/Middle Eastern Lawyers

                  Veterans

                  Women’s Forum

                  Women of Color




        Awards
        - Awarded
          2024
                   Mansfield 7.0 Certification Plus for Diversity Leadership from Diversity Lab, 2022-


        - Named   among the "Best Law Firms for Women" by Working Mother/Flex-Time Lawyers,
          2008, 2009, 2011-2022

        - Received  a score of 100% in the Corporate Equality Index and designation as one of the
          "Best Places to Work" from the Human Rights Campaign Foundation (the educational arm of
           the nation’s largest advocacy group for LGBT Americans), 2009-2025

        - Ranked  among ChIPs Honor Roll Firms for gender diversity in Intellectual Property practices
          in the 2021 Inclusion Blueprint Survey, a joint initiative between ChIPs and Diversity Lab




        Partnerships and Sponsorships

https://perkinscoie.com/diversityinclusion                                                               5/8
                   Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3       Filed
                                                                   Filed  04/08/25
                                                                            04/02/25  Page
                                                                                       Page129
                                                                                            35 of
                                                                                               of 297
                                                                                                  52
        - Leadership Council on Legal Diversity
4/1/25, 1:47 PM                                  Diversity & Inclusion | Perkins Coie




        - Corporate Counsel Women of Color
        - Charting Your Own Course
        - Diversity & Flexibility Alliance
        - Hispanic National Bar Association
        - Just the Beginning Foundation’s Summer Legal Institute
        - LAMBDA Legal National Sponsorships
        - Minority Corporate Counsel Association
        - National Asian Pacific American Bar Association
        - National Bar Association
        - National Black Law Students Association
        - LGBTQ+ Bar Association Lavender Law Conference & Career Fair
        - National Native American Law Students Association
        - North American South Asian Bar Association
        - Out and Equal Workplace Summit
        - Practicing Attorneys for Law Students Program, Inc.
        For questions, please contact Diversity&Inclusion@perkinscoie.com.




        People
                                                             Impact
        Industries
                                                             Careers
        Services
                                                             Job Openings
        Locations
https://perkinscoie.com/diversityinclusion                                                              6/8
4/1/25, 1:47 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page130
                                                                                            36 of
                                                                                               of 297
                                                                                                  52
        Perkins Coie Trust Company                           The Public Company Handbook

        Client Advantage                                     Subscribe to Mailing Lists

        中文网站                                                 AI & Machine Learning

        Alumni                                               Corporate Law

        Blogs                                                Energy Infrastructure & Clean Technology

        Client Updates                                       Environment, Energy & Resources Law

        Podcasts                                             Intellectual Property Law

        Publications                                         Labor & Employment Law

        News Room                                            Litigation

        California Land Use &                                Privacy & Security Law
        Development Law Report
                                                             Private Client Services
        Security Breach Notification Chart
                                                             Real Estate & Land Use
        Perkins on Privacy
                                                             Technology Transactions & Privacy Law
        Public Chatter
                                                             Pay Invoice




        Terms of Use                                         Transparency in Coverage

        Privacy Policy                                       UK Legal Notice

        Legal Disclaimer                                     Lawyer Advertising




https://perkinscoie.com/diversityinclusion                                                              7/8
4/1/25, 1:47 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page131
                                                                                            37 of
                                                                                               of 297
                                                                                                  52
        © 2025 Perkins Coie LLP




https://perkinscoie.com/diversityinclusion                                                              8/8
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page132
                                                             38 of
                                                                of 297
                                                                   52




                    EXHIBIT 2
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page133
                                                             39 of
                                                                of 297
                                                                   52
4/1/25, 1:48 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page134
                                                                                            40 of
                                                                                               of 297
                                                                                                  52




        Our firm culture is built on collaboration and mutual respect. Once an attorney becomes part of
        our community, we want them to feel welcome and prepared to participate at every level of
        engagement necessary for success. This is why the firm supports inclusive resource groups
        for women, lesbian, gay, bisexual and transgender attorneys, lawyers with disabilities,
        veterans, parents, caregivers, and lawyers of color (African American/Black, Latinx, Asian
        American/Pacific Islander and South Asian/Middle Eastern). In order to increase the diversity of
        backgrounds, experiences and perspectives within the firm, these resource groups offer
        opportunities for fellowship, support and networking. In addition, local office diversity
        committees offer programs and events that respond to the specific and unique needs of their
        communities, while the firm as a whole also hosts national programs and retreats aimed at
        providing all attorneys with the information and tools they need to succeed.


        Recruitment Activities & Programs
        Our recruitment efforts include building supportive relationships with organizations, hosting job
        fairs, and offering programs designed to educate and expose students to the legal profession.


https://perkinscoie.com/diversityinclusion                                                                  2/6
4/1/25, 1:48 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page135
                                                                                            41 of
                                                                                               of 297
                                                                                                  52

        Diversity & Inclusion Fellowship Program


          Overview
          At Perkins Coie, we foster a diverse and inclusive community where opportunities to succeed
          are available to all. Embracing diversity allows us to draw from different backgrounds and
          experiences, enabling us to attract the best talent to our ranks, and in turn build strong teams
          that provide excellent service to our clients. We are committed to creating an environment in
          which all our people thrive because they feel a sense of belonging.
          We are proud to offer our Diversity & Inclusion Fellowship Program as part of our
          comprehensive, firmwide commitment to advancing diversity, equity, and inclusion.
          Our Diversity & Inclusion Fellows are full participants in our summer associate program and
          must spend the first 10 weeks of their summer(s) with Perkins Coie. In addition to receiving a
          summer associate salary, Fellows will also receive a $15,000 stipend at the conclusion of
          their first-year summer Fellows who return as 2Ls will receive a $15 000 stipend at the
          Application Process and Criteria
          All students who are in good standing in their first year at an ABA-accredited law school are
          eligible to apply for the Diversity & Inclusion Fellowship Program. Perkins Coie is an Equal
          Opportunity Employer and welcomes applications for the Diversity & Inclusion Fellowship
          Program from all eligible applicants regardless of race, color, religion, sex, age, national
          origin, veteran status, sexual orientation, gender identity / gender expression, disability
          status, or any other identity.
          A complete application must include:

          - Current resume.
          - Cover letter.
          - Undergraduate and law school transcripts (unofficial versions are acceptable).
          - A legal writing sample (10-page maximum).
          - Anarrative
               personal statement (one-page, single-spaced). The personal statement should be a
                       describing your academic, professional, and life experiences and, where
             relevant, identifying connections between those experiences and the broader goal of
             advancing diversity, equity, and inclusion in the legal profession.
          We evaluate all applications for the fellowship and consider the following factors:

https://perkinscoie.com/diversityinclusion                                                                   3/6
                   Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3       Filed
                                                                   Filed  04/08/25
                                                                            04/02/25  Page
                                                                                       Page136
                                                                                            42 of
                                                                                               of 297
                                                                                                  52
          - Academic
4/1/25, 1:48 PM                                  Diversity & Inclusion | Perkins Coie

                       Achievement – A demonstrated record of academic achievement and excellent
            writing and interpersonal skills, as well as experience that will contribute to a successful
             career in the legal field.

          - the
            DEI Leadership – Engagement in efforts to advance diversity, equity, and inclusion within
                community and/or legal profession, including during college or law school.




        Retention Programs and Activities
        Perkins Coie recognizes the importance of retention in advancing diversity and inclusion, and
        we work diligently to invest in the success of our lawyers across the firm. Our retreats are an
        important retention tool that provide our attorneys opportunities to strengthen relationships
        with one another and our clients in a professional development setting.




https://perkinscoie.com/diversityinclusion                                                                 4/6
4/1/25, 1:48 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page137
                                                                                            43 of
                                                                                               of 297
                                                                                                  52
        All Women Lawyers Retreat
        The retreat serves as an opportunity for participants to network with other attorneys from all
        levels, offices and practice groups within the firm, and to share best practices on navigating
        the law firm culture. The presentations and events offered at this two-day retreat provide the
        participants with various tools to help advance their career.


        Lawyers of Color/LGBTQ+/Lawyers with Disabilities and Veterans Retreats
        These retreats bring together many of the firm's attorneys to discuss, embrace, and celebrate
        diversity and allyship in an inviting environment. Many of the retreat’s sessions and
        presentations are open to attorneys of all levels, with tracks specific to the programming that
        coincides with where the attorney currently is in their career. This distinction allows for time
        focused on professional and business development skills particular to the career stage of the
        attorneys. In addition to the networking opportunities provided at different presentations and
        mixers, attendees also have the opportunity to meet other lawyers in their specific practice
        groups and create new and build upon existing relationships.




        People                                               中文网站

        Industries                                           Alumni

        Services                                             Blogs

        Locations                                            Client Updates

        Impact                                               Podcasts

        Careers                                              Publications

        Job Openings                                         News Room

        Perkins Coie Trust Company                           California Land Use &
                                                             Development Law Report
        Client Advantage

https://perkinscoie.com/diversityinclusion                                                                 5/6
4/1/25, 1:48 PM    Case
                    Case1:25-cv-00917-RJL
                         1:25-cv-00716-BAH Document
                                            Document16-4
                                                      39-3
                                                 Diversity       Filed
                                                                   Filed
                                                           & Inclusion    04/08/25
                                                                            04/02/25
                                                                       | Perkins Coie Page
                                                                                       Page138
                                                                                            44 of
                                                                                               of 297
                                                                                                  52
        Security Breach Notification Chart
                                                             Intellectual Property Law
        Perkins on Privacy
                                                             Labor & Employment Law
        Public Chatter
                                                             Litigation
        The Public Company Handbook
                                                             Privacy & Security Law
        Subscribe to Mailing Lists
                                                             Private Client Services
        AI & Machine Learning
                                                             Real Estate & Land Use
        Corporate Law
                                                             Technology Transactions & Privacy Law
        Energy Infrastructure & Clean Technology
                                                             Pay Invoice
        Environment, Energy & Resources Law




        Terms of Use                                         Transparency in Coverage

        Privacy Policy                                       UK Legal Notice

        Legal Disclaimer                                     Lawyer Advertising



        © 2025 Perkins Coie LLP




https://perkinscoie.com/diversityinclusion                                                              6/6
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page139
                                                             45 of
                                                                of 297
                                                                   52




                    EXHIBIT 3
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page140
                                                             46 of
                                                                of 297
                                                                   52
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page141
                                                             47 of
                                                                of 297
                                                                   52




                    EXHIBIT 4
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page142
                                                             48 of
                                                                of 297
                                                                   52
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page143
                                                             49 of
                                                                of 297
                                                                   52




                    EXHIBIT 5
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page144
                                                             50 of
                                                                of 297
                                                                   52
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page145
                                                             51 of
                                                                of 297
                                                                   52




                    EXHIBIT 6
Case
 Case1:25-cv-00917-RJL
      1:25-cv-00716-BAH Document
                         Document16-4
                                  39-3 Filed
                                        Filed04/08/25
                                              04/02/25 Page
                                                        Page146
                                                             52 of
                                                                of 297
                                                                   52
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 147 of 297




             EXHIBIT 21
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 148 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 149 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 150 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 151 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 152 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 153 of 297




             EXHIBIT 22
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 154 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 155 of 297




             EXHIBIT 23
Case
  Case
     2:19-cr-00120-MEF
        1:25-cv-00917-RJL Document
                            Document
                                   1012-1
                                      16-4               Filed
                                                         Filed 03/19/25
                                                               04/08/25      Page
                                                                             Page 1156
                                                                                    of 4ofPageID:
                                                                                           297
                                    33847



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                                      Crim. No. 19-120 (MEF)
                     v.
                                                       MEMORANDUM IN SUPPORT OF
GORDON J. COBURN and                                    MOTION TO WITHDRAW AS
STEVEN SCHWARTZ,                                        COUNSEL FOR DEFENDANT
                             Defendants.                  STEVEN SCHWARTZ


               Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”) respectfully

submits this motion to withdraw as counsel for Defendant Steven Schwartz. This motion is based

on Mr. Schwartz’s decision to terminate Paul, Weiss as his counsel, which is in turn based on

President Donald J. Trump’s issuance of his March 14, 2025 Executive Order titled “Addressing

Risks from Paul Weiss.” For reasons set forth below, the motion should be granted.

                                  FACTUAL BACKGROUND

               Mr. Schwartz retained Paul, Weiss to represent him in this matter on July 3, 2018.

The government filed the Indictment against him in this action approximately seven months later,

on February 14, 2019. ECF No. 1. For the last six years, Paul, Weiss has served as lead counsel

of record for Mr. Schwartz. ECF No. 9. Bohrer PLLC and Gibbons P.C. entered appearances for

Mr. Schwartz on April 22, 2019 and October 8, 2019, respectively. ECF Nos. 25, 51. Throughout,

and particularly with respect to the forthcoming trial, Paul, Weiss has acted as lead trial counsel.

               On February 10, 2025, the President of the United States issued an Executive Order

titled “Pausing Foreign Corrupt Practices Act Enforcement to Further American Economic and

National Security.” Exec. Order No. 14209, 90 Fed. Reg. 9587 (Feb. 10, 2025) (the “February 10

Executive Order”). The February 10 Executive Order, among other things, directs the Attorney

General to “review in detail all existing FCPA investigations or enforcement actions and take
Case
  Case
     2:19-cr-00120-MEF
        1:25-cv-00917-RJL Document
                            Document
                                   1012-1
                                      16-4               Filed
                                                         Filed 03/19/25
                                                               04/08/25      Page
                                                                             Page 2157
                                                                                    of 4ofPageID:
                                                                                           297
                                    33848



appropriate action with respect to such matters to restore proper bounds on FCPA enforcement.”

Id. § 2(a)(ii). The February 10 Executive Order also directs the Attorney General to “determine

whether additional actions, including remedial measures with respect to inappropriate past FCPA

investigations and enforcement actions, are warranted and [to] take any such appropriate actions.”

Id. § 2(d). The review directed by the Executive Order is currently underway, and counsel for the

defendants expect to participate in that process.

               On March 14, 2025, the President of the United States issued an Executive Order

titled “Addressing Risks from Paul Weiss.” Exec. Order No. __, 90 Fed. Reg. __ (Mar. 14, 2025)

(the “March 14 Executive Order”). The March 14 Executive Order provides, among other things,

that “[t]he heads of all agencies shall, to the extent permitted by law, provide guidance limiting

official access from Federal Government buildings to employees of Paul Weiss when such access

would threaten the national security of or otherwise be inconsistent with the interests of the United

States. In addition, the heads of all agencies shall provide guidance limiting Government

employees acting in their official capacity from engaging with Paul Weiss employees to ensure

consistency with the national security and other interests of the United States.” Id. § 5(a).

                                  REQUEST TO WITHDRAW

               In response to the March 14 Executive Order, Mr. Schwartz terminated Paul,

Weiss’s representation of him and instructed Paul, Weiss to file this motion.

               The New Jersey Rules of Professional Conduct provide that a lawyer “shall

withdraw from the representation of a client if . . . the lawyer is discharged.” N.J. R.P.C.

1.16(a)(3); see also U.S. Dist. Ct. for the Dist. of N.J. L. Civ. R. 103.1(a) (providing that federal

practitioners in the District of New Jersey are subject to the New Jersey Rules of Professional

Conduct), L. Cr. R. 1.1 (applying L. Civ. R. 103.1 to criminal cases). A lawyer may also withdraw

for “other good cause.” N.J. R.P.C. 1.16(b)(7).


                                                    2
Case 2:19-cr-00120-MEF
  Case  1:25-cv-00917-RJL Document 1012-1
                            Document  16-4              Filed
                                                        Filed 03/19/25
                                                              04/08/25       Page
                                                                             Page 3158
                                                                                    of 4ofPageID:
                                                                                           297
                                    33849



               Mr. Schwartz’s discharge of Paul, Weiss as his counsel requires that Paul, Weiss

withdraw pursuant to the New Jersey Rules of Professional Conduct. N.J. R.P.C. 1.16(a)(3). In

addition, Mr. Schwartz’s belief that he may be prejudiced by Paul, Weiss’s continued

representation of him in this case constitutes “other good cause” for Paul, Weiss’s motion to

withdraw.

               The Court has adjourned this trial until April 7, 2025 in order to allow the

Department of Justice to complete its review of this FCPA enforcement action pursuant to the

February 10 Executive Order. ECF Nos. 1003, 1011. Mr. Schwartz understands that his counsel

will have an opportunity to engage in advocacy on his behalf as that process is unfolding, and

believes that the March 14 Executive Order affects those efforts.

               In particular, Mr. Schwartz is concerned that the firm’s continued representation of

him may negatively affect his ability to obtain a favorable review of his case, or, due to the

Executive Order, otherwise create potential conflicts of interest as between Mr. Schwartz and Paul,

Weiss, that Mr. Schwartz is not prepared to waive. See March 14 Executive Order § 5(a)

(providing that government attorneys acting in their official capacity may be prevented from

engaging with Paul, Weiss attorneys). Regardless of whether or not the government is permitted

to engage with Paul, Weiss in the ongoing review, Mr. Schwartz is concerned that Paul, Weiss’s

ongoing involvement in the matter could in and of itself prejudice the review of his case.

               Mr. Schwartz is actively seeking replacement trial counsel.




                                                3
Case 2:19-cr-00120-MEF
  Case  1:25-cv-00917-RJL Document 1012-1
                            Document  16-4           Filed
                                                     Filed 03/19/25
                                                           04/08/25     Page
                                                                        Page 4159
                                                                               of 4ofPageID:
                                                                                      297
                                    33850



                                      CONCLUSION

              For the foregoing reasons, Paul, Weiss respectfully requests that the Court grant

this motion to withdraw as counsel for Defendant Steven Schwartz.

Dated: New York, New York
       March 19, 2025

                                           Respectfully submitted,

                                           /s/ Roberto Finzi

                                           Roberto Finzi
                                           PAUL, WEISS, RIFKIND, WHARTON &
                                           GARRISON LLP
                                           1285 Avenue of the Americas
                                           New York, New York 10019-6064
                                           (212) 373-3000
                                           rfinzi@paulweiss.com




                                              4
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 160 of 297




             EXHIBIT 24
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 161 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 162 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 163 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 164 of 297




             EXHIBIT 25
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 165 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 166 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 167 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 168 of 297




             EXHIBIT 26
4/6/25, 12:05 AM   Case 1:25-cv-00917-RJL       Document
                                     Read the Email             16-4 Sent
                                                    Paul Weiss Chairman Filed   04/08/25
                                                                          Staffers               Page
                                                                                   After Trump Deal       169Insider
                                                                                                    - Business of 297


                                                                            AD




                                                                                                                                 Subscribe



%   MSFT    -3.26%   AMZN    -3.03%    META    -4.14%   TSLA     -9.5%      DOW JONES      -5.5%     NASDAQ   -6.07%   S&P 500



                      POLITICS


                      Read the email Paul Weiss Chairman Brad Karp sent
                      to staff after striking a deal with Trump: 'Clients
                      perceived our firm as being persona non grata'
                      By Lauren Edmonds




    Steven
    JumpFerdman
           to   /Getty Images




       Main content                   Mar 23, 2025, 7:44 PM ET                                       Share     Save

       Search
       Account                           Paul Weiss' chairman, Brad Karp, sent an email to employees
                                         on Sunday.

https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                                           1/8
4/6/25, 12:05 AM   Case 1:25-cv-00917-RJL       Document
                                     Read the Email             16-4 Sent
                                                    Paul Weiss Chairman Filed   04/08/25
                                                                          Staffers               Page
                                                                                   After Trump Deal       170Insider
                                                                                                    - Business of 297
                                        The email addressed the firm's deal with President Donald
                                        Trump after an executive order targeted it.

                                        Karp acknowledged that "many" employees were
                                        "uncomfortable" over the resolution.


                                     Paul Weiss' chairman, Brad Karp, knows some employees feel
                                     uneasy about the law firm's deal with the Trump administration.

                                                                            AD




                                     So he sent an email.


                                     Paul Weiss is among several major firms that President Donald
                                     Trump has targeted this month with executive orders over their
                                     diversity, equity, and inclusion policies and political affiliations.
                                     The orders revoked the security clearance of lawyers at Paul
                                     Weiss and called for the review of the firm's government
                                     contracts. The firm is associated with Trump's political rivals,
                                     including the lawyer Mark Pomerantz, who left the firm to join
                                     the Manhattan district attorney's investigation into Trump's
                                     finances.

                                                                            AD




     Jump to


       Main content
       Search
       Account
                                     After the order, uncertainty gripped the law firm, and it began
                                     losing clients. Then, Trump announced on Thursday that he'd

https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                      2/8
4/6/25, 12:05 AM   Case 1:25-cv-00917-RJL       Document
                                     Read the Email             16-4 Sent
                                                    Paul Weiss Chairman Filed   04/08/25
                                                                          Staffers               Page
                                                                                   After Trump Deal       171Insider
                                                                                                    - Business of 297
                                     reached a resolution with Paul Weiss and withdrew the executive
                                     order. The resolution included specific stipulations, including
                                     providing $40 million in pro bono services to the administration.


                                     The deal shocked some in the legal community, which was
                                     alarmed by what some saw as a capitulation by the powerful firm.
                                     Karp attempted to address those concerns in an email to staffers
                                     on Sunday. The email was first reported by the legal publication
                                     Original Jurisdiction. A Paul Weiss representative confirmed the
                                     contents of the email to Business Insider.

                                     Here is a copy of the full email:

                                                                            AD




                                         Subject: Statement to the PW Community
                                         Dear Members of the Paul, Weiss Community,
                                         I wanted to take this opportunity to speak with all of you more
                                         fully about the events of recent days. I know that this has been
                                         a profoundly unsettling time for all of you. Information gaps
                                         have been filled with speculation, concern, and
                                         misinformation, and I wanted to take this opportunity to
                                         address your concerns directly. Thank you for taking the time
                                         to listen.
                                         Late in the evening of Friday, March 14, the President issued
                                         an executive order targeting our firm. Since then, we have been
                                         facing an unprecedented threat to our firm unlike anything
                                         since Samuel Weiss first hung out a shingle in downtown
                                         Manhattan on April 1, 1875—almost exactly 150 years ago.
                                         Only several days ago, our firm faced an existential crisis. The
                                         executive order could easily have destroyed our firm. It
     Jump to                             brought the full weight of the government down on our firm,
                                         our people, and our clients. In particular, it threatened our
       Main content                      clients with the loss of their government contracts, and the loss
       Search                            of access to the government, if they continued to use the firm as
       Account
                                         their lawyers. And in an obvious effort to target all of you as



https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                      3/8
4/6/25, 12:05 AM   Case 1:25-cv-00917-RJL       Document
                                     Read the Email             16-4 Sent
                                                    Paul Weiss Chairman Filed   04/08/25
                                                                          Staffers               Page
                                                                                   After Trump Deal       172Insider
                                                                                                    - Business of 297
                                         well as the firm, it raised the specter that the government
                                         would not hire our employees.
                                         We were hopeful that the legal industry would rally to our side,
                                         even though it had not done so in response to executive orders
                                         targeting other firms. We had tried to persuade other firms to
                                         come out in public support of Covington and Perkins Coie. And
                                         we waited for firms to support us in the wake of the President's
                                         executive order targeting Paul, Weiss. Disappointingly, far
                                         from support, we learned that certain other firms were seeking
                                         to exploit our vulnerabilities by aggressively soliciting our
                                         clients and recruiting our attorneys.
                                         We initially prepared to challenge the executive order in court,
                                         and a team of Paul, Weiss attorneys prepared a lawsuit in the
                                         finest traditions of the firm. But it became clear that, even if we
                                         were successful in initially enjoining the executive order in
                                         litigation, it would not solve the fundamental problem, which
                                         was that clients perceived our firm as being persona non grata
                                         with the Administration. We could prevent the executive order
                                         from taking effect, but we couldn't erase it. Clients had told us
                                         that they were not going to be able to stay with us, even though
                                         they wanted to. It was very likely that our firm would not be
                                         able to survive a protracted dispute with the Administration.
                                         At the same time, we learned that the Administration might be
                                         willing to reach a resolution with us. So, working with our
                                         outside counsel, we did exactly what we advise our clients to do
                                         in "bet the company" litigation every day: we talked with the
                                         Administration to see if we could achieve a lasting settlement
                                         that would not require us to compromise our core values and
                                         fundamental principles.
                                         In a matter of days, we were able to negotiate such a resolution.
                                         That resolution, the terms of which I shared with all of you on
                                         Thursday evening, had three primary components. First, we
                                         reiterated our commitment to viewpoint diversity, including in
                                         recruiting and in the intake of new matters. Second, while
                                         retaining our longstanding commitment to diversity in all of its
                                         forms, we agreed that we would follow the law with respect to
                                         our employment practices. And third, we agreed to commit $10
                                         million per year over the next four years in pro bono time in
                                         three areas in which we are already doing significant work:
                                         assisting our Nation's veterans, countering anti-Semitism, and
                                         promoting the fairness of the justice system.
                                         To be clear, and to clarify misinformation perpetuated from
     Jump to
                                         various media sources, the Administration is not dictating
                                         what matters we take on, approving our matters, or anything
       Main content
                                         like that. We obviously would not, and could not ethically,
       Search
       Account                           have agreed to that. Instead, we have agreed to commit
                                         substantial pro bono resources, in addition to the $130+
                                         million we already commit annually, in areas of shared
https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                      4/8
4/6/25, 12:05 AM   Case 1:25-cv-00917-RJL       Document
                                     Read the Email             16-4 Sent
                                                    Paul Weiss Chairman Filed   04/08/25
                                                                          Staffers               Page
                                                                                   After Trump Deal       173Insider
                                                                                                    - Business of 297
                                         interest. We will continue all of the existing pro bono work we
                                         already do and will continue in our longstanding role as a
                                         leader of the private bar in the pro bono and public interest
                                         sphere.
                                         This existential crisis required the leadership of our law firm to
                                         make incredibly difficult decisions under extraordinary time
                                         pressure. In making those decisions, we were guided by two
                                         fundamental principles. First and foremost, we were guided by
                                         our obligation to protect our clients' interests. As I mentioned
                                         earlier, we concluded that even a victory in litigation would
                                         not be sufficient to do so, because our firm would still be
                                         perceived as persona non grata with the Administration. We
                                         simply could not practice law in the Paul, Weiss way if we were
                                         still subject to the executive order. This resolution was
                                         unambiguously in our clients' best interests.
                                         Equally important, we were guided by our fiduciary duty to all
                                         of you—by our obligation, as stewards of the firm, to protect the
                                         livelihoods of the 2,500 lawyers and non-legal professionals
                                         who work at Paul, Weiss. That consideration—the need to
                                         ensure, above all, that our firm would survive—weighed
                                         extremely heavily on all of us, and especially on me, as the
                                         leader of the firm.
                                         In today's political environment, it is unsurprising that the
                                         announcement that we have negotiated a resolution with the
                                         Administration, rather than fighting it in court, has generated
                                         intense feelings across the firm and indeed across the entire
                                         legal and broader community. As is often the case in situations
                                         like this, the extensive media coverage and social media
                                         commentary surrounding recent events has taken on a life of
                                         its own, with its own factual narrative and its own momentum.
                                         The coverage has been decidedly unhelpful, piecemeal, and
                                         incorrect in many fundamental respects. But it is not
                                         particularly constructive for any of us involved to debate
                                         factual discrepancies. Instead, what is most important is to
                                         look to the future. In this regard, I want to provide some clarity
                                         and perspective as we move forward.
                                         First, and most important, we have quickly solved a seemingly
                                         intractable problem and removed a cloud of uncertainty that
                                         was hanging over our law firm. Our clients have been
                                         overwhelmingly supportive, expressing relief at the resolution
                                         of this situation and the fact that, as the President publicly has
                                         acknowledged, our firm now has an engaged and constructive
     Jump to
                                         relationship with this Administration. Thousands of clients
                                         have reached out directly to express their continued confidence
       Main content
                                         in Paul, Weiss and their appreciation for our unwavering
       Search
       Account                           dedication to their matters throughout this period and our
                                         ability to quickly secure a resolution that will redound to their
                                         benefit. Even those who have expressed personal
https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                      5/8
4/6/25, 12:05 AM   Case 1:25-cv-00917-RJL       Document
                                     Read the Email             16-4 Sent
                                                    Paul Weiss Chairman Filed   04/08/25
                                                                          Staffers               Page
                                                                                   After Trump Deal       174Insider
                                                                                                    - Business of 297
                                         disappointment that we didn't fight the Administration have
                                         said they fully appreciate what was at stake for our law firm
                                         and respect our decision.
                                         Second, the resolution we reached with the Administration will
                                         have no effect on our work and our shared culture and values.
                                         The core of who we are and what we stand for is and will
                                         remain unchanged. To that end, we will continue our proud,
                                         century-long legacy of courageously standing up for
                                         fundamental rights and liberties, for fairness in the justice
                                         system, and for our society's most vulnerable individuals. That
                                         commitment is woven into our DNA; it was and will never be
                                         subject to negotiation or compromise.
                                         Third, we will continue to support each of you in your career
                                         journey, providing you with the world's best training and
                                         opportunities to advance and thrive in your field. Above all, we
                                         will continue to be a place where we enjoy working together;
                                         where we respect each other; where we can practice law at the
                                         highest levels of excellence.
                                         I know many of you are uncomfortable that we entered into any
                                         sort of resolution at all. That is completely understandable.
                                         There was no right answer to the predicament in which we
                                         found ourselves. All of us have opinions about what is going on
                                         right now in America. This is an incredibly consequential
                                         moment for our country. It is very easy for commentators to
                                         judge our actions from the sidelines. But no one in the wider
                                         world can appreciate how stressful it is to confront an
                                         executive order like this until one is directed at you.
                                         I want to close by expressing my profound gratitude to each of
                                         you. Since March 14, we have seen Paul, Weiss at its very best,
                                         supporting each other in the face of an unprecedented threat.
                                         You have demonstrated, once again, the extraordinary caliber
                                         of our Paul, Weiss community. Your professionalism, your
                                         dedication to our clients, your support for one another, and
                                         your commitment to our firm have been nothing short of
                                         remarkable under these impossibly challenging
                                         circumstances. I am confident that, just as we have in past
                                         crises, we will get through this together and become even
                                         stronger and more resilient as a community.
                                         To that end, my door is open to you as we navigate next steps,
                                         as are the doors of firm leadership. This has been a deeply
                                         painful experience for me and for the other leaders of the firm.
                                         I know it has been a profoundly difficult period for many of
     Jump to
                                         you. Since March 14, we have been weathering a terrible storm.
                                         But I know that we will get through this storm, and that we will
       Main content
                                         continue to uphold the proud traditions that have defined
       Search
       Account                           Paul, Weiss for the last 150 years. I am so thankful for each and
                                         every one of you, and for all that you do every day for this very
                                         special place and for our broader communities.
https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                      6/8
4/6/25, 12:05 AM    Case 1:25-cv-00917-RJL       Document
                                      Read the Email             16-4 Sent
                                                     Paul Weiss Chairman Filed   04/08/25
                                                                           Staffers               Page
                                                                                    After Trump Deal       175Insider
                                                                                                     - Business of 297
                                              Brad
                                              Brad S. Karp | Chairman
                                              Paul, Weiss, Rifkind, Wharton & Garrison LLP


                                           Correction: March 24, 2025 — An earlier version of this story
                                           misstated when President Donald Trump announced that he'd
                                           reached a resolution with Paul Weiss and withdrew the executive
                                           order. It was Thursday, not Friday.


                                                                                 President Trump




                                           Read next




                                                                                       AD




    Legal & Privacy


    Terms of Service       Terms of Sale     Privacy Policy      Accessibility     Code of Ethics Policy     Reprints & Permissions      Disclaimer


    Advertising Policies     Conflict of Interest Policy      Commerce Policy       Coupons Privacy Policy      Coupons Terms         Your Privacy Choices



    Company
     Jump to
    About Us       Careers     Advertise With Us      Contact Us       Company News         Masthead


       Main content
    Other
       Search
       Account
    Sitemap   Stock quotes by finanzen.net




https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                                                           7/8
4/6/25, 12:05 AM     Case 1:25-cv-00917-RJL       Document
                                       Read the Email             16-4 Sent
                                                      Paul Weiss Chairman Filed   04/08/25
                                                                            Staffers               Page
                                                                                     After Trump Deal       176Insider
                                                                                                      - Business of 297
    International Editions


     AT         DE           ES         JP          NL          PL



          Copyright © 2025 Insider Inc. All rights reserved. Registration on or use of this site constitutes acceptance of our Terms of Service and Privacy Policy.




https://www.businessinsider.com/paul-weiss-brad-karp-email-staff-trump-deal-executive-order-2025-3                                                                    8/8
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 177 of 297




             EXHIBIT 27
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 178 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 179 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 180 of 297




             EXHIBIT 28
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 181 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 182 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 183 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 184 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 185 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 186 of 297




             EXHIBIT 29
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 187 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 188 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 189 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 190 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 191 of 297




             EXHIBIT 30
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 192 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 193 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 194 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 195 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 196 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 197 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 198 of 297




             EXHIBIT 31
  Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 199 of 297




                               Exhibit 31


    March 26, 2025 remarks by President Donald J. Trump
           upon signing an executive order titled
         “Addressing Risks from Jenner & Block”


                  The video is available here:
       https://www.youtube.com/watch?v=7LsV-l0xWh4


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this
 exhibit is being maintained by plaintiff’s counsel and will be
        provided to the Court and defendants’ counsel.
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 200 of 297




             EXHIBIT 32
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 201 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 202 of 297




             EXHIBIT 33
      CaseCase
           1:25-cv-00917-RJL
               1:25-cv-00916        Document
                                    Document 2-16
                                             16-4       Filed
                                                        Filed 03/28/25
                                                              04/08/25     Page
                                                                           Page 1203
                                                                                  of 27
                                                                                     of 297




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

                       Plaintiff,

 v.                                                     Case No. 1:25-cv-00916

 U.S. DEPARTMENT OF JUSTICE, et al.,

                       Defendants.



       DECLARATION OF THOMAS J. PERRELLI IN SUPPORT OF MOTION FOR
                    TEMPORARY RESTRAINING ORDER


I, Thomas J. Perrelli, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am Firm Chair and a partner at Jenner & Block LLP (“Jenner”). Jenner is an

international law firm that conducts its U.S. operations and activities through a limited liability

partnership, Jenner & Block LLP, with six offices in the United States and one in the United

Kingdom. I have been an attorney at Jenner for more than 25 years. I am a member in good standing

of the District of Columbia bar and have been admitted in many federal courts, including the U.S.

Supreme Court, and the Supreme Court of Virginia. I am very familiar with the firm’s business

and operations and provide this declaration in response to the March 25, 2025 Executive Order

entitled “Addressing Risks From Jenner & Block.” See Executive Order, “Addressing Risks From

Jenner & Block” (March 25, 2025), available at https://www.whitehouse.gov/presidential-

actions/2025/03/addressing-risks-from-jenner-block/ (the “Order”). I either have personal

knowledge of the facts set forth in this declaration or I know them from business records and my

knowledge of the firm’s history and operations.

        2.     I initially began to work at Jenner as a summer associate in 1990. After graduating
                                                1
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916          Document
                                    Document 2-16
                                             16-4         Filed
                                                          Filed 03/28/25
                                                                04/08/25      Page
                                                                              Page 2204
                                                                                     of 27
                                                                                        of 297



from law school and beginning my legal career as a judicial law clerk, I worked as an associate at

Jenner from 1992 to 1997. I thereafter served as a partner at the firm from 2001 through 2009.

During that time period, I was the managing partner of the Washington D.C. office and co-chair

of the firm’s Creative Content practice (now known as Content, Media, and Entertainment).

       3.       I left the firm in 2009 to serve as Associate Attorney General of the United States,

supervising the Department’s Civil, Antitrust, Civil Rights, Environment and Natural Resources,

and Tax Divisions. The U.S. Senate confirmed my nomination to serve as Associate Attorney

General by a vote of 72 to 20. In that role, I served as lead federal negotiator on some of the largest

settlements in history and oversaw the United States’ civil litigation.

       4.       I returned to the firm in 2012. That year, I founded the firm’s Government

Controversies and Public Policy Litigation Practice to build a multi-disciplinary approach to our

clients’ most complex problems. I continue to serve as co-chair of that practice. The practice helps

businesses and large organizations navigate and resolve highly complex crises that require a mix

of litigation, regulatory, public policy, legislative and communications skills. I have also served

on the firm’s Policy Committee since 2013, and as Firm Chair since early 2020.

       5.       I submit this declaration in Support of the Motion for Temporary Restraining Order

filed by Jenner. I am of the age of majority, and I am competent to make this declaration.

  I.        Jenner & Block LLP

       6.       Jenner was founded in Chicago in 1914. Jenner currently has six offices in the

United States—Chicago, Washington, D.C., New York, Los Angeles, Century City, San

Francisco—and an office in London. The firm has over 500 lawyers and more than 900 total

personnel.

       7.       Jenner is known for its prominent and successful litigation practice, global

investigations practice, regulatory and government controversies work, and experience handling

                                                  2
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916         Document
                                   Document 2-16
                                            16-4        Filed
                                                        Filed 03/28/25
                                                              04/08/25      Page
                                                                            Page 3205
                                                                                   of 27
                                                                                      of 297



sophisticated, high-profile corporate transactions. Its clients include Fortune 100 companies,

technology companies, large privately held corporations, colleges and universities, emerging

companies, Native American tribes, and venture capital and private equity investors. Jenner serves

clients across a variety of industries, including aerospace and defense, energy, food and beverage,

telecommunications, technology, hospitality and real estate, finance, transportation, education, and

media and entertainment, among others. Jenner alumni have been and are serving as state and

federal court judges, judicial law clerks, and high-ranking government officials, as well as

founders, CEOs, and general counsels of some of the nation’s largest and most important

companies. We serve clients across a variety of industries, with particular expertise representing

clients in highly-regulated industries, including aerospace and defense, agriculture, education,

energy, food and beverage, healthcare and life sciences, hospitality, telecommunications,

technology, transportation, and media and entertainment, among others.

       8.      Over our 111-year history, Jenner and its lawyers have represented clients in federal

and state courts across the nation, and in tribunals throughout the world. We have presented dozens

of arguments in the Supreme Court of the United States, helping to establish major precedent in

federal and constitutional law. We are committed to providing excellent service to our clients,

helping them achieve their goals and standing by them in good times and bad.

       9.      Jenner has been named as an “Am Law 100” firm on The American Lawyer 100

list in every year since that list began in 1987. The firm and its lawyers are regularly recognized

for excellence in the legal community by Chambers USA and other respected organizations,

including national and local bar associations. 76 Jenner partners have been recognized as

“America’s Leading Lawyers” in more than 35 practice areas ranked by Chambers USA 2024.

Consistent with our litigation prowess, Jenner boasts nine Fellows of the prestigious American

College of Trial Lawyers (“ACTL”), one of the highest percentages of partners in the ACTL

                                                3
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916         Document
                                   Document 2-16
                                            16-4        Filed
                                                        Filed 03/28/25
                                                              04/08/25      Page
                                                                            Page 4206
                                                                                   of 27
                                                                                      of 297



among AmLaw 100 firms. Six Jenner lawyers are members of the American Law Institute, a

leading independent organization producing scholarly work designed to clarify, modernize, and

improve the law.

       10.     Jenner has more than 900 personnel. Of those, approximately 500 are attorneys and

400 are business professionals, including paralegals, legal assistants, and other professionals. Our

employees participate in the communities in which they live. Our partners have included two

former Presidents of the Chicago Bar Association and a former President of the New York City

Bar Association. They serve on countless boards of legal services, community, and arts

organizations. They include former members of the armed forces and a current reservist in the U.S.

military.

       11.     Jenner’s attorneys are drawn from all sides of the political spectrum. Many of our

attorneys joined the firm after service in Democratic or Republican administrations. Our Chair

Emeritus Anton Valukas, who served as Chairman of the firm for a decade until 2017, has been a

leading Jenner partner for more than three decades, returning to the firm after being appointed by

President Reagan to serve as United States Attorney for the Northern District of Illinois. Other

current attorneys include:

   •   A senior adviser for Congressional Republicans with 14 years of experience at key
       investigative committees in U.S. Congress;

   •   the leader of the Office of the Special Inspector General for the Troubled Asset Relief
       Program (SIGTARP), appointed by President George W. Bush to head a law enforcement
       agency that helped protect taxpayers from fraud-related losses;

   •   the Acting Solicitor General of the United States during the Obama administration;

   •   a Commissioner of the Federal Energy Regulatory Commission appointed by President
       George W. Bush;

   •   a Deputy Associate Director of Cabinet Affairs at the White House during the
       administration of President George W. Bush;

                                                4
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916         Document
                                   Document 2-16
                                            16-4        Filed
                                                        Filed 03/28/25
                                                              04/08/25      Page
                                                                            Page 5207
                                                                                   of 27
                                                                                      of 297



   •   the U.S. Ambassador to Hungary during the Biden administration;

   •   the U.S. Ambassador and Permanent Representative to the United Nations Human Rights
       Council during the Obama administration;

   •   A Special Counsel to the Judiciary Committee of the U.S. House of Representatives in
       connection with the impeachment proceedings of federal district judge Harry Claiborne,
       leading to the conviction and ultimately the removal of a President Carter appointee; and

   •   Fifteen former Assistant United States Attorneys with experience in eight U.S. Attorney’s
       Offices around the country, who were appointed by the Attorney General in both
       Republican and Democratic administrations.

       12.     In addition, our attorneys have served in federal government agencies as varied as

the Department of Justice, Securities and Exchange Commission, Federal Communications

Commission, Federal Trade Commission, Department of the Treasury, Department of State,

National Security Council, Environmental Protection Agency, Secret Service, U.S. Air Force, U.S.

Navy, the Internal Revenue Service, Department of Health and Human Services, and numerous

Committees of the U.S. Senate and U.S. House of Representatives. Some of our attorneys served

in these federal government agencies during the first Trump administration.

       13.     Many of our attorneys joined the firm after serving as judicial law clerks to judges

appointed by both Democratic and Republican Presidents. Thirteen of our attorneys served as law

clerks for Justices of the Supreme Court, including Justice Scalia, Justice Kennedy, Justice Souter,

and Justice Kagan. In recent years, five Jenner partners or alumni have been nominated to serve as

Article III federal judges—two by President Trump, and three by President Biden. Former U.S.

Supreme Court Justice John Paul Stevens, appointed by President Gerald Ford, was a Jenner

alumnus. President Nixon appointed Jenner partner Philip Tone first to the U.S. District Court for

the Northern District of Illinois and thereafter to the Seventh Circuit Court of Appeals; Judge Tone

was a partner at Jenner both before and after his service to the federal judiciary. President Nixon

also appointed Jenner partner Prentice Marshall to the U.S. District Court for the Northern District

                                                5
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916          Document
                                    Document 2-16
                                             16-4       Filed
                                                        Filed 03/28/25
                                                              04/08/25      Page
                                                                            Page 6208
                                                                                   of 27
                                                                                      of 297



of Illinois, where he served for more than two decades. Former Governor Rick Snyder (R-Mich.)

appointed a Jenner alumnus to the Michigan Supreme Court.

       14.     Jenner has a longstanding, industry-leading commitment to pro bono service.

Jenner was one of the first law firms nationwide to create a pro bono program, establishing it in

the 1950’s to represent indigent criminal defendants in Chicago. Those origins launched a culture

of public service that has only grown stronger over seven decades. The American Lawyer has

ranked the firm its number one pro bono firm 12 times in the past 15 years. In January 2021, the

firm launched a five-year pro bono pledge, setting a goal of contributing $250 million in free legal

services. The firm exceeded that commitment more than one year early, contributing the equivalent

of $305 million in pro bono legal services by the end of 2024. In 2024 alone, the firm dedicated

90,993 hours of attorney time to pro bono work, valued at $103 million. Among other things, this

includes defending individuals in our criminal justice system, governments and society; assisting

individuals denied social security benefits; advocating for veterans; protecting constitutional

rights; assisting victims of domestic violence and sex trafficking; pursuing religious liberty while

fighting religious discrimination; and counseling community organizations on issues such as

governance, real estate, and intellectual property.

       15.     We were early champions for sometimes-controversial issues like prisoners’ rights,

criminal defense, and LGBTQ equality, and we continue forging the path, year after year, to

provide legal representation to those who cannot afford it. We pursue impact litigation on

important constitutional issues such as voting rights and reproductive rights. We pursue pro bono

litigation on behalf of Medicaid recipients, challenging onerous policies that threaten their health

care. We also do significant pro bono work advocating for military and veterans’ rights. In

partnership with the Veterans Legal Services Clinic at Yale Law School, we represent military

veterans seeking veterans benefits and honorable status. We currently represent Black veterans

                                                 6
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916          Document
                                    Document 2-16
                                             16-4       Filed
                                                        Filed 03/28/25
                                                              04/08/25      Page
                                                                            Page 7209
                                                                                   of 27
                                                                                      of 297



who served in the Vietnam War and who were improperly denied veterans benefits for more than

fifty years, as acknowledged by the Department of Veterans Affairs. We also represent Navy and

Marine Corps veterans who received less-than-honorable discharges while suffering from post-

traumatic stress disorder (PTSD) after service in Iraq and Afghanistan. We also represent adults

who were brought to the United States as children, helping them to apply for deferred action status

and obtain work authorization.

       16.     Jenner attorneys pursue matters of public importance, from a variety of

perspectives. We represent our clients on their most significant matters, and we fight for them even

in the face of intense public pressure. Named partner Albert Jenner challenged the constitutionality

of the House Committee on Un-American Activities (“HUAC”), on behalf of his client, a

prominent scientist who had received a subpoena from HUAC. He also served as counsel for

Republicans on the House Judiciary Committee during the impeachment proceedings against

President Richard Nixon. Later, the firm represented Theodore B. Olson—then President Reagan’s

Assistant Attorney General for the Office of Legal Counsel—in his challenge to the Independent

Counsel statute.

       17.     The firm represented MCI in the historic case that led to the break-up of AT&T.

The firm represented the examiner in the bankruptcy proceedings of Lehman Brothers Holdings,

Inc., the largest bankruptcy in U.S. history. More recently, Jenner represents American victims of

terrorist attacks, including 9/11 and October 7 victims, in civil actions against Iran, the Taliban,

Russian banks, and other malign foreign actors. Jenner represented a major corporation, a

university, and a Deferred Action for Childhood Arrivals (“DACA”) recipient in successfully

challenging the rescission of DACA. A Jenner partner served last year as Special Counsel to

Chairman Mike Kelly (R-PA) and House Republicans on the Task Force on the Attempted

Assassination of Donald J. Trump.

                                                7
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916         Document
                                   Document 2-16
                                            16-4        Filed
                                                        Filed 03/28/25
                                                              04/08/25     Page
                                                                           Page 8210
                                                                                  of 27
                                                                                     of 297



        18.    In short, we are lawyers, and we serve our clients. We are driven by our clients’

needs and the firm’s values.

        19.    Beyond the legal matters we pursue, the firm is often recognized for fostering a

work environment in which all lawyers and business professionals can flourish. A 2024 Vault

survey ranked Jenner as the #18 Best Law Firm in America to Work For and #14 in Firm Culture.

American Lawyer surveys of associate satisfaction consistently rank Jenner among the top firms

nationwide.

  II.     The March 25, 2025 Executive Order

        20.    On March 25, 2025, the President signed the Executive Order titled “Addressing

Risks From Jenner & Block.” The Order was accompanied by a “Fact Sheet” issued the same day

that purports to explain and support the Order. See White House, “Fact Sheet: President Donald J.

Trump Addresses Risks from Jenner & Block” (March 25, 2025), available at

https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-

risks-from-jenner-block/ (“Fact Sheet”). Jenner was given no opportunity to respond to the false

charges in the Order or to explain the inevitable impact. Jenner learned of the Order only after it

was issued.

        21.    The Order directs the heads of all agencies to (1) “limit[]” Jenner’s employees’

“official access” to federal buildings “when such access would threaten the national security of or

otherwise be inconsistent with the interests of the United States” and “engage[ment]” between

government employees acting in their official capacity and Jenner employees to “ensure

consistency with the national security and other interests of the United States,” , Order § 5;

(2) require government contractors to “disclose any business they do with Jenner and whether that

business is related to the subject of the Government contract” and to “take appropriate steps to

terminate any contract[] … for which Jenner has been hired to perform any service,” id. § 3; and

                                                8
    CaseCase
         1:25-cv-00917-RJL
             1:25-cv-00916          Document
                                    Document 2-16
                                             16-4         Filed
                                                          Filed 03/28/25
                                                                04/08/25      Page
                                                                              Page 9211
                                                                                     of 27
                                                                                        of 297



(3) create a new security-clearance review procedure, applicable only to Jenner and other law firms

whose activities are deemed disfavored, “suspend[ing] any active security clearances held by

individuals at Jenner” and threatening arbitrary revocation, id. § 2.

  III.     Jenner’s Interaction with the Federal Government

         22.   As a full-service law firm that represents clients in all sectors of the economy in

transactional, litigation, and regulatory matters, Jenner lawyers necessarily interact with the federal

government on behalf of their clients in countless ways. Those interactions are critical to our ability

to practice our profession, and our clients retain us and rely on us in their most sensitive matters

to be able to interact with the federal government.

         23.   If allowed to go into effect, the Order’s restrictions on Jenner’s interactions with

the federal government would be devastating and irreparable. Our litigators carry forward more

than a century of principled and effective advocacy that continues to serve as the hallmark of our

firm. Driven by a commitment to integrity and professionalism, our credibility is our currency, and

clients trust Jenner to skillfully defend and pursue their interests in their most contentious matters.

Described by The National Law Journal as “the Army’s Special Forces: highly trained and ready

to deploy anywhere at any time,” Jenner has been widely recognized for our prowess in high-

profile trials and reputation as a “go-to” litigation firm for major corporate clients facing bet-the-

company stakes. These trials and litigations require access to the federal courts. Unlike many other

large law firms, the vast majority (nearly 90%) of the firm’s attorneys focus on litigation, white

collar/investigations, and regulatory practices, and the bulk of the firm’s revenue derives from

those practices. Many of these lawyers practice in federal court on behalf of our clients in civil and

criminal cases, as well as in federal agencies’ in-house administrative proceedings.

         24.   We estimate that the firm has 540 cases pending before federal district, appellate,

and bankruptcy courts, including the Supreme Court of the United States and the Court of Federal

                                                  9
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page10
                                                               212
                                                                 of of
                                                                    27297



Claims. This includes three cases pending before the Supreme Court, and approximately 140 cases

pending before federal appellate courts, 340 cases pending before federal district courts, 40 matters

in bankruptcy court, and 15 matters in the Court of Federal Claims. These matters require regular

appearances in federal court. For example, the firm has at least 28 scheduled in-person appearances

in federal court in April and May 2025 alone, including trials and pre-trial conferences, oral

arguments, and motion hearings.

       25.     We estimate that the firm has more than 500 active matters pending before or

adverse to federal administrative agencies, including (using approximate numbers) 100 matters

involving the Department of Justice; 40 matters involving the Federal Communications

Commission; 35 matters involving U.S. Citizenship and Immigration Services; 30 matters

involving the Navy; 25 matters involving each of Immigration and Customs Enforcement and the

Securities and Exchange Commission; 20 matters involving each of the Department of State and

the Department of Homeland Security; 15 matters involving each of the Army, Department of

Defense, Department of Health and Human Services, Environmental Protection Agency, Federal

Bureau of Investigation, and Federal Energy Regulatory Commission; and 10 matters involving

each of the Air Force, Consumer Financial Protection Bureau, Federal Bureau of Prisons, Federal

Trade Commission, and Internal Revenue Service.

       26.     Jenner also represents many clients who are the targets of pending federal criminal

investigations or have been indicted. Many of these clients retain us to interact with the Department

of Justice, the Securities and Exchange Commission, or other federal agencies. For example, the

firm currently is engaging with the Department of Justice as to at least five antitrust investigations.

       27.     The firm has 17 practice groups, and all of them intersect with the federal

government in some way and include clients with business before the federal government. The

largest practice groups by headcount are Investigations, Compliance, and Defense (67 attorneys);

                                                  10
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page11
                                                               213
                                                                 of of
                                                                    27297



Corporate (52 attorneys); Funds, Investment, and Financial Litigation (44 attorneys); Business

Litigation (32 attorneys); and Government Controversies and Public Policy Litigation (28

attorneys).

       28.     In the course of their representations, Jenner lawyers frequently meet with federal

officials from a range of federal government agencies. Based on a review of our current client list,

hundreds of our clients have matters that require Jenner lawyers to interact with federal agencies.

       29.     Jenner boasts one of the best Appellate & Supreme Court practices in the country.

It has been regularly recognized on The National Law Journal’s Appellate Hot List and rated a top

practice by Chambers USA. Six different Jenner lawyers have argued before the Supreme Court of

the United States in the last four Terms alone, addressing issues of criminal law, tribal sovereignty,

social security, and the tax code. Jenner has won important Supreme Court precedents in cases

such as Haaland v. Brackeen, 599 U.S. 255 (2023) (upholding the constitutionality of the Indian

Child Welfare Act); Kokesh v. SEC, 581 U.S. 455 (2017) (holding that a five-year statute of

limitations applies to the SEC’s disgorgement penalty); Puerto Rico v. Sanchez Valle, 579 U.S. 59

(2016) (holding that the federal government and Puerto Rican government are the same sovereign

for the purpose of the Double Jeopardy Clause); Metro-Goldwyn-Mayer Studios Inc. v. Grokster,

Ltd., 545 U.S. 913 (2005) (holding that companies that distribute and promote software to infringe

copyrights are liable for the resulting acts of infringement); Lawrence v. Texas, 539 U.S. 558

(2003) (holding unconstitutional a Texas law criminalizing consensual, sexual conduct between

individuals of the same sex); Wiggins v. Smith, 539 U.S. 510 (2003) (holding that defense counsel’s

failure to conduct a reasonable investigation of mitigating facts violated a defendant’s Sixth

Amendment right to effective assistance of counsel); and Witherspoon v. Illinois, 391 U.S. 510

(1968) (holding death sentence unconstitutional where jurors who opposed the death penalty were

dismissed in violation of the Sixth and Fourteenth Amendments). Its clients have included (on the

                                                 11
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page12
                                                               214
                                                                 of of
                                                                    27297



one hand) major corporations, state governments, and Indian tribes, and (on the other) targets of

government enforcement actions, criminal defendants, and civil rights plaintiffs, among many

others. In the Court’s current term, Jenner has already argued and won Williams v. Reed, 145 S.

Ct. 465 (2025), wherein the Court held in an opinion by Justice Kavanaugh that Alabama may not

enforce a state exhaustion requirement that would effectively immunize state officials from federal

Section 1983 claims.

        30.    Representing clients before the Supreme Court requires Jenner lawyers to access

federal buildings not only on the day of the argument itself but also for meetings with the Office

of the Solicitor General in the Department of Justice, a critical strategic moment in many Supreme

Court cases where the parties have an opportunity to discuss the matter with key stakeholders in

the federal government and attempt to persuade the United States to take particular positions in the

case.

        31.    Jenner also features a strong Government Controversies and Public Policy

Litigation practice, which I founded and co-chair. We guide businesses and other large

organizations through highly complex crises presenting a mix of litigation, regulatory, public

policy, legislative and communications challenges. These challenges can include Congressional

hearings, federal law enforcement investigations, and management of regulatory scrutiny.

Examples of the types of matters handled by these lawyers include representing major companies

in congressional investigations, preparing senior executives for their testimony in Congress, and

representing companies in litigation brought by federal agencies including the Department of

Justice, Consumer Financial Protection Bureau and the Federal Trade Commission. I also serve as

mediator and settlement master in cases, including having been asked by the Department of Justice

to mediate cases on multiple occasions. I am currently serving as a court-appointed Settlement

Master in complex litigation involving veterans exposed to contaminated water at Camp LeJeune.

                                                12
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page13
                                                               215
                                                                 of of
                                                                    27297



       32.      Matters handled by the Government Controversies and Public Policy Litigation

group frequently require regular interaction with the federal government and entrance into federal

buildings for important meetings, interviews, and negotiations. Many of these meetings are only

offered in person where parties can speak candidly with federal officials about sensitive matters.

       33.      Jenner also offers clients one of the top Investigations, Compliance, and Defense

(“ICD”) practices in the country. Featuring 16 former federal prosecutors, this team helps clients

navigate highly sensitive investigative and compliance challenges. When appropriate, they can

quickly facilitate productive, dispositive interactions with authorities including the Department of

Justice, Securities and Exchange Commission, the Commodity Futures Trading Commission, the

Consumer Financial Protection Bureau, and the Financial Crimes Enforcement Network, among

other government agencies. Jenner’s ICD team have led hundreds of jury and bench trials, drawing

on decades of first-chair experience to fight for their clients.

       34.      Jenner’s ICD team is currently representing large corporate clients and former

employees in, among others, criminal and civil investigations carried out by the Department of

Justice; ongoing dialogue with the Securities & Exchange Commission; and investigations

conducted by the U.S. Postal Service Inspector General. The ICD team also partners with Jenner’s

Antitrust and Competition law team, which is currently representing clients in five separate

antitrust investigations pursued by the Department of Justice.

       35.      Matters handled by the ICD team require regular interaction with the federal

government and entrance into federal buildings for important meetings, interviews, and

negotiations. Many of these meetings are only offered in person where parties can speak candidly

with federal officials about sensitive matters. Some of these matters also involve classified

information that can only be viewed, discussed, or electronically processed in a Sensitive

Compartmented Information Facility (“SCIF”).

                                                  13
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page14
                                                               216
                                                                 of of
                                                                    27297



       36.     Jenner includes a Government Contracts and Grants practice featuring Chambers-

rated lawyers. Many of the nation’s leading government contractors turn to Jenner for sophisticated

legal advice as they navigate the complex government contracting landscape. Jenner lawyers draw

on a wealth of industry, government, and litigation experience to help companies successfully

avoid or resolve contract disputes with the U.S. Government. They also leverage the leadership

and unique experience of former government officials, representing the Air Force General

Counsel’s Office and Government Accountability Office, to help develop effective solutions for

clients as they face potential or proactive investigations, seek an experienced approach to combat

bid protests, or navigate subcontractor issues.

       37.     By definition, nearly every matter handled by Jenner’s Government Contracts and

Grants practice involves work with government contractors. These matters likewise involve

frequent interaction with the federal government, entrance into federal buildings, litigation in the

Court of Federal Claims, and handling of classified information—all of which is threatened by the

Executive Order.

       38.     Jenner has a nationally recognized Litigation Department. The firm litigates on

behalf of clients in their most important matters, regularly appearing in federal courts. Thus far in

every week of 2025, Jenner lawyers have appeared for hearings or oral argument in federal court

at least once, and often multiple times each week. Jenner lawyers appear in federal court for all

kinds of matters for all kinds of clients. Some prominent examples from the last few years include:

a trial win in the Northern District of Illinois holding the nation’s largest egg producers and

industry groups liable for conspiring to inflate egg prices; a groundbreaking win in the Second

Circuit Court of Appeals on behalf of the family of an American citizen killed when Malaysia

Airlines Flight 17 was shot down over eastern Ukraine in 2014; a trial win in a trademark

infringement suit against a European company that unlawfully pirated the products of its former

                                                  14
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page15
                                                               217
                                                                 of of
                                                                    27297



business partner; and a successful interlocutory appeal in the Fourth Circuit reversing a class

certification order on behalf of a major hospitality company.

       39.     Jenner features a number of high-caliber regulatory practices, with particularly

strong practices in Energy, Communications, and Native American law. Jenner’s Energy practice

brings creative and collaborative thinking to cutting-edge issues in which the law is still

developing, as the electric and natural gas industries face transformative opportunities as well as

daunting challenges. The Energy group litigates cases at trial and appeal for energy companies at

every level of the federal and state court systems, including before the U.S. Supreme Court. They

handle cases at the Federal Energy Regulatory Commission (“FERC”) and at state commissions,

and represent clients in regulatory enforcement matters. They also represent and counsel clients

engaged in energy transactions and many of the nation’s largest electric and gas utilities, which

service tens of millions of Americans, and the nation’s largest nuclear power generator.

       40.     Jenner’s Communications, Internet and Technology (“CIT”) practice represents

cable/broadband, wireless, Internet, satellite, and technology companies, as well as private equity

investors. The CIT group has negotiated industry-leading transactions and prevailed in wide-

ranging litigation, regulatory proceedings, and agency enforcement actions, helping their clients

pursue large mergers and other transactions, enter new industries, navigate new regulations and

government enforcement, and create new products and services. Jenner’s CIT group is known for

tackling particularly difficult problems and bet-the-company matters that require a unique

combination of top legal skills, hands-on Federal Communications Commission (“FCC”)

experience, and commitment to work wherever and whenever needed to achieve clients’ goals. As

a result, the team has achieved major successes for clients on some of the most significant

communications matters before the FCC, Department of Justice, other agencies, and courts.

Jenner’s CIT practice is currently representing numerous clients in enforcement, regulatory, and

                                                15
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page16
                                                               218
                                                                 of of
                                                                    27297



transactional matters before the FCC. Each matter requires the ability to interact with FCC lawyers

and professional staff.

          41.      Jenner’s nationally recognized Native American Law practice, led by and primarily

composed of enrolled members and descendants of federally recognized tribes, is consistently at

the forefront of the most significant issues facing Indian Country. The team draws on its deep legal

and government experience to provide unparalleled service to Native American tribes navigating

the complex government-to-government relationship that Indian Country holds with the United

States.

          42.      Each of these regulatory practices—Energy, CIT, and Native American Law—

requires near-constant communication with federal regulators about clients’ most important

matters. Jenner’s electrical utility clients own or operate facilities used in transmission or

wholesale of electric energy in interstate commerce, making them subject to FERC’s exclusive

jurisdiction. Jenner’s CIT clients in telecommunications and media call on Jenner lawyers to secure

regulatory approval for their transactions, to advocate for their interests in rulemaking and

policymaking, to handle spectrum allocation, assignment, auctions, licensing, and relocation, and

to defend against FCC enforcement actions. Jenner’s Native American law clients value Jenner for

its ability to advocate for tribal interests before a variety of federal regulators, including the

Department of the Interior, FERC, and the FCC, among others. The Executive Order threatens

clients’ ability to select Jenner for all of these types of matters and many others as well.

          43.      At present, by way of non-exhaustive example, Jenner has active civil and criminal

matters on behalf of its clients involving at least the following federal agencies, which often require

them either to interact with or appear before federal government officials:

          •     Air Force

          •     Army
                                                   16
Case
   Case
     1:25-cv-00917-RJL
        1:25-cv-00916 Document
                       Document2-16
                                16-4 Filed
                                      Filed03/28/25
                                            04/08/25 Page
                                                      Page17
                                                           219
                                                             of of
                                                                27297



  •   Commodity Futures Trading Commission

  •   Consumer Financial Protection Bureau

  •   Consumer Product Safety Commission

  •   Department of Agriculture

  •   Department of Commerce

  •   Department of Defense

  •   Department of Education

  •   Department of Energy

  •   Department of Health and Human Services

  •   Department of Homeland Security

  •   Department of the Interior

  •   Department of Justice

  •   Department of Labor

  •   Department of State

  •   Department of Treasury

  •   Drug Enforcement Administration

  •   Environmental Protection Agency

  •   Equal Employment Opportunity Commission

  •   Federal Aviation Administration

  •   Federal Bureau of Investigation

  •   Federal Bureau of Prisons

  •   Federal Communications Commission

  •   Federal Deposit Insurance Corporation

                                        17
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page18
                                                               220
                                                                 of of
                                                                    27297



        •     Federal Energy Regulatory Commission

        •     Federal Railroad Administration

        •     Federal Trade Commission

        •     Internal Revenue Service

        •     John F. Kennedy Center for the Performing Arts

        •     Marine Corps

        •     Marshals Service

        •     National Aeronautics and Space Administration

        •     National Highway Traffic Safety Administration

        •     National Labor Relations Board

        •     Navy

        •     Office of Management and Budget

        •     Office of the U.S. Trade Representative

        •     Postal Service

        •     Securities and Exchange Commission

        •     Social Security Administration

        •     Special Operations Command

        44.      The firm’s pro bono service frequently involves work in federal court, before

federal agencies, or interacting with federal government officials. For example, our pro bono work

for current clients frequently requires interaction with the Department of Veterans Affairs, U.S.

Citizenship and Immigration Services, the Department of Justice, the Federal Bureau of Prisons,

and the Internal Revenue Service, among many others.

  IV.       Recent Relevant Litigation


                                                 18
        Case
           Case
             1:25-cv-00917-RJL
                1:25-cv-00916 Document
                               Document2-16
                                        16-4 Filed
                                              Filed03/28/25
                                                    04/08/25 Page
                                                              Page19
                                                                   221
                                                                     of of
                                                                        27297



           45.     Attorneys at the firm frequently file litigation on behalf of their clients challenging

    federal government action.

           46.     Just as it has done during previous Democratic and Republican administrations,

    Jenner has continued to file litigation challenging federal government action subsequent to the

    January 20, 2025 inauguration of the President.

           47.     Working with co-counsel, the Firm is representing a large number of associations

    and colleges and universities in litigation against the National Institutes of Health (“NIH”)

    challenging guidance that attempted to impose a cap on payments for indirect costs necessary for

    research conducted pursuant to NIH grants. See Ass’n of Am. Univs. v. Dep’t of Health & Human

    Servs., No. 25-cv-10346 (D. Mass. filed Feb. 10, 2025). The lawsuit challenged this guidance as

    contrary to a statute expressly prohibiting this result; as contrary to the governing regulations; and

    as arbitrary and capricious pursuant to the Administrative Procedure Act. On March 5, 2025, the

    district court issued a preliminary injunction enjoining NIH from implementing the guidance.

           48.     On February 11, 2025, in response to a post on X about an injunction issued by a

    judge in the NIH litigation handled by Jenner, Special Government Employee Elon Musk posted

    on X: “Which law firms are pushing these anti-democratic cases to impede the will of the people?”1

           49.     Jenner also represents Climate United Fund in a suit against Citibank and the

    Environmental Protection Agency (“EPA”), seeking to enjoin the termination of its $7 billion grant

    as part of the Greenhouse Gas Reduction Fund. Climate United Fund v. Citibank et al., No. 25-cv-

    00698 (D.D.C. filed Mar. 8, 2025). On March 18, 2025, the district court granted, in part, a

    temporary restraining order and held that the plaintiffs had shown a substantial likelihood of

    success on the merits of their Administrative Procedure Act and due process claims.




1
    Elon Musk (@elonmusk), X.COM (Feb. 11, 2025, 10:24 AM), https://perma.cc/EB6G-UUUP.
                                              19
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page20
                                                               222
                                                                 of of
                                                                    27297



       50.     The firm has represented several nonprofits and individual noncitizens challenging

the Executive Order entitled Guaranteeing the States Protection Against Invasion, which invokes

Section 212(f) of the Immigration and Nationality Act (“INA”) and the President’s constitutional

powers to abrogate the protections from removal that Congress created by statute, including the

asylum statute. Proclamation 10888, 90 Fed. Reg. 8333 (Jan. 20, 2025); see Refugee & Immigrant

Ctr. for Educ. & Legal Servs. v. Noem, No. 25-cv-306 (D.D.C. filed Feb. 3, 2025). In 1984, then-

Assistant Attorney General for the Office of Legal Counsel, Theodore B. Olson, rejected the

argument that Section 212(f) permitted the President to “eliminate the asylum rights of

noncitizens” in the United States. 89 Fed. Reg. 81156, 81163 n.53 (Oct. 7, 2024). In 2018, during

the President’s first term, his Administration recognized that a proclamation under Section 212(f)

did not affect asylum rights. 83 Fed. Reg. 55934, 55940 (Nov. 9, 2018). Jenner’s representation of

clients challenging this Executive Order is part a long tradition of advocacy for noncitizens’

asylum rights. Representing several of the same clients, Jenner also challenged an Executive Order

and rulemaking by the Biden-Harris Administration that sought to impose lesser restrictions on

asylum and other forms of protection. Las Americas Immigrant Advocacy Center v. U.S. Dep’t of

Homeland Security, 1:24-cv-01702 (D.D.C.).

       51.     Working with co-counsel, the Firm has represented two advocacy groups, six

transgender people under nineteen, and four parents of minor Plaintiffs, who brought suit on

February 4, 2025 against the President, the Secretary of the Department of Health and Human

Services (“HHS”), HHS, and various HHS subagencies to enjoin enforcement of a January 28,

2025 Executive Order, “Protecting Children from Chemical and Surgical Mutilation.” That

Executive Order directs all federal agencies to “immediately” withhold federal funds from

healthcare institutions and entities that provide gender-affirming care to people under age nineteen.

Exec. Order No. 14,187, 90 Fed. Reg. 8771. See PFLAG, Inc. v. Trump, 8:25-cv-00337-BAH (D.

                                                 20
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page21
                                                               223
                                                                 of of
                                                                    27297



Md.). After expedited briefing, the district court issued a temporary restraining order restraining

Defendants “from conditioning or withholding federal funding based on the fact that a healthcare

entity or health professional provides gender affirming medical care to a patient under the age of

nineteen.” See PFLAG, 2025 WL 510050, at *1 (D. Md. Feb. 14, 2025) (opinion memorializing

TRO). Plaintiffs then moved for a nationwide preliminary injunction on February 18, 2025, which

the district court granted on March 4, 2025. See PFLAG, 2025 WL 685124, at *2 (D. Md. Mar. 4,

2025).


  V.       Former Jenner Partner Andrew Weissmann

         52.   Andrew Weissmann served as a Partner at Jenner from March 27, 2006 to October

24, 2011 and again from June 7, 2020 to July 16, 2021. Mr. Weissmann worked in the Firm’s

investigations and financial services practices.

         53.   Prior to coming to Jenner in 2006, Mr. Weissmann had significant experience as a

federal prosecutor. He had successfully tried more than 25 cases, including many against notorious

New York organized crime families. During the administration of President George W. Bush, he

was appointed to serve as Deputy Director and then Director of the Department of Justice’s Enron

Task Force.

         54.   After completing his first stint at Jenner, Mr. Weissmann served as the General

Counsel at the Federal Bureau of Investigation, the chief of the Criminal Fraud Section of the U.S.

Department of Justice, and as a member of the team led by Special Counsel Robert S. Mueller, III,

who was appointed by Rod Rosenstein, the President’s Deputy Attorney General, to investigate

Russian interference in the 2016 election.

         55.   Following his work with Special Counsel Mueller, Mr. Weissmann authored a non-

fiction book, Where Law Ends: Inside the Mueller Investigation, published by Random House on


                                                   21
        Case
           Case
             1:25-cv-00917-RJL
                1:25-cv-00916 Document
                               Document2-16
                                        16-4 Filed
                                              Filed03/28/25
                                                    04/08/25 Page
                                                              Page22
                                                                   224
                                                                     of of
                                                                        27297



    September 29, 2020. The book was highly critical of the President.

            56.     Mr. Weissmann also became a legal analyst for MSNBC after his work for Special

    Counsel Mueller.

            57.     As a result of Mr. Weissmann’s participation in the Special Counsel team, the

    publication of his book, and his political commentary, Mr. Weissmann has become a frequent

    political target of the President.

            58.     In a Truth Social Post in 2022, the President reposted a comment describing Mr.

    Weissmann as “the Scum of the Earth!!!”2

            59.     On March 14, 2025, during a speech at the Department of Justice, the President

    accused Mr. Weissmann and others, including Jack Smith, of participating in a “coordinated …

    campaign” against him, referring to Mr. Weissmann and others as “horrible people” and

    “scum.” He also accused “crooked law firms,” referring to “violent, vicious lawyers that we have

    all over.”3

            60.     Mr. Weissmann has likewise been a frequent target of the President’s senior

    advisers. For example, on March 17, 2025, Stephen Miller called Mr. Weissmann “an absolute

    moron… a fool and a degenerate.”

            61.     On March 21, 2025, the President issued a memorandum revoking any active

    security clearances held by Mr. Weissmann and other individuals.

            62.     Although the Order and Fact Sheet falsely imply that Mr. Weissmann is a “Jenner

    employee[],” Order § 5(a), Mr. Weissmann has not worked at and has not performed legal work




2
    Donald J. Trump (@realDonaldTrump), Truth Social (Sept. 5, 2022, 6:07 PM),
https://truthsocial.com/@realDonaldTrump/posts/108948071458149558.
3
  Id.; Speech: Donald Trump Addresses the Staff at the Department of Justice—March 14, 2025, Roll
Call,       https://rollcall.com/factbase/trump/transcript/donald-trump-speech-department-of-justice-
march-14-2025 (last visited Mar. 28, 2025)
                                                    22
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page23
                                                               225
                                                                 of of
                                                                    27297



for Jenner since his departure on July 16, 2021. All payments associated with his time at Jenner

have been completed. The firm has no current financial obligations to Mr. Weissmann.

  VI.     Irreparable Harm Caused by the Order and its Enforcement

        63.    Federal government agencies and personnel have already changed their approach

to Jenner, causing irreparable harm to Jenner and its clients. Although we are constrained by the

attorney-client privilege and Rule 1.6 of the Model Rules of Professional Conduct, we can report

general facts and facts known to the federal government. For example, one client has informed us

that the Department of Justice notified the client on March 26, 2025 that the client may not bring

their counsel from Jenner & Block to a meeting with the Department of Justice that is scheduled

for April 3. That client therefore will either need to attend the meeting without outside counsel or

would need to retain new outside counsel before April 3.

        64.    Because the Order could be interpreted to ban Jenner’s access to federal

courthouses and other buildings, some of our clients are concerned that we cannot represent them

in federal court or enter federal buildings to engage with regulatory agencies or senior government

officials. For example, within 24 hours of the issuance of the Order, several clients expressed

concerns about our representation because they did not know whether we would be permitted to

enter federal buildings and federal courthouses, negotiate with federal government officials, or

participate in meetings with the Department of Justice. One of these clients has engaged us to

represent them in a trial scheduled in June and expressed concern that we would be prohibited

from appearing on their behalf. Jenner will continue incurring such harm if the Order’s

enforcement is not enjoined because Jenner attorneys have numerous upcoming appearances.

Indeed, Jenner has around 540 active matters pending before federal courts, and numerous matters

before agencies that require access to federal government buildings and officials. Continued

refusals by federal officials to meet with Jenner lawyers, or denying Jenner lawyers access to

                                                23
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page24
                                                               226
                                                                 of of
                                                                    27297



federal agencies and buildings, would harm Jenner’s legal practice and its clients.

       65.      Because of our flourishing ICD, regulatory, and Government Controversies

practices, clients rely on us to engage with federal government agencies and officials, a previously

routine activity of the firm’s attorneys that is now at risk. Clients have expressed concern about

whether the Order could impair the firm’s ability to attend upcoming meetings with government

agencies.

       66.      The Order also required Jenner attorneys to expend significant time to discuss the

impacts with our clients and develop a plan to work together to mitigate and address any impacts

in the days and weeks ahead, an evolving situation requiring frequent communications that burdens

both the firm and our clients. Many of our partners with responsibility for client relationships have

spent a significant amount of time since the Order was issued communicating with clients about

the Order and its impacts and developing plans for the path ahead.

       67.      The Order also includes provisions that would require federal agencies to require

government contractors to disclose any relationship they have with Jenner, and to terminate

government contracts for clients as to which Jenner has been hired to perform any service. Eight

of Jenner’s top 15 clients by revenue in 2024—and 23 of Jenner’s top 50 clients by revenue in

2024—have contracts or subcontracts with the federal government, either directly or through an

affiliate. Many of those companies are represented by the firm for legal matters completely

unrelated to government-contracting matters. For many of the firm’s clients, the fact that the firm

gives them legal advice is not public information. If enforced, the Order would seek to require

many of these clients to divulge confidential information regarding their legal representations to

the federal government, with whom they may be adverse on the very same matter. In addition, the

Order threatens the termination of those clients’ contracts if Jenner has been hired to perform any

service related to the contract.

                                                 24
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page25
                                                               227
                                                                 of of
                                                                    27297



           68.   Due to the restrictions that the Order imposes on Jenner, and the disclosure and

termination provisions directed to the firm’s federal contractor clients, numerous government

contractor clients of the firm have expressed concerns to us about government-mandated disclosure

of their relationship with us to federal agencies and the impact that may have on the contractor’s

own relationships with the federal government. In general, we would describe our government

contractor clients as nervous about their relationship with us and closely monitoring the evolving

situation.

           69.   The Order targets our clients with government contracts. In 2024, we estimate that

more than 40% of the firm’s revenue came from clients who are government contractors or

subcontractors. We estimate the same percentage is true over the last five years. If we lost that

business, or even a portion of it, it would be a serious threat to the firm’s financial health.

           70.   The Order also threatens Jenner attorneys’ right to practice their chosen profession.

That threat is not only to revenue-generating practice, but also to the firm’s pro bono practice,

which frequently requires us to appear in federal court or before federal agencies in criminal, civil

or administrative matters. Our pro bono work for current clients frequently requires interaction

with the Department of Veterans Affairs, U.S. Citizenship and Immigration Services, the

Department of Justice, the Federal Bureau of Prisons, and the Internal Revenue Service, among

many others. Many of our pro bono clients are also government contractors and fear that a

continued relationship with us could jeopardize their own organization. One day after the Order

was issued, a non-profit organization that has been enthusiastic about the quality of our work

terminated our engagement because of concerns that its own government contracts could be placed

at risk.

           71.   The Order also interferes with Jenner’s employer-employee relationships because

the restrictions are broadly written to include Jenner employees.

                                                  25
    Case
       Case
         1:25-cv-00917-RJL
            1:25-cv-00916 Document
                           Document2-16
                                    16-4 Filed
                                          Filed03/28/25
                                                04/08/25 Page
                                                          Page26
                                                               228
                                                                 of of
                                                                    27297



  VII.     False and Disparaging Statements in the Order

         72.   The Order has also harmed Jenner’s reputation in the market for clients, lawyers,

and staff through its false and disparaging characterization of the firm and its attorneys.

         73.   The Order and Fact Sheet contain numerous false and inflammatory statements

about Jenner, its clients, and its work. For example, the Order implies that Jenner has “earmark[ed]

hundreds of millions of [its] clients’ dollars” for pro bono work, but the Firm does not spend its

clients’ money on pro bono matters. Instead, it has committed its own resources and its own

attorney time to assisting clients in a wide range of legal areas.

         74.   The Order characterizes former partner Andrew Weissmann as a current employee

of Jenner. See Order §§ 5(a), 5(b). But as discussed above, Mr. Weissmann has not worked at nor

performed legal work for Jenner since 2021.

         75.   The Order and Fact Sheet further distort Jenner’s work on behalf of its clients. For

example, the Order and Fact Sheet asserts that “Jenner engages in obvious partisan representations

to achieve political ends,” Order § 1, and “pursues partisan goals,” see Fact Sheet. Rather, Jenner

represents its clients, whatever their interests, and has challenged unlawful or unconstitutional

governmental actions on behalf of its clients regardless of which major political party is in the

White House. See supra ¶¶ 16-18.

         76.   The Order and Fact Sheet baselessly claim that the firm “supports attacks against

women and children based on a refusal to accept the biological reality of sex.” Order § 1; see also

Fact Sheet. This statement grossly misrepresents Jenner’s long and proud history of protecting the

rights of LGBTQ+ communities, from winning the landmark Lawrence v. Texas case more than

20 years ago to more recent litigation to protect transgender individuals. In 2023, Jenner filed a

lawsuit challenging an Oklahoma law that bans gender-affirming medical care to transgender

adolescents and threatens providers who violate the law with a felony conviction. And this year,

                                                  26
     Case
        Case
          1:25-cv-00917-RJL
             1:25-cv-00916 Document
                            Document2-16
                                     16-4 Filed
                                           Filed03/28/25
                                                 04/08/25 Page
                                                           Page27
                                                                229
                                                                  of of
                                                                     27297



 the firm helped obtain a preliminary injunction preventing the administration from conditioning or

 withholding federal funding based on the provision of gender-affirming medical care to a patient

 under the age of nineteen.

        77.     The Order and Fact Sheet also distort Jenner’s advocacy for noncitizens’ rights,

 falsely asserting that the firm “backs the obstruction of efforts to prevent illegal aliens from

 committing horrific crimes and trafficking deadly drugs within our borders.” Order § 1. This, too,

 baselessly distorts the firm’s longstanding pro bono work to help those eager to contribute to our

 country. The firm has a long tradition of representing individuals seeking immigration relief, both

 in individual representations and impact litigation. We regularly partner with organizations such

 as Kids in Need of Defense and the National Immigrant Justice Center to protect and preserve

 American values, such as ensuring that visas are not awarded based on impermissible religious

 criteria, uncovering the abuses of solitary confinement in immigrant detention centers, and

 representing families torn apart by broken border policies, in addition to innumerable asylum cases

 for individuals fleeing human rights abuses abroad. As noted above, Jenner also currently

 represents clients in a challenge to the President’s executive order invoking Section 212(f) of the

 INA to abrogate protections from removal that Congress created by statute; our clients’ position

 in that litigation is consistent with the positions taken by the Reagan and first Trump

 administrations. See supra ¶ 50.

                                               ***

I declare under penalty of perjury, on this 28th day of March, 2025, that the foregoing is true and

correct, to the best of my knowledge, information and belief.



                                                      _______________________________

                                                      Thomas J. Perrelli

                                                 27
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 230 of 297




             EXHIBIT 34
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 231 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 232 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 233 of 297




             EXHIBIT 35
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 234 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 235 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 236 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 237 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 238 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 239 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 240 of 297




             EXHIBIT 36
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 241 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 242 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 243 of 297




             EXHIBIT 37
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 244 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 245 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 246 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 247 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 248 of 297




             EXHIBIT 38
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 249 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 250 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 251 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 252 of 297




             EXHIBIT 39
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 253 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 254 of 297




             EXHIBIT 40
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 255 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 256 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 257 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 258 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 259 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 260 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 261 of 297




             EXHIBIT 41
              Case 1:25-cv-00917-RJL                Document 16-4            Filed 04/08/25          Page 262 of 297




                                                        Democracy Dies in Darkness




Law firms refuse to represent Trump opponents in the wake of his
attacks
The president issued a new order Tuesday sanctioning yet another law firm, Jenner & Block. The result overall
has been called an extraordinary threat to the constitutional rights of due process and legal representation,
as well as a far weaker effort to challenge Trump’s actions in court than during his first term.
Updated March 25, 2025


        By Michael Birnbaum


President Donald Trump’s crackdown on lawyers is having a chilling effect on his opponents’ ability to defend themselves or
challenge his actions in court, according to people who say they are struggling to find legal representation as a result of his
challenges.


Biden-era officials said they’re having trouble finding lawyers willing to defend them. The volunteers and small nonprofits forming
the ground troops of the legal resistance to Trump administration actions say that the well-resourced law firms that once would
have backed them are now steering clear. The result is an extraordinary threat to the fundamental constitutional rights of due
process and legal representation, they said — and a far weaker effort to challenge Trump’s actions in court than during his first term.


Legal scholars say no previous U.S. administration has taken such concerted action against the legal establishment, with Trump’s
predecessors in both parties typically respecting the constitutionally enshrined tenet that everyone deserves effective representation
in court and that lawyers cannot be targeted simply for the cases and clients they take on.


Trump has used executive orders to target powerful law firms that have challenged him. The latest came Tuesday against Jenner &
Block, which employed attorney Andrew Weissmann after he worked as a prosecutor in Robert S. Mueller III’s special counsel
investigation of Trump in his first term.


The firm “has participated in the weaponization of the legal system against American principles and values. And we believe that the
measures in this executive order will help correct that,” White House staff secretary Will Scharf said as he handed Trump the order
to sign, calling out Weissmann by name.


The orders have sought to strip law firms of their business by banning their lawyers from government buildings and barring
companies that have federal contracts from employing the firms.


In a statement, Jenner & Block noted the similarity to an order that “has already been declared unconstitutional by a federal court”
and that they "will pursue all appropriate remedies.”


Trump on Friday ordered Attorney General Pam Bondi to expand the campaign beyond individual law firms by sanctioning lawyers
who “engage in frivolous, unreasonable, and vexatious litigation” against his administration.
               Case 1:25-cv-00917-RJL                 Document 16-4             Filed 04/08/25           Page 263 of 297
Legal scholars say there is little precedent in modern U.S. history for Trump’s actions. But the president is following a playbook
from other countries whose leaders have sought to undermine democratic systems and the rule of law, including Russia, Turkey and
Hungary. Leaders in those countries have similarly attacked lawyers with the effect of hollowing out a pillar of justice systems to
expand their power without violating existing laws. They have successfully used the strategy to blast away their political opposition
and any effort to counter their actions through courts.


“The law firms have to behave themselves,” Trump said at a Cabinet meeting Monday. “They behave very badly, very wrongly.”


Trump’s targets say they are feeling the heat.


“It’s scary,” said a former official in the administration of Joe Biden who has been pulled into Trump-era litigation and needed a
lawyer as a result. The former official had lined up a pro bono lawyer from a major law firm that, the day after an executive order
this month against the heavyweight law firm Perkins Coie, said that it had discovered a conflict of interest and dropped the person
as a client.


Five other firms said they had conflicts, the former official said, including one where “the partner called me livid, furious, saying that
he’s not sure how much longer he’s going to stay there,” the former official said, “because the leadership didn’t want to take the
risk.”


The person spoke on the condition of anonymity to avoid further difficulties obtaining a lawyer.


“I don’t know how many people are going to end up having to pay a significant amount of money out of pocket to defend themselves
for faithfully and ethically executing their public service jobs,” the person said. “It’s really a wild situation to be in.”


The sweeping campaign is targeting the livelihoods of the people best qualified to contest the legality of Trump’s agenda. Lawyers
must now contend with the possibility they could face lawsuits, fines and other punishment aimed at them and even their other
clients should they contest Trump administration efforts in court.


“You need the legitimacy of law on your side at some level,” said Scott Cummings, a law professor at the UCLA School of Law who
has studied challenges to the legal establishment. “This is the autocratic legal idea of claiming a democratic mandate to attack the
rule of law by using law to really erode institutional pillars that are supposed to check executive power.”


Trump’s actions toward lawyers, Cummings said, have been “about disabling effective representation of anyone that Trump doesn’t
like, and that is the beginning of the end of the adversarial system,” in which both sides of a legal case have equal access to present
their views in front of a judge.


The first White House action against lawyers came late last month, when Trump stripped the security clearances of lawyers at a
prominent firm, Covington & Burling, who represented former special counsel Jack Smith after he investigated the president’s role
in the Jan. 6, 2021, attack on the U.S. Capitol.


The following week, he took far harsher action against Perkins Coie, a law firm that had ties to a dossier of opposition research
against Trump that circulated during the 2016 campaign. The executive order barred the firm’s lawyers from federal buildings and
directed the federal government to halt any financial relationship with the firm and its clients. That effectively forced Perkins Coie’s
clients to pick between their lawyers or any federal government business they might have.


The move could cost Perkins 25 percent of its revenue, the firm said in a court filing contesting the executive order. It said that
several clients have already departed the firm, others have said they are thinking about it, and federal agencies were excluding it
from key meetings with its clients.
              Case 1:25-cv-00917-RJL                Document 16-4            Filed 04/08/25         Page 264 of 297
“It sends little chills down my spine,” U.S. District Judge Beryl A. Howell said in court as she granted Perkins Coie a temporary
restraining order this month and suggested the executive order might have been unconstitutional. Another major law firm, Williams
& Connolly, one of the most skillful and aggressive federal litigators, agreed to take the Perkins Coie case.


Howell said she had “enormous respect for them taking this case when not every law firm would.”


In a filing last week, the Justice Department sought to remove Howell from the case, accusing her and her court of being
“insufficiently impartial.”


And even after Howell’s ruling, Trump’s campaign against lawyers broadened when he issued a nearly identical executive order
targeting Paul Weiss, a law firm that employed lawyer Mark Pomerantz for two decades before he joined the Manhattan district
attorney’s office to help prosecute Trump for hush money payments to a porn star.


Rather than fighting, Paul Weiss cut a deal with the president, even though it had a long track record of aggressive legal action
against Trump’s agenda during his first term. Paul Weiss Chairman Brad Karp met for three hours with Trump at the White House,
then agreed to devote $40 million worth of pro bono work “to support the administration’s initiatives,” Trump said in a post on
Truth Social, including work for veterans and combating antisemitism.


The president rescinded the order against the firm Thursday.


Paul Weiss has faced significant blowback for its decision to back down, including from some lawyers who said that its settlement
emboldened Trump to proceed Friday with the directive for Bondi to pursue the far vaster campaign against all lawyers who might
challenge him in federal court.


“Paul Weiss’s deal emboldened him to ratchet up his attack on one of the strongest checks on his power: lawyers and the rule of
law,” Perkins Coie partner David Perez wrote on LinkedIn.


The chilling effect has been quick. Some nonprofits say that major law firms that in Trump’s first term would have been quick to
assist them with pro bono work now say that they can’t risk the cost if Trump goes after them as a result. Many of those same groups
are worried that the administration will soon go after their nonprofit tax status — and that they won’t be able to find high-powered
lawyers to contest it.


Although not every lawyer is likely to be cowed by Trump’s actions, the major corporate law firms that the president has targeted
have a core role in the U.S. legal system. Complex litigation can require vast resources: experienced lawyers versed in the arcana of
case law, platoons of paralegals doing research across thousands of pages of evidence, and the stamina to go toe-to-toe with the
unparalleled legal resources of the federal government.


Big law firms, best known for deep-pocketed corporate clients, often lend their assistance free to small nonprofits shepherding
public interest cases through the courts. They have also been willing, historically, to take on clients who are facing prosecution that
they charge is politically motivated. Much of the litigation against Trump’s actions in the first term was driven by the big law firms
that he is now targeting.


“If somebody’s been deported to Guantánamo, it used to be law firms would support us and work on it,” said the director of one
nonprofit organization that works on different legal challenges to Trump’s agenda. “And now it’s a slower process of getting those
approvals, versus just doing what would be done before, which is, ‘This is wrong, and we’re going to represent it.’”


That person and others spoke on the condition of anonymity for fear of retaliation from the administration.
              Case 1:25-cv-00917-RJL                      Document 16-4               Filed 04/08/25             Page 265 of 297
Trump’s campaign against the law firms could deprive his opponents of top legal talent, weakening their ability to push back on him,
analysts say. And individuals and groups that are taking risks by working against the administration’s agenda may also be deeply
vulnerable, forcing them to make difficult choices about when to take a stand against him and when to stay silent.


“We’re telling [small nongovernmental organizations] with three people on the border to stand strong, and they are standing strong,
and then these law firms are folding,” said one lawyer at a nonprofit who works on immigration cases.


Trump on Friday said in a memorandum that lawyers aren’t supposed to file lawsuits or engage in court action unless there is “a
basis in law” that is not “frivolous,” suggesting that he and Bondi, not courts, would be in charge of determining what that is.


“Far too many attorneys and law firms have long ignored these requirements when litigating against the Federal Government or in
pursuing baseless partisan attacks,” Trump said. “To address these concerns, I hereby direct the Attorney General to seek sanctions
against attorneys and law firms who engage in frivolous, unreasonable, and vexatious litigation against the United States or in
matters before executive departments and agencies of the United States.”


Trump’s allies have continued to challenge law firms by name: “Skadden, this needs to stop now,” Elon Musk posted over the
weekend, taking aim at the law firm Skadden, Arps in response to right-wing commentator Dinesh D’Souza’s complaint that lawyers
with the firm had worked pro bono to target him.


Skadden lawyers worked pro bono on behalf of plaintiffs who said D’Souza defamed them in a documentary that falsely accused
them of ballot fraud in the 2020 election. D’Souza has previously admitted that the movie was “flawed” and apologized to one of the
plaintiffs.


Legal experts said Trump’s actions amounted to a broad-based assault on the profession.


“This is the livelihood of these lawyers, and the Trump administration is basically saying we’re going to dictate the terms under
which you are going to be able to practice your profession,” said Claire Finkelstein, a law professor and the director of the Center for
Ethics and the Rule of Law at the University of Pennsylvania.


Beth Reinhard contributed to this report.



    CORRECTION

    An earlier version of this story incorrectly described the law firm Covington & Burling's relationship with former
    special counsel Jack Smith. The firm represented Smith in the wake of his investigations of Donald Trump. The
    article has been corrected.



   What readers are saying
   The comments express deep concern over Donald Trump's actions against law firms, viewing them as a significant
   threat to the rule of law and democracy. Many commenters liken Trump's tactics to those of authoritarian regimes,
   suggesting that his intimidation of legal professionals... Show more
   This summary is AI-generated. AI can make mistakes and this summary is not a replacement for reading the comments.
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 266 of 297




             EXHIBIT 42
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 267 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 268 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 269 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 270 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 271 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 272 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 273 of 297




             EXHIBIT 43
        Case 1:25-cv-00917-RJL                               Document 16-4                       Filed 04/08/25                   Page 274 of 297




            All•            Ask a question or search by keyword                                                                                Advanced             0

                        Home       Workspaces                     Federal     State      International      Payroll      Financial Accounting         Daily Tax Report



Business & Practice
April 4, 2025, 2:28 PM EDT; Updated: April 4, 2025, 2:48 PM EDT
819 Law Mostly Sits Out Industry Response to Trump Orders (2)

•    Some 500 firms back Munger Tolles effort on brief

•    None of the country's largest 25 Jaw firms join

Few large law firms joined an amicus brief backing Perkins Coie in its lawsuit against President Donald Trump over an executive order targeting the firm.


None of country's 25 largest firms signed the friend-of-the-court brief, filed in federal court Friday. A total of eight of the 100 largest players joined the more than
500 firms on the brief, which was organized by Munger Tolles & Olson.

The brief had been billed as a response to Trump's series of directives targeting firms for their ties to the president's perceived enemies and work on causes he
opposes. Big Law firms have largely remained on the sideline, with a few striking deals with the White House to stay out of the bull's eye.


"No one wants to put a target on their backs to be the next firm subject to an executive order, and that's exactly what the office of the president is counting on,"
said David Neff, a retired Perkins Coie partner. "If you saw many firms, particularly in the major markets, rise up against these types of orders and give great
pushback, I think that would go a long way toward stopping the madness."



    Only 14 of Top 200 US Law Firms Supporting Fight
    Against Trump
    Average gross 2023 revenue of practices by position on suits

    ■ Sum<1 or· si<7ned amicus bnef ■ Settled or didn't si<1n amicus briet
    Firm, �uing Trump or ,upport ing ,uil ( 14)                                          $655.4M
    I irms didn't sIqn up to suppor·t suit ( 186)                                                836.6M



    Source: The .•'\merica;1 l a•,•,ryer's .20.?4 rzinking of Top 200 US
    firm•-,, Sloornlwrg                                                                           Bloomberg

Chart by Phil Kuntz/Bloomberg
Arnold & Porter, Freshfields, Fenwick & West, Susman Godfrey, Crowell & Moring, and Davis Wright Tremaine were among the large firms signing the brief.


"Davis Wright Tremaine believes in the constitutional right of clients to choose their counsel and the independence of the legal profession," the firm said on its
Linkedln page.

Most of the big firms wouldn't sign unless a critical mass of peers did so as well.

'Grave Threat'


The brief, authored by Munger Tolles partner and former solicitor general Donald Verrilli, was filed Friday in US District Court for the District of Columbia.


Trump's orders "pose a grave threat to our system of constitutional governance and to the rule of law itself," the firms said. The judiciary should "act with resolve"
to stop the president's overreach of executive authority, they said.

Law firms that signed onto the brief include others that are suing over Trump orders against them-WilmerHale and Jenner & Block. Covington & Burling, whose
partner Peter Koski was the subject of a Trump memorandum for his representation of former special counsel Jack Smith, also signed.


"Any controversial representation challenging actions of the current administration {or even causes it disfavors) now brings with it the risk of devastating
retaliation," the firms' said. "Whatever short term advantage an administration may gain from exercising power in this way, the rule of law cannot long endure in
the climate of fear that such actions create."


The executive order against Perkins Coie was the second in a string of five actions aimed at punishing law firms with ties to past cases against Trump that the
president has referred to as "weaponization" of the legal system. The orders that restrict security clearances, limit access to federal buildings and cut federal
contracts for firm clients have also hit firms including Paul Weiss, Jenner & Block and WilmerHale.
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 275 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 276 of 297




             EXHIBIT 44
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 277 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 278 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 279 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 280 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 281 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 282 of 297




             EXHIBIT 45
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 283 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 284 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 285 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 286 of 297
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 287 of 297




             EXHIBIT 46
    Case 1:25-cv-00917-RJL         Document 16-4       Filed 04/08/25     Page 288 of 297




To: Agencies Subject to the Executive Order “Addressing Risks from Wilmer Hale” as addressed
in Wilmer Cutler Pickering Hale & Dorr LLP v. Executive Office of the President, et al., No. 25-
cv-917, Dist. of Columbia District Court

From: Deputy Associate Attorney General Richard P. Lawson

Date: 3/31/25

Subject: Temporary Restraining Order / Notification Requirement



I am writing to inform you of an Order entered on Friday, March 28, 2025, by the federal District
Court for the District of Columbia which requires government agencies, as explained further
below, to cease implementation and, if necessary, rescind all guidance or other direction or
action, if any, to implement or enforce Sections 3 and 5 of the Executive Order of March 25,
2025, entitled, “Addressing Risks from WilmerHale” (EO). Your immediate attention to this
matter is necessary. Copies of the court Order and the EO are attached.


In the EO, the President undertook efforts to protect the interests of the United States. The EO
made certain findings regarding the activity of the law firm Wilmer Cutler Pickering Hale and
Dorr LLP (“WilmerHale”), see EO § 1, and, among other things, required Government
contracting agencies to “require Government contractors to disclose any business that they do
with WilmerHale and whether that business is related to the subject of the Government contract,”
id. § 3(a). The EO also imposes certain requirements related to limiting access of employees of
WilmerHale to Federal buildings and engaging with or hiring WilmerHale employees, id. §
5. After a hearing in a lawsuit brought by WilmerHale, the Court entered a temporary restraining
order. Pursuant to that Order, defendants, including your agency, are:



   •   Enjoined from implementing or enforcing Sections 3 and 5 of the EO;

   •   Directed to suspend and rescind any implementation or enforcement of Sections 3 and 5
       of the EO; and

   •   Directed to take any additional steps necessary to prevent implementation or enforcement
       of Sections 3 and 5 of the EO.



Bottom line, implementation of Sections 3 and 5 of the EO is prohibited and any prior steps
taken, or guidance or directions issued, to implement or enforce those sections of the EO must be
walked back or rescinded. To be clear, however, actions or activity your agency may be involved
    Case 1:25-cv-00917-RJL         Document 16-4        Filed 04/08/25      Page 289 of 297




in with respect to WilmerHale or agency contractors that are not based or founded on reliance on
the EO or on implementation of the EO are not affected by the Court’s Order.



Please take immediate steps to carry out the injunctions and directions of the Court Order.

As it remains the Executive Branch’s position that the EO was lawfully issued and that the grant
of the temporary restraining order was in error, the government will pursue a fuller review of the
Executive Order before the Court and reserves the right to take all necessary and legal actions
regarding “lawfare,” national security concerns, and discriminatory practices involving
WilmerHale.
Do not hesitate to contact me at 202-445-8042 or via email at Richard.lawson3@usdoj.gov with
any questions regarding carrying out and complying with the Court Order. Your cooperation is
appreciated.
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 290 of 297




             EXHIBIT 47
    Case 1:25-cv-00917-RJL        Document 16-4   Filed 04/08/25   Page 291 of 297




Administration for Children and Families

American Red Cross

AmeriCorps

Centers for Disease Control and Prevention

Centers for Medicare and Medicaid Services

Consumer Financial Protection Bureau

Defense intelligence Agency

Equal Employment Opportunity Commission

Export-Import Bank of the United States

Federal Deposit Insurance Corporation

Federal Emergency Management Agency

Federal Energy Regulatory Commission

Federal Railroad Administration

Federal Trade Commission

Food and Drug Administration

General Services Administration

Health Resources and Services Administration

Housing and Urban Development

Internal Revenue Services

Joint Chiefs of Staff

Millennium Challenge Corporation

National Aeronautics and Space Administration

National Archives and Records Administration

National Counterterrorism Center

National Institutes of Health

National Nuclear Security Administration
   Case 1:25-cv-00917-RJL         Document 16-4     Filed 04/08/25   Page 292 of 297




National Oceanic and Atmospheric Administration

National Science Foundation

National Security Agency

National Security Council

National Transportation Safety Board

Nuclear Regulatory Commission

Occupational Safety and Health Review Commission

Office of Homeland Security Situational Awareness

Office of Inspector General

Office of Personnel Management

Office of the Director of National Intelligence

Peace Corps

Science and Technology Directorate

Securities and Exchange Commission

Social Security Administration

U. S. Department of State

U.S. Agency for International Development

U.S. Citizenship and Immigration Services

U.S. Department of Commerce

U.S. Department of Defense

U.S. Department of Education

U.S. Department of Energy

U.S. Department of Health and Human Services

U.S. Department of Homeland Security

U.S. Department of Labor

U.S. Department of the Interior
   Case 1:25-cv-00917-RJL       Document 16-4   Filed 04/08/25   Page 293 of 297




U. S. Department of State

U.S. Department of Transportation

U.S. Department of Veterans Affairs

U.S. Environmental Protection Agency

U.S. Small Business Administration
Case 1:25-cv-00917-RJL   Document 16-4   Filed 04/08/25   Page 294 of 297




             EXHIBIT 48
           Case 1:25-cv-00917-RJL         Document 16-4   Filed 04/08/25   Page 295 of 297

Administration for Children and Families

American Red Cross

AmeriCorps

Centers for Disease Control and Prevention

Centers for Medicare and Medicaid Services

Central Intelligence Agency

Commodity Future Trading Commission

Consumer Financial Protection Bureau

Defense Intelligence Agency

Equal Employment Opportunity Commission

Export-Import Bank of the United States

Executive Office of the President

Federal Deposit Insurance Corporation

Federal Emergency Management Agency

Federal Energy Regulatory Commission

Federal Railroad Administration

Federal Reserve

Federal Trade Commission

Food and Drug Administration

General Services Administration

Health Resources and Services Administration

Housing and Urban Development

Internal Revenue Service

International Trade Commission

Joint Chiefs of Staff

Millennium Challenge Corporation

National Aeronautics and Space Administration

National Archives and Records Administration

National Counterterrorism Center
           Case 1:25-cv-00917-RJL         Document 16-4   Filed 04/08/25   Page 296 of 297

National Institutes of Health

National Nuclear Security Administration

National Oceanic and Atmospheric Administration

National Science Foundation

National Security Agency

National Security Council

National Transportation Safety Board

Nuclear Regulatory Commission

Occupational Safety and Health Review Commission

Office of the Comptroller of the Currency

Office of the Director of National Intelligence

Office of Homeland Security Situational Awareness

Office of Management and Budget

Office of National Drug Control Policy

Office of Personnel Management

Office of the Director of National Intelligence

Office of the Inspector General

Peace Corps

Pension Benefit Guaranty Corporation

Science and Technology Directorate

Securities and Exchange

Social Security Administration

U.S. Agency for International Development

U.S. Citizenship and Immigration Services

U.S. Department of Agriculture

U.S. Department of Commerce

U.S. Department of Defense

U.S. Department of Education

U.S. Department of Energy
          Case 1:25-cv-00917-RJL       Document 16-4   Filed 04/08/25   Page 297 of 297

U.S. Department of Health and Human Services

U.S. Department of Homeland Security

U.S. Department of Housing and Urban Development

U.S. Department of Interior

U.S. Department of Labor

U.S. Department of State

U.S. Department of Transportation

U.S. Department of Treasury

U.S. Department of Veteran Affairs

U.S. Environmental Protection Agency

U.S. Patent and Trademark Office

U.S. Small Business Administration

U.S. Trade Representative
